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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                   §        Chapter 11
                                                         §
CORE SCIENTIFIC, INC., et al.,                           §        Case No. 22-90341 (DRJ)
                                                         §
                    Debtors. 1                           §        (Jointly Administered)


    GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY, AND
     DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Core Scientific, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors” or the “Company”), with the
assistance of their advisors, are filing their Schedules of Assets and Liabilities (collectively,
the “Schedules”) and Statements of Financial Affairs (collectively, the “Statements” or
“SOFAs” and, together with the Schedules, the “Schedules and Statements”) in the United
States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) pursuant
to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007
of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(collectively, the “Global Notes”) pertain to, are incorporated by reference in, and comprise an
integral part of all of the Debtors’ Schedules and Statements. The Global Notes should be
referred to, considered, and reviewed in connection with any review of the Schedules and
Statements. These Global Notes are in addition to any specific notes contained in any individual
Debtor’s Schedules and Statements (together with the Global Notes, the “Notes”).

         The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of the Debtors.
Additionally, the Schedules and Statements contain unaudited information that is subject to
further review and potential adjustment and reflect the Debtors’ commercially reasonable
efforts to report the assets and liabilities of the Debtors.

        The Schedules and Statements and Global Notes should not be relied upon for
information relating to the current or future financial conditions, events, or performance of any
of the Debtors.


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific
    Acquired Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core
    Scientific Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard
    Capital LLC (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American
    Property Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton
    Springs Road, Suite 300, Austin, Texas 78704.


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        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially
reasonable efforts have been made to provide accurate and complete information herein,
inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
financial advisors expressly do not undertake any obligation to update, modify, revise, or re-
categorize the information provided herein, or to notify any third party should the information
be updated, modified, revised, or re-categorized. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors
or their agents, attorneys, and financial advisors are advised of the possibility of such damages.

       The Schedules and Statements for the Debtors have been signed by Michael Bros, who
serves as the Debtors’ Senior Vice President of Capital Markets & Acquisitions and is an
authorized signatory of the Debtors. In reviewing and signing the Schedules and Statements,
Mr. Bros has relied upon the efforts, statements, and representations of various personnel
employed by the Debtors’ and their advisors, including the management team. Mr. Bros has
not (and could not have) personally verified the accuracy of each statement and representation
contained in the Schedules and Statements, including statements and representations
concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

                             Global Notes and Overview of Methodology

1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete
        and accurate Schedules and Statements; however, inadvertent errors or omissions may
        exist. The Debtors reserve all rights to (i) amend or supplement the Schedules and
        Statements from time to time, in all respects, as may be necessary or appropriate,
        including, without limitation, the right to amend the Schedules and Statements with
        respect to the description or designation of any claim (“Claim”) or the particular
        Debtor(s) against which the Claim is asserted; (ii) dispute or otherwise assert offsets or
        defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
        priority, status, or classification; and (iii) designate subsequently any Claim as
        “disputed,” “contingent,” or “unliquidated;” or (iv) object to the extent, validity,
        enforceability, priority, or avoidability of any Claim.

        Any failure to designate a Claim in the Schedules and Statements as “disputed,”
        “contingent,” or “unliquidated” does not constitute an admission by the Debtors that
        such Claim or amount is not “disputed,” “contingent,” or “unliquidated,” or that such
        Claim is not subject to objection. The Debtors reserve all of their rights to dispute, or
        assert offsets or defenses to, any Claim reflected on their Schedules and Statements on
        any grounds, including, but not limited to, amount, liability, priority, status, or
        classification. Additionally, the Debtors expressly reserve all of their rights to designate
        such Claims as “disputed,” “contingent,” or “unliquidated” at a later date. Moreover,
        listing a Claim does not constitute an admission of liability by the Debtors against which
        the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
        Schedules and Statements or Notes shall constitute a waiver of rights with respect to the
        Debtors’ chapter 11 cases, including, without limitation, issues involving Claims,


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      substantive consolidation, defenses, equitable subordination, and/or causes of action
      arising under chapter 5 of the Bankruptcy Code and any applicable non-bankruptcy laws
      to recover assets or avoid transfers.

      Any specific reservation of rights contained elsewhere in the Global Notes does not
      limit in any respect the general reservation of rights contained in this paragraph 1.

      The Debtors shall not be required to update the Schedules and Statements except as may
      be required by applicable law.

2.    Contingent Claim. A claim that is dependent on the realization of some uncertain
      future event is a “contingent” claim.

3.    Unliquidated Claim. A claim, or portion of a claim, for which a specific value could
      not be readily quantified by the Debtors using currently available information are
      scheduled as “unliquidated.”

4.    Disputed Claim. A claim with respect to which the applicable Debtor and the claimant
      disagree as to the amount owed, whether any amount is owed, or the claim classification,
      is “disputed.”

5.    Description of the Case. On December 21, 2022 (the “Petition Date”), the Debtors
      filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the
      Bankruptcy Court. The Debtors continue to operate their business and manage their
      properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
      Bankruptcy Code.

      The Debtors’ chapter 11 cases are being jointly administered pursuant to Bankruptcy
      Rule 1015(b) and Rule 1015-1 of the Local Bankruptcy Rules for the United States
      Bankruptcy Court for the Southern District of Texas.

      On January 9, 2023, the United States Trustee for Region 7 (the “U.S. Trustee”)
      appointed an official committee of unsecured creditors (the “Creditors’ Committee”)
      in these chapter 11 cases pursuant to section 1102 of the Bankruptcy Code. No trustee
      or examiner has been appointed in these chapter 11 cases.

6.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Core Scientific, Inc.
      and its Debtor and non-Debtor affiliates. The Schedules and Statements are unaudited
      and reflect the Debtors’ reasonable efforts to report certain financial information of the
      Debtors on an unconsolidated basis.

      As more fully described in the Declaration of Michael Bros in Support of the Debtors’
      Chapter 11 Petitions and First Day Relief (Docket No. 5) (the “First Day
      Declaration”), on December 13, 2017, MineCo Holdings, Inc. was incorporated and,
      six months later, it changed its name to Core Scientific, Inc. (“Initial Core Scientific”).
      In January 19, 2022, pursuant to a “SPAC merger,” (i) Initial Core Scientific changed
      its name to Core Scientific Operating Company (“Core Operating”) and (ii) Power &
      Digital Infrastructure Acquisition Corp. changed its name to Core Scientific, Inc.
      Consequently, certain assets or liabilities attributed in the Debtors’ books and records
      to “Core Scientific, Inc.” are actually assets and liabilities of Core Operating,
      particularly those assets and liabilities pre-dating January 19, 2022. The Debtors and


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      their advisors have used reasonable efforts to attribute assets and liabilities to the proper
      Debtor entity but, to the extent more information becomes available, the Debtors reserve
      the right to amend these Schedules and Statements accordingly. Further, nothing herein
      shall constitute an admission that a particular asset or liability is property attributable to
      a particular Debtor. In certain circumstances, the entity that is party to a contract located
      in the Company’s books and records has been dissolved. Such contracts have been
      listed on the applicable Schedule for the Debtor entity making payments associated with
      such contract; this shall not constitute an admission that the Debtor making such
      payments is party to, or liable on, such contract.

      These Schedules and Statements do not purport to represent financial statements
      prepared in accordance with GAAP, nor are they intended to fully reconcile to the
      financial statements prepared by the Debtors. These Schedules and Statements reflect
      the assets and liabilities of each separate Debtor, except where otherwise indicated. The
      Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Information contained in the Schedules and Statements has been derived from the
      Debtors’ books and records and historical financial statements. The Company accounts
      for its crypto currency assets at acquisition fair value, net of recognized impairment
      losses. The Debtors reserve all rights to supplement and amend the Schedules and
      Statements in this regard, including with respect to reallocation of assets or liabilities to
      any particular entity.

      Given, among other things, the uncertainty surrounding the collection and ownership of
      certain assets and the valuation and nature of certain liabilities, to the extent that a
      Debtor’s assets exceed its liabilities, this is not an admission that the Debtor was solvent
      as of the Petition Date or at any time prior to the Petition Date. Likewise, to the extent
      a Debtor’s liabilities exceed its assets, this is not an admission that the Debtor was
      insolvent as of the Petition Date or any time prior to the Petition Date.

7.    “As Of” Information Date. All asset information, and all liability information, except
      where otherwise noted, is reflected as of the close of business on the Petition Date. All
      year-to-date 2022 revenue is reflected as of December 21, 2022. The Schedules and
      Statements reflect the Debtors’ best effort to allocate the assets, liabilities, receipts, and
      expenses to the appropriate Debtor entity “as of” such dates. In certain instances, the
      Debtors may have used estimates or pro-rated amounts where actual data as of the
      aforementioned dates was not available.

8.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the Claims against or equity
      interests in the Debtors should evaluate this financial information in light of the
      purposes for which it was prepared. The Debtors are not liable for and undertake no
      responsibility to indicate variations from securities laws or for any evaluations of the
      Debtors based on this financial information or any other information.

9.    Current Market Value and Net Book Value. Unless otherwise indicated, the
      Schedules and Statements reflect net book values (“NBV”), rather than current market
      values, and may not reflect net realizable value. For this reason, amounts ultimately
      realized will vary, potentially materially, from NBV. Additionally, the amount of


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       certain assets and liabilities may be undetermined, and, thus, ultimate assets and
       liabilities may differ materially from those stated in the Schedules and Statements.
       Values listed in these Schedules and Statements should not solely be used to determine
       the Debtors’ enterprise valuation.

       Operating cash is presented as bank balances as of the Petition Date. Certain other
       assets, such as investments in subsidiaries, are listed at undetermined amounts, as the
       net book values may differ materially from fair market values. Amounts ultimately
       realized may vary from net book value (or whatever value was ascribed) and such
       variance may be material. Accordingly, the Debtors reserve all of their rights to amend
       or adjust the value of each asset set forth herein. In addition, the amounts shown for
       total liabilities exclude items identified as unknown or undetermined and, thus, ultimate
       liabilities may differ materially from those stated in the Schedules and Statements.

       The Debtors account for digital currency assets as intangible assets with indefinite
       useful lives. The Debtors initially recognize digital currency assets that are received as
       digital asset mining income based on the fair value of the digital currency assets when
       mined. Digital currency assets that are purchased in an exchange of one digital currency
       asset for another digital currency asset are recognized at the fair value of the digital
       currency asset received. During the period they are held, digital currency assets are
       impaired for a loss to the lowest observed exchange price, to date, in their primary
       market. The Debtors recognize realized gains or losses when digital currency assets are
       sold in an exchange for other digital currency assets or for cash using a first-in first-out
       method of accounting at the entity level.

       The Debtors do not amortize goodwill but test it for impairment annually or more
       frequently if events or changes in circumstances indicate that the carrying value of
       goodwill may not be recoverable. During the year ended December 31, 2022, the
       Debtors impaired all $1.05 billion of their previously acquired goodwill.

10.    Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
       postpetition periods based on the information and research conducted in connection with
       the preparation of the Schedules and Statements. As additional information becomes
       available and further research is conducted, the allocation of liabilities between the
       prepetition and postpetition periods may change. Accordingly, the Debtors reserve all
       of their rights to amend, supplement, or otherwise modify the Schedules and Statements,
       as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect all possible Claims under section
       503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights
       to dispute or challenge the validity of any Claims asserted under section 503(b)(9) of
       the Bankruptcy Code or the characterization of the structure of any such transaction or
       any document or instrument related to any creditor’s Claim. Although there are multiple
       holders of debt under the Debtors’ prepetition funded indebtedness, only the
       administrative agent(s), indenture trustee(s), or similar representative(s), as applicable,
       have been listed in the Schedules.

11.    Classification and Recharacterization. Listing (i) a Claim on Schedule D as
       “secured,” (ii) a Claim on Schedule E/F as “priority,” (iii) a Claim on Schedule E/F as
       “unsecured,” or (iv) a contract or lease on Schedule G as “executory” or “unexpired,”
       does not constitute an admission by the Debtors of the legal rights of the claimant or a


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       waiver of the Debtors’ rights to re-characterize or reclassify such Claims, contracts, or
       leases or to setoff such Claims. Notwithstanding the Debtors’ commercially reasonable
       efforts to characterize, classify, categorize, or designate properly certain Claims, assets,
       executory contracts, unexpired leases, and other items reported in the Schedules and
       Statements, the Debtors may nevertheless have improperly characterized, classified,
       categorized, designated, or omitted certain items due to the complexity and size of the
       Debtors’ business. Accordingly, the Debtors reserve all of their rights to re-
       characterize, reclassify, re-categorize, re-designate, add, or delete items reported in the
       Schedules and Statements at a later time as is necessary or appropriate as additional
       information becomes available, including, without limitation, whether contracts or
       leases listed herein were deemed executory or unexpired as of the Petition Date and
       remain executory and unexpired postpetition. Disclosure of information in one or more
       Schedules, one or more Statements, or one or more exhibits or attachments to the
       Schedule and Statements, even if incorrectly placed, shall be deemed to be disclosed in
       the correct Schedules, Statements, exhibits or attachments.

       Moreover, nothing in the Schedules and Statements is, or shall be construed to be, an
       admission as to the determination of the legal status of any lease or financing
       arrangement (including whether any lease or financing arrangement is a true lease, a
       financing arrangement or a real property interest), and the Debtors reserve all rights with
       respect to such issues.

12.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of
       assets, tax accruals, and liabilities from the Schedules and Statements, including,
       without limitation, accrued salaries, employee benefit accruals, and accrued accounts
       payable. The Debtors have also excluded rejection damage Claims of counterparties to
       executory contracts and unexpired leases that may or may not be rejected, to the extent
       such damage Claims exist. In addition, certain immaterial assets and liabilities may
       have been excluded.

13.    Bankruptcy Court Orders. Pursuant to certain orders of the Bankruptcy Court entered
       in the Debtors’ chapter 11 cases (the “First Day Orders”), the Debtors were authorized
       (but not directed) to pay, among other things, certain prepetition claims of their
       employees, taxing authorities, insurers, critical vendors, and certain other prepetition
       creditors. Accordingly, these liabilities will have been or may be satisfied in accordance
       with such orders and therefore generally are not listed in the Schedules and Statements.

14.    Zero Dollar Amounts.         Amounts listed as zero are either $0, unliquidated, or
       undetermined.

15.    Summary of Amounts and Claims Reporting Policies. The following is a summary
       of significant reporting policies:

       •      Undetermined and Unknown Amounts. The description of an amount as
              “undetermined” or “unknown” is not intended to reflect upon the materiality of
              such amount.

       •      Totals. All totals that are included in the Schedules and Statements represent
              totals of all the known amounts included in the Schedules and Statements. To
              the extent there are unknown or undetermined amounts, the actual total may be
              different than the total listed.


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       •      Paid Claims. The Debtors were authorized (but not directed) to pay certain
              outstanding prepetition claims pursuant to various First Day Orders entered by
              the Bankruptcy Court. The Debtors reserve all of their rights to amend or
              supplement the Schedules and Statements or take other action as is necessary or
              appropriate to avoid overpayment of, or duplicate payments for, any such
              liabilities.

       •      Liens. Property and equipment listed in the Schedules and Statements are
              presented without consideration of any liens that may attach (or have attached)
              to such property and equipment.

16.    Intellectual Property Rights. Exclusion of certain intellectual property should not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated or otherwise have expired by their terms, or have been assigned
       or otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property should not be construed to be an admission that
       such intellectual property rights have not been abandoned, have not been terminated or
       otherwise expired by their terms, or have not been assigned or otherwise transferred
       pursuant to a sale, acquisition, or other transaction. The Debtors have made every effort
       to attribute intellectual property to the rightful Debtor owner; however, in some
       instances, intellectual property owned by one Debtor may, in fact, be owned by another.
       Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
       and all intellectual property rights.

17.    Executory Contracts. Although diligent efforts have been made to reflect each
       Debtor’s executory contracts on Schedule G accurately, inadvertent errors, omissions,
       or over-inclusions may have occurred. Certain information, such as the contact
       information of the counterparty, may not be included where such information could not
       be obtained using the Debtors’ reasonable efforts. Listing a contract or agreement on
       Schedule G does not constitute an admission that such contract or agreement is an
       executory contract or that such contract or agreement was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Although the Debtors made diligent attempts to attribute an executory contract to its
       rightful Debtor, in certain instances, the Debtors may have inadvertently failed to do so.
       Accordingly, the Debtors reserve all of their rights with respect to the named parties to
       any and all executory contracts, including the right to amend Schedule G.

       The Debtors reserve all their rights, Claims, and causes of action with respect to the
       executory contracts, including the right to dispute or challenge the characterization of
       any contract on Schedule G as executory or the structure of any transaction or any
       document or instrument related to a creditor’s Claim.

18.    Leases. The Debtors may enter into agreements titled as leases for equipment or other
       real property interests. The underlying lease agreements are set forth in the Schedules
       and Statements in Schedule G.

       Although diligent efforts have been made to accurately reflect each Debtor’s unexpired


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       leases on Schedule G, inadvertent errors, omissions, or over-inclusions may have
       occurred. Certain information, such as the contact information of the counterparty, may
       not be included where such information could not be obtained using the Debtors’
       reasonable efforts. Listing a lease on Schedule G does not constitute an admission that
       such lease is a true unexpired lease or that such lease was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Nothing in the Schedules and Statements is, or shall be construed to be, an admission
       as to the determination of the legal status of any lease (including whether any lease is a
       true lease, a financing arrangement or a real property interest), and the Debtors reserve
       all rights with respect to such issues.

19.    Liens and Mechanic Liens. Property and equipment listed in the Schedules and
       Statements are presented without consideration of any liens, including any asserted
       mechanics’, materialmen, or similar liens that may attach (or have attached) to such
       property and equipment. Nothing in the Schedules and Statements is or should be
       construed as an admission as to the determination of the legal status of any liens, and
       the Debtors reserve all rights with respect to same.

20.    Owned Property and Equipment. Unless otherwise indicated, owned property
       (including real property) and equipment are stated at net book value. The Debtors here
       by reserve all of their rights to sell or lease any property. The Debtors reserve their
       rights to lease furniture, fixtures, and equipment from certain third party lessors.

21.    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

22.    Contingent Assets. Prior to the relevant Petition Date, each Debtor, as plaintiff, may
       have commenced various lawsuits in the ordinary course of its business against third
       parties seeking monetary damages. Each Debtor’s Schedule A/B, Question 74 contains
       a listing of these actions, as applicable.

23.    Litigation. Certain litigation actions (collectively, the “Litigation Actions”) reflected
       as Claims against a particular Debtor may relate to one or more of the Debtors. The
       Debtors made reasonable efforts to record accurately the Litigation Actions in the
       Schedules and Statements of the Debtor that is the party to the Litigation Action. The
       inclusion of any Litigation Action in the Schedules and Statements does not constitute
       an admission by the Debtors of liability, the validity of any Litigation Action, or the
       amount and treatment of any potential Claim that may result from any Litigation Action
       currently pending or that may arise in the future. As the Debtors continue to operate
       their business, additional Litigation Actions may arise as a result thereof. Accordingly,
       the Debtors reserve all rights to amend, supplement, or otherwise modify the Schedules
       and Statements, as is necessary or appropriate.

24.    Causes of Action. Despite making commercially reasonable efforts to identify all
       known assets, the Debtors may not have listed all of their causes of action or potential
       causes of action against third parties as assets in the Schedules and Statements,
       including, without limitation, causes of actions arising under the provisions of chapter
       5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets
       or avoid transfers. The Debtors reserve all of their rights with respect to any cause of


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       action (including avoidance actions), controversy, right of setoff, cross-claim,
       counterclaim, or recoupment and any Claim on contracts or for breaches of duties
       imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
       obligation, liability, damage, judgment, account, defense, power, privilege, license, and
       franchise of any kind or character whatsoever, known, unknown, fixed or contingent,
       matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
       or undisputed, secured or unsecured, or assertable directly or derivatively, whether
       arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
       pursuant to any other theory of law (collectively, “Causes of Action”) they may have,
       and neither these Global Notes nor the Schedules and Statements shall be deemed a
       waiver of any Claims or Causes of Action or in any way prejudice or impair the assertion
       of such Claims or Causes of Action.

25.    Intercompany Payables and Receivables. Intercompany receivables and payables are
       set forth on Schedules A/B and E/F, respectively. The listing by the Debtors of any
       account between a Debtor and another affiliate, including between the Debtor and any
       disregarded or non-Debtor affiliate, is a statement of what appears in the Debtors’ books
       and records and does not reflect any admission or conclusion of the Debtors regarding
       the allowance, classification, characterization, validity, or priority of such account. The
       Debtors take no position in these Schedules and Statements as to whether such accounts
       would be allowed as a Claim or interest, or not allowed at all. The Debtors and all
       parties in interest reserve all rights with respect to such accounts. Further information
       regarding the Debtors’ intercompany transactions is set forth in the Debtors’ Emergency
       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
       (A) Continue Their Existing Cash Management System, (B) Maintain Existing Business
       Forms and Intercompany Arrangements, (C) Continue Intercompany Transactions, and
       (D) Continue Utilizing Employee Credit Cards, and (II) Granting Related Relief
       (Docket No. 12) (the “Cash Management Motion”).

26.    Employee Claims. The Bankruptcy Court entered a final order granting authority, but
       not requiring, the Debtors to pay prepetition employee wages, salaries, benefits, and
       other related obligations. With the exception of any prepetition severance and paid time
       off obligations that are still owing under the Debtors’ policies and applicable non-
       bankruptcy law, as applicable, the Debtors currently expect that most prepetition
       employee Claims for wages, salaries, benefits, and other related obligations either have
       been paid or will be paid in the ordinary course of business and, therefore, the Schedules
       and Statements do not include such Claims. The Debtors have not listed their regular
       payroll disbursements and employee expense reimbursements in Question 3 for the
       Statements.

27.    Insiders. The Debtors have attempted to include all payments made over the 12 months
       preceding the Petition Date to any party deemed an “insider.” For purposes of the
       Schedules and Statements, the Debtors defined “insiders” as such term is defined in
       section 101(31) of the Bankruptcy Code. Persons listed as “insiders” have been
       included for informational purposes only and the inclusion of them in the Schedules and
       Statements shall not constitute an admission that such persons are insiders for purposes
       of section 101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any
       position with respect to: (i) any insider’s influence over the control of the Debtors; (ii)
       the management responsibilities or functions of any such insider; (iii) the decision-
       making or corporate authority of any such insider; or (iv) whether the Debtors or any



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        such insider could successfully argue that he or she is not an “insider” under applicable
        law or with respect to any theories of liability or for any other purpose.

28.     Employee Addresses. Current employee and director addresses have been reported as
        the Debtors’ business address throughout the Schedules and Statements, where
        applicable.

29.     Confidential or Sensitive Information. There may be instances where certain
        information was not included or redacted due to the nature of an agreement between a
        Debtor and a third party, concerns about the confidential or commercially sensitive
        nature of certain information, or concerns for the privacy of an individual. Any
        alterations will be limited to only what is necessary to protect the Debtor or third party
        and will provide interested parties with sufficient information to discern the nature of
        the listing.

30.     Fiscal Year. The Debtors operate on a calendar year basis. Unless otherwise indicated,
        all references to “annual,” “annually,” “year,” “years,” or an otherwise similar length of
        time are presumed to refer to a period of time in accordance with the Debtors’ fiscal
        year. Each Debtor’s fiscal year ends on December 31.

31.     Specific Notes. These Global Notes are in addition to the specific notes set forth below
        and in the Schedules and Statements of the individual Debtor entities. The fact that the
        Debtors have prepared a Global Note with respect to a particular Schedule or Statement
        and not as to others does not reflect and should not be interpreted as a decision by the
        Debtors to exclude the applicability of such Global Note to any or all of the Debtors'
        remaining Schedules or Statements, as appropriate. Disclosure of information in one
        Schedule, one Statement, or an exhibit or attachment to a Schedule or Statement, even
        if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
        exhibit, or attachment. In the event that the Schedules or Statements differ from any of
        the foregoing Global Notes, the Global Notes shall control.




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                Specific Disclosures with Respect to the Debtors’ Schedules

        The Schedules do not purport to represent financial statements prepared in accordance
with GAAP, nor are they intended to be fully reconciled with the financial statements of the
Debtors. Additionally, the Schedules contain unaudited information that is subject to further
review and potential adjustment, and reflect the Debtors’ reasonable best efforts to report the
assets and liabilities of the Debtors. Moreover, given, among other things, the uncertainty
surrounding the collection and ownership of certain assets and the valuation and nature of
certain liabilities, to the extent that the Debtors show more assets than liabilities, this is not an
admission that the Debtors were solvent as of the Petition Date or at any time before the Petition
Date. Likewise, to the extent the Debtors show more liabilities than assets, this is not an
admission that the Debtors were insolvent as of the Petition Date or at any time before the
Petition Date. Values listed in these Schedules and Statements should not be used to determine
the Debtors’ enterprise valuation.

1.      Schedule A/B, Part 1, Questions 2–4.

        Cash and cash equivalents are as of the Petition Date.

        For more information on the Debtors’ cash management system, please refer to the
        Cash Management Motion.

2.      Schedule A/B, Part 2, Question 8.

        Certain prepaid or amortized assets are listed in Part 2 in accordance with the Debtors’
        books and records. The amounts listed in Part 2 do not necessarily reflect assets that
        the Debtors will be able to collect or realize. The amounts listed in Part 2 include,
        among other things, utility deposits, prepaid subscriptions, construction, rent and other
        prepayments.

3.      Schedule A/B, Part 4, Question 14.

        Ownership interests in subsidiaries and affiliates primarily arise from common stock
        ownership or member or partnership interests. Unless otherwise listed in the Schedules,
        the Debtors’ respective ownership interests in subsidiaries are listed in Schedule A/B,
        Part 4 as undetermined amounts because the fair market value of such interests is
        dependent on numerous variables and factors and may differ significantly from the
        NBV.

        For more information concerning the Debtors’ organizational structure, please refer to
        the organization chart annexed to the First Day Declaration and the discussion therein.

        Cryptocurrencies are reported in question 14, “Investments - Mutual funds or publicly
        traded stocks not included in Part 1”.

4.      Schedule A/B, Part 8, Questions 46–53.
        Includes vehicles, miners, network equipment, servers, switchboards, transformers,
        and other equipment.




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5.     Schedule A/B, Part 9, Questions 55–58.

       Where possible, the Debtors have provided the NBV on a property-by-property basis
       rather than current market values, which value may not reflect the net realizable value.
       For this reason, amounts ultimately realizable upon a sale will vary, potentially
       materially, from NBV, and the NBV listed shall not be construed as current or fair
       market value of such property. The Debtors considered both owned real property and
       ground leases to which the respective Debtor is a lessee in responding to Schedule A/B,
       Questions 55–58. In addition, the real property leases to which a Debtor is a lessee or
       lessor are listed in Schedule G. To the extent any interest in such leases is listed on
       Schedule G but not Schedule A/B, such interests are incorporated into Schedule A/B,
       Questions 55–58 by reference.

6.     Schedule A/B, Part 11, Question 72.

       The Debtors’ response to the schedule questionnaire is indicative of the gross non-tax
       effected net operating loss (“NOL”) values as compared to the GAAP net deferred tax
       assets associated with such NOLs. The actual dollar impact of how these NOLs affect
       future taxable income is dependent upon, among other things, the timing, character, and
       amount of any future or previous years’ (provided NOLs are allowed to be carried back)
       income to which they can be applied. Amounts also do not reflect the consideration of
       any valuation allowances recorded pursuant to GAAP, which have the effect of reducing
       associated deferred tax assets. Additionally, the NOLs listed in Schedule A/B, Question
       72 reflect the amounts listed in the Debtors’ books and records, may reflect NOLs
       accumulated for more than one tax year, and may be subject to expiration or limitations
       on usability now or in the future.

       For further information regarding NOLs and other of the Debtors’ tax attributes, please
       refer to the Emergency Motion of the Debtors Pursuant to Sections 362 and 105(a) of
       the Bankruptcy Code for Interim and Final Orders Establishing Notification
       Procedures and Approving Restrictions On (A) Certain Transfers of Interests in the
       Debtors, and (B) Claiming of Certain Worthless Stock Deductions (Docket No. 7)
       (the “NOL Motion”). Any description of such tax attributes contained herein is
       qualified by the NOL Motion in all respects.

7.     Schedule D.

       Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights
       to dispute or challenge the validity, perfection, or immunity from avoidance of any lien,
       including mechanics’ or similar liens, purported to be granted or perfected in any
       specific asset for the benefit of a secured creditor listed on a Debtor’s Schedule D.
       Moreover, although the Debtors may have scheduled Claims of various creditors as
       secured Claims, the Debtors reserve all rights to dispute or challenge the secured nature
       of any such creditor’s Claim or the characterization of any such transaction or any
       document or instrument (including without limitation, any intercompany agreement)
       related to such creditor’s Claim. To that end, the Debtors take no position as to the
       extent or priority of any particular creditor’s lien in the Schedules and Statements.

       With respect to those certain (i) secured convertible notes issued pursuant to that certain
       Secured Convertible Note Purchase Agreement, dated as of April 19, 2021 (as may be


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  amended, restated, amended and restated, supplemented, or otherwise modified from
  time to time, and including all related credit documents, and the notes issued thereunder,
  the “April Convertible Notes”) and/or (ii) secured convertible notes issued pursuant to
  that certain Secured Convertible Note Purchase Agreement, dated on or about August
  20, 2021 (as may be amended, restated, amended and restated, supplemented, or
  otherwise modified from time to time, and including all related credit documents, and
  the notes issues thereunder, the “August Convertible Notes”, and collectively with the
  April Secured Convertible Notes, the “Convertible Notes”), the Debtors have listed
  only the note/collateral agent as the named creditor on Schedule E/F. Nonetheless, the
  Convertible Notes are beneficially owned by a number of other parties, which are not
  listed individually on Schedule E/F. Further, as noted on the organizational chart
  annexed to the First Day Declaration, certain Debtors are guarantors of the Convertible
  Notes. The Debtors have included the Convertible Notes on Schedule E/F of Core
  Scientific, Inc., the issuer of the Convertible Notes and on the relevant Debtors’
  schedules that are guarantors of the Convertible Notes. Nothing herein or in the
  Schedules or Statements is intended to be deemed an admission or allowance by the
  Debtors regarding the amount of any Claims arising from the Convertible Notes.

  The Debtors are party to various equipment financing agreements (collectively,
  the “Equipment Financings”), which the Debtors have included on Schedule D of the
  obligor for each Equipment Financing. As stated above, unless otherwise indicated,
  Equipment Financing Claim amounts are scheduled at outstanding principal amounts as
  of Petition Date. Nothing in the Schedules and Statements is or should be construed as
  an admission as to the determination of the legal status of any Equipment Financing,
  including the validity or amount of any lien in connection therewith, and the Debtors
  reserve all rights with respect thereto. Furthermore, the inclusion of an Equipment
  Financing on Schedule D shall not constitute an admission as to the value of any
  collateral securing such Equipment Financing or any deficiency Claim relating thereto.

  The Debtors are party to certain agreements titled as leases for cryptocurrency miners
  and other non-miner equipment (collectively, the “Equipment Leases”). Any known
  prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
  on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
  agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
  should be construed as an admission as to the determination of the legal status of any
  Equipment Lease, including the characterization of an Equipment Lease as a lease or an
  equipment financing, and the Debtors reserve all rights with respect thereto. The
  Debtors reserve all rights to dispute the secured status (or the validity of any asserted
  lien) of any Equipment Lease and all rights related thereto are expressly reserved.

  The Debtors further reserve the right to challenge the secured status of any liability.
  Characterizing a liability, including an Equipment Financing, as “secured,” shall not
  constitute an admission as to the validity of any asserted lien or amount thereof.

  Nothing herein or in the Schedules or Statements is intended to be deemed an admission
  of liability by the Debtors with respect to any ongoing or future litigation relating to the
  indebtedness listed on Schedule D.

  The descriptions provided in Schedule D are intended only to be a summary. Reference
  to the applicable underlying documents is necessary for a complete description of the



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       collateral and the nature, extent, and priority of any liens. Nothing in these Notes or the
       Schedules and Statements shall be deemed a modification or interpretation of the terms
       of such agreements.

       Except as specifically stated herein, real property lessors, equipment lessors, utility
       companies, and other parties that may hold security deposits have not been listed on
       Schedule D. The Debtors have not included parties that may believe their Claims are
       secured through setoff rights or inchoate statutory lien rights, including certain parties
       from which the Debtors have received lien notices but whose notices the Debtors
       understand have not yet been filed or recorded. While reasonable efforts have been
       made, determination of the date upon which each Claim in Schedule D was incurred or
       arose may be unduly burdensome or cost prohibitive in some instances and, therefore,
       the Debtors may not list a date for each Claim listed on Schedule D.

       While reasonable efforts have been made, certain guarantors of the debts listed on
       Schedule D may have been inadvertently excluded. The Debtors reserve all of their
       rights to amend or supplement Schedule D as necessary or appropriate.

       For purposes of Schedule D, the Debtors have included the principal amounts
       outstanding. Amounts listed on Schedule D should not be used to determine the amount
       of an alleged secured claim or the value of the underlying collateral, which may be
       disputed.

8.     Schedule E/F, Part 1.

       The Claims listed on Schedule E/F, Part 1 arose and were incurred on various dates; a
       determination of the date upon which each Claim arose or was incurred would be unduly
       burdensome and cost prohibitive. Accordingly, not all such dates are included for each
       Claim. To the best of the Debtors’ knowledge, all Claims listed on Schedule E/F arose
       or were incurred before the Petition Date.

       The Debtors have not listed certain wage, or wage-related, obligations that the Debtors
       have paid pursuant to First Day Orders on Schedule E/F. The Debtors reserve the right
       to dispute or challenge whether creditors listed on Schedule E/F are entitled to priority
       status pursuant to sections 503 and/or 507 of the Bankruptcy Code.

       Claims owing to various taxing authorities to which the Debtors potentially may be
       liable are included on the Debtors’ Schedule E/F. Certain of such Claims, however,
       may be subject to ongoing audits and/or the Debtors otherwise may be unable to
       determine with certainty the amount of the remaining Claims listed on Schedule E/F.
       Therefore, where applicable, the Debtors have listed such Claims as contingent,
       disputed, and/or unliquidated, pending final resolution of ongoing audits or other
       outstanding issues. The Debtors reserve the right to assert that any Claim listed on
       Schedule E/F does not constitute a priority Claim under the Bankruptcy Code.

9.     Schedule E/F, Part 2.

       The Debtors have exercised commercially reasonable efforts to list all liabilities on
       Schedule E/F of each applicable Debtor. As a result of the Debtors’ consolidated




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  operations, however, the reader should review Schedule E/F for all Debtors in these
  cases for a more complete understanding of the unsecured debts of the Debtors.

  Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as such,
  the Debtors may have valid setoff and recoupment rights with respect to such amounts.
  The amounts listed on Schedule E/F may not reflect any such right of setoff or
  recoupment, and the Debtors reserve all rights to assert the same and to dispute and
  challenge any setoff and/or recoupment rights that may be asserted against the Debtors
  by a creditor.

  Additionally, certain creditors may assert mechanics’, materialman’s, or other, similar
  liens against the Debtors for amounts listed on Schedule E/F. The Debtors reserve their
  rights to dispute and challenge the validity, perfection, and immunity from avoidance
  of any lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor.
  In addition, certain Claims listed on Schedule E/F (Part 2) may be entitled to priority
  under section 503(b)(9) of the Bankruptcy Code.

  Schedule E/F also contains information regarding pending litigation involving the
  Debtors. In certain instances, the relevant Debtor that is the subject of the litigation is
  unclear or undetermined. To the extent that litigation involving a particular Debtor has
  been identified, however, such information is included on that Debtor’s Schedule E/F.
  The amounts for these potential Claims are listed as undetermined and marked as
  contingent, unliquidated, and disputed in the Schedules. Additionally, certain pending
  or potential litigation and Claims listed in Schedule E/F involve individual claimants.

  Current employee and director addresses have been reported as the Debtors’ business
  address throughout the Schedules and Statements.

  The Claims of individual creditors for, among other things, goods, products, services,
  or taxes are listed as the amounts entered on the Debtors’ books and records and may
  not reflect credits, allowances, or other adjustments due from such creditors to the
  Debtors. The Debtors reserve all of their rights with regard to such credits, allowances,
  and other adjustments, including the right to assert Claims objections and/or setoffs with
  respect to the same.

  The aggregate net intercompany payable amounts listed in Schedule E/F may or may
  not result in allowed or enforceable Claims by or against a given Debtor, and listing
  these payables is not an admission on the part of the Debtors that the intercompany
  Claims are enforceable or collectable. The intercompany payables also may be subject
  to recoupment, netting, or other adjustments made pursuant to intercompany policies
  and arrangements not reflected in the Schedules.

  As noted, the Bankruptcy Court has authorized the Debtors to pay, in their discretion,
  certain unsecured prepetition Claims, pursuant to the First Day Orders. To the extent
  practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of the
  Petition Date, adjusted for postpetition payments of some or all of the Bankruptcy Court
  approved payments. Each Debtor’s Schedule E/F will reflect some of the Debtor’s
  payments of certain Claims pursuant to the First Day Orders, and, to the extent an
  unsecured Claim has been paid or may be paid, it is possible such Claim is not included
  on Schedule E/F. Certain Debtors may pay additional Claims listed on Schedule E/F


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        during these chapter 11 cases pursuant to these and other orders of the Bankruptcy Court
        and the Debtors reserve all of their rights to update Schedule E/F to reflect such
        payments or to modify the claims register to account for the satisfaction of such Claim.

        Additionally, Schedule E/F does not include potential rejection damage Claims, if any,
        of the counterparties to executory contracts and unexpired leases that have been, or may
        be, rejected. Furthermore, Schedule E/F does not include any deficiency Claims relating
        to liabilities listed on Schedule D, including Equipment Financings.

10.     Schedule G.

        While the Debtors’ existing books, records, and financial systems have been relied upon
        to identify and schedule executory contracts on each Debtor’s Schedule G, and while
        the Debtors have devoted substantial internal and external resources to identifying and
        providing the requested information for as many executory contracts as possible and to
        ensuring the accuracy of Schedule G, inadvertent errors, omissions, or over-inclusions
        may have occurred. The Debtors do not make, and specifically disclaim, any
        representation or warranty as to the completeness or accuracy of the information set
        forth on Schedule G. The Debtors reserve all of their rights to dispute the validity,
        status, or enforceability of any contract, agreement, or lease set forth in Schedule G and
        to amend or supplement Schedule G as necessary. Certain contracts, agreements, and
        leases listed on Schedule G may have expired or may have been modified, amended, or
        supplemented from time to time by various amendments, restatements, waivers,
        estoppel certificates, letters, memoranda, and other documents, instruments, and
        agreements that may not be listed therein despite the Debtors’ use of reasonable efforts
        to identify such documents. In addition, certain nondisclosure agreements and/or other
        confidential information have been omitted. The Debtors reserve all of their rights with
        respect to such agreements. Further, unless otherwise specified on Schedule G, each
        executory contract or unexpired lease listed thereon shall be deemed to include all
        exhibits, schedules, riders, modifications, declarations, amendments, supplements,
        attachments, restatements, or other agreements made directly or indirectly by any
        agreement, instrument, or other document that in any manner affects such executory
        contract or unexpired lease, without respect to whether such agreement, instrument, or
        other document is listed thereon.

        In some cases, the same supplier or provider appears multiple times on Schedule G.
        This multiple listing is intended to reflect distinct agreements between the applicable
        Debtor and such supplier or provider.

        The Debtors are party to certain agreements titled as leases for cryptocurrency miners
        and other non-miner equipment (collectively, the “Equipment Leases”). Any known
        prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
        on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
        agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
        should be construed as an admission as to the determination of the legal status of any
        Equipment Lease, including the characterization of an Equipment Lease as a lease or an
        equipment financing, and the Debtors reserve all rights with respect thereto. The
        Debtors reserve all rights to dispute the secured status (or the validity of any asserted
        lien) of any Equipment Lease and all rights related thereto are expressly reserved.




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  In the ordinary course of business, the Debtors may have issued numerous purchase
  orders for supplies, product, and related items, which, to the extent such purchase orders
  constitute executory contracts, are not listed individually on Schedule G. To the extent
  that goods were delivered under purchase orders prior to the Petition Date, vendors’
  Claims with respect to such delivered goods are included on Schedule E/F. Similarly,
  in the ordinary course of business, the Debtors may have issued numerous statements
  of work or similar documents for services, which, to the extent such statements of work
  or similar documents constitute executory contracts, are not listed individually on
  Schedule G. To the extent services were delivered under statements of work prior to
  the Petition Date, vendors’ Claims with respect to such services are included on
  Schedule E/F.

  As a general matter, certain of the Debtors’ executory contracts and unexpired leases
  could be included in more than one category. In those instances, one category has been
  chosen to avoid duplication. Further, the designation of a category is not meant to be
  wholly inclusive or descriptive of the entirety of the rights or obligations represented by
  such contract.

  Certain of the executory contracts and unexpired leases listed on Schedule G may
  contain certain renewal options, guarantees of payment, options to purchase, rights of
  first refusal, right to lease additional space, and other miscellaneous rights. Such rights,
  powers, duties, and obligations are not set forth separately on Schedule G. In addition,
  the Debtors may have entered into various other types of agreements in the ordinary
  course of their business, such as easements, rights of way, subordination,
  nondisturbance,        and     attornment     agreements,     supplemental      agreements,
  amendments/letter agreements, title agreements, employment-related agreements, and
  confidentiality and non-disclosure agreements. Such documents may not be set forth in
  Schedule G.

  The Debtors reserve all of their rights, Claims, and causes of action with respect to the
  contracts and agreements listed on Schedule G, including the right to dispute or
  challenge the characterization or the structure of any transaction, document, or
  instrument related to a creditor’s Claim, to dispute the validity, status, or enforceability
  of any contract, agreement, or lease set forth in Schedule G, and to amend or supplement
  Schedule G as necessary. Inclusion of any agreement on Schedule G does not constitute
  an admission that such agreement is an executory contract or unexpired lease and the
  Debtors reserve all rights in that regard, including, without limitation, that any
  agreement is not executory, has expired pursuant to its terms, or was terminated
  prepetition.

  In addition, certain of the agreements listed on Schedule G may be in the nature of
  conditional sales agreements or secured financings. The presence of a contract or
  agreement on Schedule G does not constitute an admission that such contract or
  agreement is an executory contract or unexpired lease. The Debtors reserve all of their
  rights, claims, and causes of action with respect to the contracts and agreements listed
  on Schedule G, including the right to dispute or challenge the characterization or the
  structure of any transaction, or any document or instrument (including, without
  limitation, any intercreditor or intercompany agreement) related to a creditor’s Claim.
  Certain of the contracts, agreements, and leases listed on Schedule G may have been
  entered into by more than one of the Debtors. Further, the specific Debtor obligor to


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       certain of the executory contracts or unexpired leases could not be specifically
       ascertained in every circumstance. In such cases, the Debtors used their best efforts to
       determine the correct Debtor’s Schedule G on which to list such executory contract or
       unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous contracts or
       agreements, both written and oral, regarding the provision of certain services on a
       month-to-month basis. To the extent such contracts or agreements constitute executory
       contracts, these contracts and agreements may not be listed individually on Schedule G.

       Certain of the executory contracts may not have been memorialized and could be subject
       to dispute; executory agreements that are oral in nature have not been included in
       Schedule G.

       Certain of the executory contracts and unexpired leases listed in Schedule G may have
       been assigned to, assumed by, or otherwise transferred to certain of the Debtors in
       connection with, among other things, acquisitions by the Debtors. The Debtors used
       their best efforts to determine the correct Debtor’s Schedule G on which to list such
       executory contract or unexpired lease.

       The Debtors generally have not included on Schedule G any insurance policies, the
       premiums for which have been prepaid. In the event that the Bankruptcy Court were to
       ever determine that any such prepaid insurance policies are executory contracts, the
       Debtors reserve all of their rights to amend Schedule G to include such policies, as
       necessary or appropriate. A description of the Debtors’ insurance policies and insurance
       programs is included in the Emergency Motion of Debtors for Entry of Interim and Final
       Orders (I) Authorizing Debtors to (A) Continue Insurance Programs and Surety Bonds,
       and (B) Pay Certain Obligations with Respect Thereto; (II) Granting Relief from
       Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Granting
       Related Relief (Docket No. 13) (the “Insurance Motion”) and the exhibits attached
       thereto.

              Specific Disclosures with Respect to the Debtors’ Statements

1.     SOFA Part 2, Question 3.

       Severance for non-insiders is not considered regular employee compensation and is
       included.

2.     SOFA Part 2, Question 4.

       Includes payments to legal entities, including individuals and affiliates.

       For purposes of the Schedules and Statements, the Debtors defined “insiders” as such
       term is defined in section 101(31) of the Bankruptcy Code. Persons listed as “insiders”
       have been included for informational purposes only and the inclusion of them in the
       Schedules and Statements shall not constitute an admission that such persons are
       insiders for purposes of section 101(31) of the Bankruptcy Code. Moreover, the Debtors
       do not take any position with respect to: (i) any insider’s influence over the control of
       the Debtors; (ii) the management responsibilities or functions of any such insider; (iii)



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       the decision-making or corporate authority of any such insider; or (iv) whether the
       Debtors or any such insider could successfully argue that he or she is not an “insider”
       under applicable law or with respect to any theories of liability or for any other purpose.
       Entities listed as “insiders” have been included for informational purposes and their
       inclusion shall not constitute an admission that those entities are insiders for purposes
       of section 101(31) of the Bankruptcy Code. As stated above, the listing of a party as an
       insider in the Schedules and Statements, is not intended to be, nor shall be, construed as
       a legal characterization or determination of such party as an actual insider and does not
       act as an admission of any fact, claim, right or defense, and all such rights, claims, and
       defenses are hereby expressly reserved.

       Given the significant volume and ordinary course nature of these intercompany
       transactions, the Debtors may not have listed all intercompany transfers and
       transactions.

       As described in the Emergency Motion of Debtors for Entry of an Order (I) Authorizing
       Debtors to (A) Pay Prepetition Wages, Salaries, Employee Benefits, and Other
       Compensation, and (B) Maintain Employee Benefits Programs and Pay Related
       Obligations; and (II) Granting Related Relief (Docket No. 6) (the “Wages Motion”),
       employees are generally granted restricted stock units (“RSUs”) upon the
       commencement of their employment, which RSUs continue to vest through the term of
       their employment on four-year schedules. The Debtors have not included the vesting
       of previously granted RSUs for purposes of SOFA Part 2, Question 4. The Debtors,
       however, have included new grants of RSUs in SOFA Part 2, Question 4. For purposes
       of SOFA Part 2, Question 4, the RSUs are valued as of the Petition Date at $0 as they
       are granted in shares and not cash.

3.     SOFA Part 2, Question 5.

       The Debtors return products in the ordinary course due to defect, or if the product is
       not needed. The Debtors did not list any of these types of ordinary course returns in
       response to SOFA Part 2, Question 5.

4.     SOFA Part 2, Question 6.

       The Debtors routinely incur certain setoffs in the ordinary course of business, including
       postpetition setoffs. Setoffs in the ordinary course can result from various items
       including, but not limited to, intercompany transactions, pricing discrepancies, returns,
       warranties, coupons, refunds, and other disputes between the Debtors and their tenants
       and/or vendors. These routine setoffs are consistent with the ordinary course of business
       in the Debtors’ industry, and, therefore, can be particularly voluminous, unduly
       burdensome, and costly for the Debtors to regularly document. Therefore, although
       such setoffs and other similar rights may have been accounted for when scheduling
       certain amounts, these ordinary course setoffs are not independently accounted for, and,
       as such, are excluded from the Schedules and Statements. Any setoff of a prepetition
       debt to be applied against the Debtors is subject to the automatic stay and must comply
       with section 553 of the Bankruptcy Code. The Debtors reserve all rights with respect
       thereto, including the right to amend the setoff amounts.




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5.     SOFA Part 3, Question 7.

       Although the Debtors believe they were diligent in their efforts, certain lawsuits and
       proceedings may have been excluded inadvertently in the Debtors’ response to SOFA,
       Question 7. Additionally, the Debtors may have causes of action against other parties
       that have not formally been commenced, and thus any such causes of action have not
       been included on SOFA Part 3, Question 7. The Debtors reserve all of their rights to
       amend or supplement their response to SOFA Part 3, Question 7.

       The Debtors reserve all of their rights and defenses with respect to any and all listed
       lawsuits and administrative proceedings. The listing of such actions shall not constitute
       an admission by the Debtors of any liabilities or that the actions were correctly filed
       against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights
       to assert that neither the Debtors nor any affiliate of the Debtors is an appropriate party
       to such actions or proceedings.

       In the event that the Debtors discover additional information pertaining to these legal
       actions identified in response to SOFA Part 3, Question 7, the Debtors will use
       reasonable efforts to supplement the Statements in light thereof and reserve all rights to
       do so.

       The response to this question excludes normal-course state audit activities.

6.     SOFA Part 4, Question 9.

       The donations and/or charitable contributions listed in response to SOFA Part 4,
       Question 9 represent payments made to third parties during the applicable timeframe
       that were recorded as such within the Debtors’ books and records.

7.     SOFA Part 6, Question 11.

       All payments for services of any entities that provided consultation concerning debt
       counseling or restructuring services, relief under the Bankruptcy Code, or preparation
       of a petition in bankruptcy within one (1) year immediately preceding the Petition Date
       are listed on the applicable Debtors’ response to SOFA Part 6, Question 11. Certain
       professionals provided services in addition to restructuring related services; payments
       for such services have been excluded in response to SOFA Part 6, Question 11, to the
       extent reasonably practicable. Additional information regarding the Debtors’ retention
       of professional service firms is more fully described in individual retention applications
       and related orders, to the extent applicable.

       On a postpetition basis, payments to certain professionals have been or will be made
       from the Debtors’ segregated professional fee escrow account held by Core Scientific,
       Inc. on behalf of the Debtors on a consolidated basis. Payments to certain other
       professionals are paid out of the main operating account held by Core Scientific
       Operating Company. The Debtors believe that it would be an inefficient use of the
       assets of the Debtors’ estates for the Debtors to allocate these payments on a Debtor-
       by-Debtor basis. Accordingly, the Debtors have listed such payments on the SOFA of
       Core Scientific Operating Company.




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8.     SOFA Part 13, Question 27.

       No complete inventory results are maintained.

9.     SOFA Part 13, Question 30.

       Payments to insiders: refer to SOFA Part 2, Question 4 for payments that would have
       otherwise been listed in here.




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Core Scientific Operating Company                                                                      Case Number:           22-90343

Schedule A/B: Assets — Real and Personal Property
      Part 1:         Cash and cash equivalents

1.    Does the debtor have any cash or cash equivalents?

              No. Go to Part 2.
              Yes. Fill in the information below.


     General description                                               Type of account          Last 4 digits of   Current value of
                                                                       (if applicable)          account #          debtor’s interest
                                                                                                (if applicable)


2.     Cash on hand
      2.1


3.     Checking, savings, money market, or financial brokerage accounts (Identify all)
      3.1    BREMER BANK                                             LOAN PAYMENTS                     1154                    $783,678

      3.2    BANK OF AMERICA                                         OVERNIGHT DEPOSIT                 8262                    $169,185

      3.3    CITY NATIONAL BANK                                      CNB OPERATING                     7395                      $99,905

      3.4    BANK OF AMERICA                                         MAIN CONCENTRATION                7817                   $3,315,958


4.     Other cash equivalents (Identify all)
      4.1



5.     Total of Part 1.                                                                                                       $4,368,726
       Add lines 2 through 4. Copy the total to line 80.




                                                           Page 1 of 1 to Schedule A/B Part 1
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Core Scientific Operating Company                                                                Case Number:          22-90343

Schedule A/B: Assets — Real and Personal Property
      Part 2:          Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

               No. Go to Part 3.
               Yes. Fill in the information below.


     General description                                                                                    Current value of
                                                                                                            debtor’s interest




7.     Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit


        7.1     ALPHA WASTE - UTILITY DEPOSIT                                                                             $321.84

        7.2     BALSAM WEST FIBER NET - UTILITY DEPOSIT                                                                 $2,183.53

        7.3     CALVERT CITY HALL - UTILITY DEPOSIT                                                                       $330.34

        7.4     CAROLINA RECYCLING - UTILITY DEPOSIT                                                                      $556.11

        7.5     COGENT COMMUNICATIONS - UTILITY DEPOSIT                                                                   $727.22

        7.6     COUNTRYWIDE SANITATION - UTILITY DEPOSIT                                                                $1,882.45

        7.7     DAKOTA CARRIER NETWORK - UTILITY DEPOSIT                                                                  $756.00

        7.8     DALTON UTILITIES - UTILITY DEPOSIT                                                                  $3,887,679.42

        7.9     DUKE ENERGY CAROLINAS - UTILITY DEPOSIT                                                             $1,140,573.26

        7.10    FRONTIER COMMUNICATIONS - UTILITY DEPOSIT                                                               $1,467.79

        7.11    GLOBALGIG - UTILITY DEPOSIT                                                                             $1,909.34

        7.12    LEVEL 3 COMMUNICATIONS LLC - UTILITY DEPOSIT                                                           $11,545.71

        7.13    LOGIX FIBER NETWORKS - UTILITY DEPOSIT                                                                    $926.19

        7.14    MARBLE COMMUNITY - UTILITY DEPOSIT                                                                         $38.31

        7.15    OPTILINK - UTILITY DEPOSIT                                                                                 $99.16

        7.16    REGIONAL WASTE - UTILITY DEPOSIT                                                                        $9,858.04

        7.17    RESOUND NETWORKS - UTILITY DEPOSIT                                                                      $2,450.82

        7.18    SHELL ENERGY SOLUTIONS - UTILITY DEPOSIT                                                            $1,688,631.66

        7.19    SPECTRUM - UTILITY DEPOSIT                                                                                 $57.40

        7.20    TANMAR - UTILITY DEPOSIT                                                                                $3,827.76

        7.21    TENNESSEE VALLEY AUTHORITY - CASH DEPOSIT                                                           $1,225,000.00

        7.22    TIME WARNER CABLE - UTILITY DEPOSIT                                                                     $2,965.51


                                                            Page 1 of 4 to Schedule A/B Part 2
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Core Scientific Operating Company                                                                 Case Number:     22-90343

Schedule A/B: Assets — Real and Personal Property
     Part 2:         Deposits and prepayments

       7.23    WINDSTREAM COMMUNICATIONS - UTILITY DEPOSIT                                                          $2,578.14

       7.24    XCEL ENERGY - UTILITY DEPOSIT                                                                        $1,264.53

8.    Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment


       8.1     DENTON MUNICIPAL ELECTRIC - UTILITY PREPAYMENT                                                    $1,000,000.00

       8.2     MURPHY ELECTRIC POWERBOARD - UTILITY PREPAYMENT                                                    $300,000.00

       8.3     NODAK ELECTRIC COOPERATIVE - UTILITY PREPAYMENT                                                    $500,000.00

       8.4     PREPAID CONSTRUCTION: ADQ FINANCIAL SERVICES LLC                                                  $3,825,000.00

       8.5     PREPAID CONSTRUCTION: CONDAIR INC                                                                 $1,653,311.09

       8.6     PREPAID CONSTRUCTION: CONVERGINT TECHNOLOGIES LLC                                                  $350,229.30

       8.7     PREPAID CONSTRUCTION: JCL ENERGY LLC                                                              $2,558,015.30

       8.8     PREPAID CONSTRUCTION: OVERHEAD DOOR COMPANY OF CLAYTON/OVERHEAD DOOR                                 $8,981.35
               COMPANY OF TRI STATE

       8.9     PREPAID CONSTRUCTION: TOWER DIRECT                                                                  $15,750.00

       8.10    PREPAID CONSTRUCTION: TRILOGY LLC                                                                   $15,420.00

       8.11    PREPAID INSURANCE: AON CONSULTING INC                                                                $5,162.31

       8.12    PREPAID INSURANCE: AON RISK INSURANCE SERVICES WEST INC                                           $2,675,807.69

       8.13    PREPAID INSURANCE: CAC SPECIALTY                                                                  $4,634,743.40

       8.14    PREPAID OTHER: A&NM PROPERTY, LLC                                                                    $5,200.00

       8.15    PREPAID OTHER: CHAMBER OF DIGITAL COMMERCE                                                           $4,166.63

       8.16    PREPAID OTHER: CREDIT CARD                                                                         $282,969.48

       8.17    PREPAID OTHER: EVOTEK                                                                                $9,116.12

       8.18    PREPAID OTHER: FACILITY SOLUTIONS GROUP, INC                                                             $2.00

       8.19    PREPAID OTHER: FIDELITY CAPITAL PARTNERS LLC                                                        $14,050.00

       8.20    PREPAID OTHER: FIRST NATIONAL CAPITAL LLC                                                           $25,000.00

       8.21    PREPAID OTHER: FUSIONSTORM                                                                             $386.38

       8.22    PREPAID OTHER: LIBERTY COMMERCIAL FINANCE LLC                                                      $157,991.39

       8.23    PREPAID OTHER: NETGAIN SOLUTIONS INC                                                                 $5,752.80

       8.24    PREPAID OTHER: ONESTOPMINING TECHNOLOGIES LIMITED                                                  $296,376.00

       8.25    PREPAID OTHER: PJT PARTNERS LP                                                                     $200,000.00


                                                             Page 2 of 4 to Schedule A/B Part 2
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Core Scientific Operating Company                                                     Case Number:     22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 2:       Deposits and prepayments

    8.26    PREPAID OTHER: SLACK TECHNOLOGIES LLC                                                      $15,005.68

    8.27    PREPAID OTHER: TENASKA COLOCATION SERVICES LLC                                           $8,919,000.00

    8.28    PREPAID OTHER: TRILOGY LLC                                                                $126,000.00

    8.29    PREPAID OTHER: TRINET                                                                     $177,582.55

    8.30    PREPAID OTHER: US SECURITIES AND EXCHANGE COMMISSION                                       $10,496.34

    8.31    PREPAID OTHER: WEATHER GROUP TELEVISION LLC                                                     $0.02

    8.32    PREPAID OTHER: WEIL GOTSHAL AND MANGES LLP                                                $273,614.36

    8.33    PREPAID POWER: DENTON MUNICIPAL ELECTRIC                                                 $5,791,661.99

    8.34    PREPAID POWER: DENTON MUNICIPAL UTILITIES                                                 $933,191.56

    8.35    PREPAID POWER: MURPHY ELECTRIC POWER BOARD                                               $1,112,509.04

    8.36    PREPAID POWER: NODAK ELECTRIC COOPERATIVE INC                                            $4,200,893.31

    8.37    PREPAID POWER: SHELL ENERGY SOLUTIONS                                                    $3,618,496.42

    8.38    PREPAID POWER: TENNESSEE VALLEY AUTHORITY                                                $7,409,077.19

    8.39    PREPAID POWER: TXU ENERGY RETAIL COMPANY LLC                                             $2,084,866.46

    8.40    PREPAID RENT: - OTHER                                                                           $0.31

    8.41    PREPAID RENT: MINNKOTA POWER COOPERATATIVE INC                                             $12,375.00

    8.42    PREPAID RENT: PEERLESS EVENTS AND TENTS LLC                                                $28,111.74

    8.43    PREPAID SUBSCRIPTION: ADAPTIVE INSIGHTS LLC                                                $16,367.88

    8.44    PREPAID SUBSCRIPTION: ALATION, INC                                                         $79,920.94

    8.45    PREPAID SUBSCRIPTION: BIGEYE, INC.                                                         $13,755.93

    8.46    PREPAID SUBSCRIPTION: BUILT IN INC                                                          $4,304.48

    8.47    PREPAID SUBSCRIPTION: CCR CORP                                                                $306.99

    8.48    PREPAID SUBSCRIPTION: CDW DIRECT                                                           $14,559.70

    8.49    PREPAID SUBSCRIPTION: CLOUDFLARE INC                                                       $25,823.59

    8.50    PREPAID SUBSCRIPTION: DATABRICKS, INC.                                                     $21,666.67

    8.51    PREPAID SUBSCRIPTION: DOCUSIGN INC                                                          $7,394.32

    8.52    PREPAID SUBSCRIPTION: EVOTEK                                                               $15,900.00

    8.53    PREPAID SUBSCRIPTION: GITHUB INC                                                            $1,189.49

    8.54    PREPAID SUBSCRIPTION: GREENHOUSE SOFTWARE INC                                              $11,077.99



                                                 Page 3 of 4 to Schedule A/B Part 2
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Core Scientific Operating Company                                                              Case Number:      22-90343

Schedule A/B: Assets — Real and Personal Property
     Part 2:        Deposits and prepayments

       8.55    PREPAID SUBSCRIPTION: IRONCLAD INC                                                                $16,118.86

       8.56    PREPAID SUBSCRIPTION: LINKEDIN CORPORATION                                                        $11,443.42

       8.57    PREPAID SUBSCRIPTION: LIVEVIEW TECHNOLOGIES INC                                                   $25,542.05

       8.58    PREPAID SUBSCRIPTION: NAVEX GLOBAL INC                                                              $1,693.07

       8.59    PREPAID SUBSCRIPTION: OKTA INC                                                                    $39,153.80

       8.60    PREPAID SUBSCRIPTION: Q4 INC                                                                      $13,979.42

       8.61    PREPAID SUBSCRIPTION: ROCKWELL AUTOMATION INC                                                     $11,717.12

       8.62    PREPAID SUBSCRIPTION: SAFETYSKILLS LLC                                                            $13,851.73

       8.63    PREPAID SUBSCRIPTION: SMARTSHEET INC                                                                $2,720.66

       8.64    PREPAID SUBSCRIPTION: SUMMIT ENERGY SERVICES INC                                                  $15,337.87

       8.65    PREPAID SUBSCRIPTION: THOMSON REUTERS TAX AND ACCOUNTING CHECKPOINT                                 $4,536.83

       8.66    PREPAID SUBSCRIPTION: TRACE3 LLC                                                                     $627.78

       8.67    PREPAID SUBSCRIPTION: WORKIVA INC                                                                 $78,670.37

       8.68    PREPAID TAX: GEORGIA DEPARTMENT OF REVENUE                                                        $14,457.76



9.    Total of Part 2                                                                                         $61,706,062.46
      Add lines 7 through 8. Copy the total to line 81.

Specific Notes
Deposits are prepayments as of 12/31/2022.




                                                          Page 4 of 4 to Schedule A/B Part 2
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Core Scientific Operating Company                                                                            Case Number:                 22-90343

Schedule A/B: Assets — Real and Personal Property
      Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.


 General description                                                             Face or requested       Doubtful or              Current value of
                                                                                 amount                  uncollectable            debtor’s interest



11.     Accounts receivable

        11a. 90 days old or less:                                                      $8,957,799    -         $8,723,619     =            $234,179

        11b. Over 90 days old:                                                                  $0   -                   $0   =                   $0


        11c. All accounts receivable:                                                                -                        =


12.     Total of Part 3                                                                                                                   $234,179
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.




                                                           Page 1 of 1 to Schedule A/B Part 3
                                                                                         Case 22-90341 Document 463 Filed in TXSB on 02/03/23 Page 28 of 132


Schedule A/B, Part 3 - Accounts Receivable (Attachment)




                                                                                              Intercompany Summary Matrix

                                                                                                                                                                                     American           American
                                            Core Scientific    Core Scientific                         Core Scientific      American
                        Core Scientific,                                                                                                  Starboard Capital                          Property           Property             Core Scientific
                                           Acquired Mining      Operating         Radar Relay, Inc.   Specialty Mining      Property                              RADAR, LLC
                             Inc.                                                                                                               LLC                                Acquisitions I,   Acquisitions VII,        Mining LLC
                                                LLC              Company                                    LLC          Acquisition, LLC
                                                                                                                                                                                       LLC                LLC


     Core Scientific,
          Inc.
                                               ($12,690,624)     ($476,285,014)

     Core Scientific
    Acquired Mining
         LLC
                            $12,198,146                          ($152,359,250)         $1,745,468

     Core Scientific
      Operating
       Company
                           $476,792,362       $152,344,380                               ($557,450)


   Radar Relay, Inc.

                                                ($1,745,468)          $557,450

     Core Scientific
    Specialty Mining
          LLC
                                                                                                      x

       American
       Property
    Acquisition, LLC
                                                                                                                         x


       Starboard
      Capital LLC
                                                                                                                                          x


     RADAR, LLC

                                                                                                                                                              x
       American
       Property
     Acquisitions I,
         LLC                                                                                                                                                                   x
       American
       Property
    Acquisitions VII,
         LLC                                                                                                                                                                                         x


     Core Scientific
      Mining LLC
                                                                                                                                                                                                                         x
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Core Scientific Operating Company                                                                         Case Number:              22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 4:          Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.


 General description                                                                             Valuation method used   Current value of
                                                                                                 for current value       debtor’s interest




14. Mutual funds or publicly traded stocks not included in Part 1
      Name of fund or stock:

    14.1   CRYPTO CURRENCIES : BTC/XBT                                                         COST NET OF IMPAIRMENT                $651,064


15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership,
    or joint venture
      Name of entity:

    15.1


16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
      Describe:

    16.1



17. Total of Part 4
                                                                                                                                     $651,064
    Add lines 14 through 16. Copy the total to line 83.




                                                          Page 1 of 1 to Schedule A/B Part 4
                                                                     ScheduleCase
                                                                              A/B, 22-90341
                                                                                     Part 4- Investments
                                                                                                 Document 463 Filed in TXSB on 02/03/23 Page 30 of 132
                                                                     Core Scientific’s investments consists of its investment in subsidiaries, as set forth on the following organizational chart:
      Debtor Status
      D = Debtor
                                 Symbol Legend

          Borrower under the B. Riley Notes


          Issuer under the Convertible Notes


           Guarantor under the Convertible Notes


          Borrower under the Equipment Leases and Loans
                                                                                                                                                                                                                         DE

          Borrower under the Facility Mortgages                                                                                                                                            Core Scientific, Inc.
                                                                                                                                                                                                                                                                                                            ABD                                                  KY
                                                                                                                                                                                    (fka Power & Digital Infrastructure
                                                                                                                                                                                            Acquisition Corp.)                                                                   Core Scientific, Inc. – Branch                   CSP Liquid Opportunities
          Entity changed name at January 20, 2022 merger                                                                                                                                                                                                                                 (Abu Dhabi)                            Offshore Fund (Exempted Ltd)
                                                                                                                                                                                                                                                                                   *Provisional License not                           *Affiliated entity
                                                                                                                                                                                                                                                                                       separate entity
          Party to operations, service, customer and
          vendor Ăgreements entered into pre de-SPAC*
          *Available in the data room, except Amended and Restated Electric Service
          Agreements, dated as of October 11, 2018, by and between American Property
          Acquisitions, LLC VI/VII and Dalton Utilities

          Party to operations, service, customer and
          vendor Ăgreements entered into post de-SPAC*
          *Available in the data room




State of Formation/Incorporation
(as shown at top right corner of each box)
                                                                                                     DE                                                                  DE
                                                                                                                                                                                                                              dy                                                                                   DE
ABD = Abu Dhabi                                                             Core Scientific Acquired                                               Core Scientific                               ŽƌĞ^ĐŝĞŶƚŝĨŝĐDŝŶŝŶŐ>>                                                               Core Scientific Partners GP,
CO= Colorado                                                                      Mining LLC                                                  Operating Company
                                                                                                                                                                                                                                                                                                 LLC (SMLLC)
DE= Delaware                                                              (Acquirer of Blockcap, Inc.)                                      (fka Core Scientific, Inc.)
GA = Georgia
KY = Cayman Islands
dyсdĞǆĂƐ


                                                                                                                                                                                                                               >ŝŵŝƚĞĚ                           General
                                                                                                                                                                                                                               Partner                           Partner                                                                 General Partner


                                                                                                                                    DE                                                            DE                                                                        DE
                                                           Radar Relay, Inc.                              Core Scientific Specialty Mining                                                                                               Core Scientific Partners, LP
                                                        (fka Radar Relay, LLC)                                                                                             American Property Acquisition,
                                                                                                                  (Oklahoma) LLC
                                                                                                                                                                                       LLC
                                                                                                            (fka GPU One Holdings, LLC)




                                                                                                                                                                                                                                                                                                                                  >ŝŵŝƚĞĚ
                                                                                                                                                                                                                                                                                                                                  Partner




                           CO                                                                CO                                                    NC                                                                                        GA                                                DE                                                                 DE
                                                                                                                                                                                                                                                                           CSP Advisors, LLC (SMLLC)                                   CSP Liquid Opportunities GP, LP
 Starboard Capital LLC                                                       RADAR LLC                                American Property Acquisitions I,                                                        American Property Acquisitions
                                                                                                                                   LLC                                                                                    VII, LLC




                                                                                                                                                                                                                                                                                                                     General Partner                          General Partner



                                                                                                                                                                                                                                                                                                                                                       DE
                                                                                                                                                                                                                                               >ŝŵŝƚĞĚ Partner                                                       CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                             Fund, LP


                                                                                                                                                                                                                                                                                                                                                                                         KY
                                                                                                                                                                                                                                                                                                                                                              CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                     >ŝŵŝƚĞĚ Partner
                                                                                                                                                                                                                                                                                                                                                                  Master Fund, LP
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Core Scientific Operating Company                                                                       Case Number:           22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 5:         Inventory, excluding agriculture assets - detail
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


 General description                                       Date of the last        Net book value of   Valuation method   Current value of
                                                           physical inventory      debtor's interest   used for current   debtor’s interest
                                                                                   (Where available)   value

19. Raw materials

   19.1

20. Work in progress

   20.1

21. Finished goods, including goods held for resale

   21.1

22. Other Inventory or supplies

   22.1


23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.


24. Is any of the property listed in Part 5 perishable?

           No
           Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.       Book Value                             Valuation method                          Current value


26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 5
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Core Scientific Operating Company                                                                      Case Number:                22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 6:             Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes. Fill in the information below.


 General description                                                      Net book value of    Valuation method         Current value of
                                                                          debtor's interest    used for current value   debtor’s interest
                                                                          (Where available)


28. Crops—either planted or harvested
     28.1

29. Farm animals
     Examples: Livestock, poultry, farm-raised fish

     29.1

30. Farm machinery and equipment
     (Other than titled motor vehicles)

     30.1

31. Farm and fishing supplies, chemicals, and feed
     31.1

32. Other farming and fishing-related property not already listed in Part 6
     32.1


33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.


34. Is the debtor a member of an agricultural cooperative?
            No
            Yes. Is any of the debtor’s property stored at the cooperative?

                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

            No
            Yes.        Book Value                            Valuation method                        Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?

            No
            Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

            No
            Yes




                                                          Page 1 of 1 to Schedule A/B Part 6
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Core Scientific Operating Company                                                                      Case Number:                22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 7:          Office furniture, fixtures, and equipment; and collectibles - detail
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

            No. Go to Part 8.
            Yes. Fill in the information below.


 General description                                                     Net book value of     Valuation method         Current value of
                                                                         debtor's interest     used for current value   debtor’s interest
                                                                         (Where available)



39. Office furniture

     39.1




40. Office fixtures

     40.1    FURNITURE & FIXTURES                                                    $3,597                                           $3,597




41. Office equipment, including all computer equipment and communication systems equipment and software

     41.1    COMPUTER EQUIPMENT                                                   $919,944                                          $919,944




42. Collectibles

     42.1




43. Total of Part 7                                                                                                                 $923,540
    Add lines 39 through 42. Copy the total to line 86.


44. Is a depreciation schedule available for any of the property listed in Part 7?

            No
            Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

            No
            Yes




                                                          Page 1 of 1 to Schedule A/B Part 7
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Core Scientific Operating Company                                                                                    Case Number:                22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes. Fill in the information below.


 General description                                                               Net book value of         Valuation method         Current value of
                                                                                   debtor's interest         used for current value   debtor’s interest
                                                                                   (Where available)




47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1    VEHICLES                                                                         $850,314                                            $850,314


48. Watercraft, trailers, motors, and related accessories
     Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1


49. Aircraft and accessories

     49.1


50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

     50.1    CONTAINERS                                                                   $15,962,135                                          $15,962,135


     50.2    DGX                                                                                      $27                                                 $27


     50.3    MINERS                                                                      $644,734,073                                         $644,734,073


     50.4    NETWORK EQUIPMENT                                                            $14,162,702                                          $14,162,702


     50.5    PURCHASED SOFTWARE                                                                    $48,922                                         $48,922


     50.6    RACKS                                                                        $28,004,948                                          $28,004,948


     50.7    SERVERS                                                                          $112,805                                            $112,805


     50.8    SWITCHBOARD AND TRANSFORMER                                                 $135,271,892                                         $135,271,892




                                                                Page 1 of 2 to Schedule A/B Part 8
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Core Scientific Operating Company                                                                     Case Number:     22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 8:        Machinery, equipment, and vehicles


51. Total of Part 8                                                                                                  $839,147,819
    Add lines 47 through 50. Copy the total to line 87.


52. Is a depreciation schedule available for any of the property listed in Part 8?

           No
           Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 2 of 2 to Schedule A/B Part 8
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Core Scientific Operating Company                                                                         Case Number:              22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property - detail

54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes. Fill in the information below.


Description and location of property                         Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as          of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property           interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or      property
office building), if available.




55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   55.1      ADQ DUBAI (BUILDING AND BUILDING                     OWNED                        $145,371         NBV                  $145,371
             IMPROVEMENT: NOT AVAILABLE DUBAI,
             UNITED ARAB EMIRATES )


   55.2      AUSTIN, TX (HQ) (LAND: 210 BARTON                    LEASED                  $1,288,050            NBV                 $1,288,050
             SPRINGS ROAD, SUITE 300 AUSTIN, TX
             78704 )


   55.3      AUSTIN, TX (HQ) (BUILDING AND                        LEASED                       $605,923         NBV                  $605,923
             BUILDING IMPROVEMENT: 210 BARTON
             SPRINGS ROAD, SUITE 300 AUSTIN, TX
             78704 )


   55.4      AUSTIN, TX (HQ) (LEASEHOLD                           LEASED                        $82,586         NBV                    $82,586
             IMPROVEMENTS: 210 BARTON SPRINGS
             ROAD, SUITE 300 AUSTIN, TX 78704 )


   55.5      CEDARVALE, TEXAS (BUILDING AND                       OWNED                  $27,987,613            NBV               $27,987,613
             BUILDING IMPROVEMENT: 3013 FM 516
             N. BARSTOW, TX 79777 )


   55.6      CEDARVALE, TEXAS (LAND                               OWNED                   $3,932,480            NBV                 $3,932,480
             IMPROVEMENT: 3013 FM 516 N.
             BARSTOW, TX 79777 )


   55.7      CEDARVALE, TEXAS (LAND: 3013 FM                      OWNED                        $575,909         NBV                  $575,909
             516 N. BARSTOW, TX 79777 )


   55.8      COTTONWOOD, TEXAS (BUILDING AND                      LEASED                 $57,889,076            NBV               $57,889,076
             BUILDING IMPROVEMENT: 1851 FM 2119
             PECOS, TX 79772 )


   55.9      DENTON, TEXAS (BUILDING AND                          LEASED                 $89,021,538            NBV               $89,021,538
             BUILDING IMPROVEMENT: 8171 JIM
             CHRISTAL ROAD DENTON, TX 76207 )


   55.10     DENTON, TEXAS (LAND IMPROVEMENT:                     LEASED                  $4,400,100            NBV                 $4,400,100
             8171 JIM CHRISTAL ROAD DENTON, TX
             76207 )



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Core Scientific Operating Company                                                                         Case Number:              22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                         Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as          of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property           interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or      property
office building), if available.




   55.11     GRAND FORKS, ND (BUILDING AND                        OWNED                        $398,221         NBV                  $398,221
             BUILDING IMPROVEMENT: 5601 11TH
             AVENUE SOUTH GRAND FORKS, ND
             58201 )


   55.12     GRAND FORKS, ND (LAND                                LEASED                        $46,953         NBV                    $46,953
             IMPROVEMENT: 5601 11TH AVENUE
             SOUTH GRAND FORKS, ND 58201 )


   55.13     GRAND FORKS, ND, BLDG A (BUILDING                    OWNED                   $6,514,718            NBV                 $6,514,718
             AND BUILDING IMPROVEMENT: 5601
             11TH AVENUE SOUTH GRAND FORKS,
             ND 58201 )


   55.14     GRAND FORKS, ND, BLDG A (LAND                        OWNED                         $47,461         NBV                    $47,461
             IMPROVEMENT: 5601 11TH AVENUE
             SOUTH GRAND FORKS, ND 58201 )


   55.15     GRAND FORKS, ND, BLDG B (BUILDING                    OWNED                  $10,126,470            NBV               $10,126,470
             AND BUILDING IMPROVEMENT: 5601
             11TH AVENUE SOUTH GRAND FORKS,
             ND 58201 )


   55.16     GRAND FORKS, ND, BLDG B (LAND                        OWNED                        $582,271         NBV                  $582,271
             IMPROVEMENT: 5601 11TH AVENUE
             SOUTH GRAND FORKS, ND 58201 )


   55.17     LONGROAD, TEXAS (LAND                                OWNED                        $124,821         NBV                  $124,821
             IMPROVEMENT: NOT AVAILABLE
             LONGROAD, TX )


   55.18     MUSKOGEE, OK (BUILDING AND                           OWNED                  $36,907,046            NBV               $36,907,046
             BUILDING IMPROVEMENT: 1525 W
             SMITH FERRY RD MUSKOGEE, OK
             74401 )


   55.19     MUSKOGEE, OK (LAND: 1525 W SMITH                     OWNED                        $968,311         NBV                  $968,311
             FERRY RD MUSKOGEE, OK 74401 )


   55.20     MUSKOGEE, OK (LAND IMPROVEMENT:                      OWNED                         $46,938         NBV                    $46,938
             1525 W SMITH FERRY RD MUSKOGEE,
             OK 74401 )




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Core Scientific Operating Company                                                                           Case Number:     22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail


56. Total of Part 9                                                                                                        $241,691,855
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.


57. Is a depreciation schedule available for any of the property listed in Part 9?

           No
           Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

           No
           Yes




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Core Scientific Operating Company                                                                 Case Number:                22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 10:         Intangibles and intellectual property - detail

59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes. Fill in the information below.


 General description                                                  Net book value of   Valuation method         Current value of
                                                                      debtor's interest   used for current value   debtor’s interest
                                                                      (Where available)



60. Patents, copyrights, trademarks, and trade secrets

    60.1    BLOCKCHAIN PATENT                                                                                               Undetermined

    60.2    PATENT - HARDWARE TRADE SECRET                                                                                  Undetermined

    60.3    PATENT 10299412                                                                                                 Undetermined

    60.4    PATENT 10691528                                                                                                 Undetermined

    60.5    PATENT 10694642                                                                                                 Undetermined

    60.6    PATENT 10701835                                                                                                 Undetermined

    60.7    PATENT 10701836                                                                                                 Undetermined

    60.8    PATENT 10701837                                                                                                 Undetermined

    60.9    PATENT 10783410                                                                                                 Undetermined

    60.10 PATENT 10806055                                                                                                   Undetermined

    60.11 PATENT 10908658                                                                                                   Undetermined

    60.12 PATENT 10942195                                                                                                   Undetermined

    60.13 PATENT 10959349                                                                                                   Undetermined

    60.14 PATENT 11068292                                                                                                   Undetermined

    60.15 PATENT 11092614                                                                                                   Undetermined

    60.16 PATENT 11153988                                                                                                   Undetermined

    60.17 PATENT 11178021                                                                                                   Undetermined

    60.18 PATENT 11237605                                                                                                   Undetermined

    60.19 PATENT 11249835                                                                                                   Undetermined

    60.20 PATENT 11363743                                                                                                   Undetermined

    60.21 PATENT 11485241                                                                                                   Undetermined

    60.22 PATENT 11489736                                                                                                   Undetermined

    60.23 PATENT 11516942                                                                                                   Undetermined

    60.24 PATENT 11540415                                                                                                   Undetermined

    60.25 PATENT 16/185604                                                                                                  Undetermined

    60.26 PATENT 16/507652                                                                                                  Undetermined

    60.27 PATENT 16/587860                                                                                                  Undetermined

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Schedule A/B: Assets — Real and Personal Property
 Part 10:     Intangibles and intellectual property - detail

   60.28 PATENT 16/707964                                                                    Undetermined

   60.29 PATENT 16/777503                                                                    Undetermined

   60.30 PATENT 16/841659                                                                    Undetermined

   60.31 PATENT 16/900860                                                                    Undetermined

   60.32 PATENT 16/936101                                                                    Undetermined

   60.33 PATENT 16/992093                                                                    Undetermined

   60.34 PATENT 17/081393                                                                    Undetermined

   60.35 PATENT 17/095310                                                                    Undetermined

   60.36 PATENT 17/095335                                                                    Undetermined

   60.37 PATENT 17/102604                                                                    Undetermined

   60.38 PATENT 17/161,026                                                                   Undetermined

   60.39 PATENT 17/383,004                                                                   Undetermined

   60.40 PATENT 17/476,766                                                                   Undetermined

   60.41 PATENT 17/476,786                                                                   Undetermined

   60.42 PATENT 17/476,796                                                                   Undetermined

   60.43 PATENT 17/476,836                                                                   Undetermined

   60.44 PATENT 17/575,184                                                                   Undetermined

   60.45 PATENT 17/691,562                                                                   Undetermined

   60.46 PATENT 17/737,491                                                                   Undetermined

   60.47 PATENT 17/737,505                                                                   Undetermined

   60.48 PATENT 17/738,646                                                                   Undetermined

   60.49 PATENT 17/738,654                                                                   Undetermined

   60.50 PATENT 17/741,544                                                                   Undetermined

   60.51 PATENT 17/744,004                                                                   Undetermined

   60.52 PATENT 17/744,017                                                                   Undetermined

   60.53 PATENT 17/744,023                                                                   Undetermined

   60.54 PATENT 17/744,915                                                                   Undetermined

   60.55 PATENT 17/749,550                                                                   Undetermined

   60.56 PATENT 17/953,932                                                                   Undetermined

   60.57 PATENT 201980064992.5                                                               Undetermined

   60.58 PATENT 202080034743.4                                                               Undetermined

   60.59 PATENT 202080066225.0                                                               Undetermined

   60.60 PATENT 202080066226.5                                                               Undetermined

   60.61 PATENT 62/584269                                                                    Undetermined


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Schedule A/B: Assets — Real and Personal Property
 Part 10:     Intangibles and intellectual property - detail

   60.62 PATENT 62/584274                                                                    Undetermined

   60.63 PATENT 62/584667                                                                    Undetermined

   60.64 PATENT 62/863209                                                                    Undetermined

   60.65 PATENT 62/873759                                                                    Undetermined

   60.66 PATENT 62/877,734                                                                   Undetermined

   60.67 PATENT 62/877671                                                                    Undetermined

   60.68 PATENT 62/877693                                                                    Undetermined

   60.69 PATENT 62/877714                                                                    Undetermined

   60.70 PATENT 62/877716                                                                    Undetermined

   60.71 PATENT 62/877719                                                                    Undetermined

   60.72 PATENT 62/877721                                                                    Undetermined

   60.73 PATENT 62/877723                                                                    Undetermined

   60.74 PATENT 62/877735                                                                    Undetermined

   60.75 PATENT 62/877737                                                                    Undetermined

   60.76 PATENT 62/877740                                                                    Undetermined

   60.77 PATENT 62/879704                                                                    Undetermined

   60.78 PATENT 62/892029                                                                    Undetermined

   60.79 PATENT 62/972648                                                                    Undetermined

   60.80 PATENT 62/983890                                                                    Undetermined

   60.81 PATENT 62/990552                                                                    Undetermined

   60.82 PATENT 63/025866                                                                    Undetermined

   60.83 PATENT 63/027802                                                                    Undetermined

   60.84 PATENT 63/027807                                                                    Undetermined

   60.85 PATENT 63/054458                                                                    Undetermined

   60.86 PATENT 63/054987                                                                    Undetermined

   60.87 PATENT 63/058101                                                                    Undetermined

   60.88 PATENT 63/061132                                                                    Undetermined

   60.89 PATENT 63/061134                                                                    Undetermined

   60.90 PATENT 63/064589                                                                    Undetermined

   60.91 PATENT 63/064616                                                                    Undetermined

   60.92 PATENT 63/065003                                                                    Undetermined

   60.93 PATENT 63/066429                                                                    Undetermined

   60.94 PATENT 63/066497                                                                    Undetermined

   60.95 PATENT 63/066986                                                                    Undetermined


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Schedule A/B: Assets — Real and Personal Property
 Part 10:      Intangibles and intellectual property - detail

   60.96 PATENT 63/067047                                                                     Undetermined

   60.97 PATENT 63/079169                                                                     Undetermined

   60.98 PATENT 63/079174                                                                     Undetermined

   60.99 PATENT 63/079224                                                                     Undetermined

   60.100 PATENT 63/079225                                                                    Undetermined

   60.101 PATENT 63/088437                                                                    Undetermined

   60.102 PATENT 63/092737                                                                    Undetermined

   60.103 PATENT 63/092739                                                                    Undetermined

   60.104 PATENT 63/108651                                                                    Undetermined

   60.105 PATENT 63/108652                                                                    Undetermined

   60.106 PATENT 63/108663                                                                    Undetermined

   60.107 PATENT 63/138745                                                                    Undetermined

   60.108 PATENT 63/141319                                                                    Undetermined

   60.109 PATENT 63/155091                                                                    Undetermined

   60.110 PATENT 63/159701                                                                    Undetermined

   60.111 PATENT 63/159709                                                                    Undetermined

   60.112 PATENT 63/161183                                                                    Undetermined

   60.113 PATENT 63/172298                                                                    Undetermined

   60.114 PATENT 63/176836                                                                    Undetermined

   60.115 PATENT 63/185,705                                                                   Undetermined

   60.116 PATENT 63/185,714                                                                   Undetermined

   60.117 PATENT 63/185434                                                                    Undetermined

   60.118 PATENT 63/185447                                                                    Undetermined

   60.119 PATENT 63/187,980                                                                   Undetermined

   60.120 PATENT 63/187,992                                                                   Undetermined

   60.121 PATENT 63/187,995                                                                   Undetermined

   60.122 PATENT 63/187478                                                                    Undetermined

   60.123 PATENT 63/188,629                                                                   Undetermined

   60.124 PATENT 63/191,438                                                                   Undetermined

   60.125 PATENT 63/221,750                                                                   Undetermined

   60.126 PATENT 63/221,750                                                                   Undetermined

   60.127 PATENT 843872.1                                                                     Undetermined

   60.128 PATENT CA/3108291                                                                   Undetermined

   60.129 PATENT CA/3147648                                                                   Undetermined


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Schedule A/B: Assets — Real and Personal Property
 Part 10:     Intangibles and intellectual property - detail

   60.130 PATENT CA/3147650                                                                  Undetermined

   60.131 PATENT CA3133672                                                                   Undetermined

   60.132 PATENT D968,336                                                                    Undetermined

   60.133 PATENT EP/19752872.2                                                               Undetermined

   60.134 PATENT EP/20843361.5                                                               Undetermined

   60.135 PATENT EP/20844143.6                                                               Undetermined

   60.136 PATENT PCT/US2018/060099                                                           Undetermined

   60.137 PATENT PCT/US2019/044673                                                           Undetermined

   60.138 PATENT PCT/US2020/43078                                                            Undetermined

   60.139 PATENT PCT/US2020/43086                                                            Undetermined

   60.140 PATENT PCT/US2020/43088                                                            Undetermined

   60.141 PATENT PCT/US21/15799                                                              Undetermined

   60.142 PATENT PCT/US21/15799                                                              Undetermined

   60.143 PATENT PCT/US21/32559                                                              Undetermined

   60.144 PATENT PCT/US21/32564                                                              Undetermined

   60.145 PATENT PCT/US22/18163                                                              Undetermined

   60.146 PATENT PCT/US22/19519                                                              Undetermined

   60.147 PATENT PCT/US22/19521                                                              Undetermined

   60.148 TRADEMARK REGISTRATION NO 1516609                                                  Undetermined

   60.149 TRADEMARK REGISTRATION NO 1516643                                                  Undetermined

   60.150 TRADEMARK REGISTRATION NO 1516684                                                  Undetermined

   60.151 TRADEMARK SERIAL NO 18481356                                                       Undetermined

   60.152 TRADEMARK SERIAL NO 2014062                                                        Undetermined

   60.153 TRADEMARK SERIAL NO 2014063                                                        Undetermined

   60.154 TRADEMARK SERIAL NO 2110256                                                        Undetermined

   60.155 TRADEMARK SERIAL NO 2114725                                                        Undetermined

   60.156 TRADEMARK SERIAL NO 87831579                                                       Undetermined

   60.157 TRADEMARK SERIAL NO 87870683                                                       Undetermined

   60.158 TRADEMARK SERIAL NO 87944144                                                       Undetermined

   60.159 TRADEMARK SERIAL NO 87944148                                                       Undetermined

   60.160 TRADEMARK SERIAL NO 87944149                                                       Undetermined

   60.161 TRADEMARK SERIAL NO 87983834                                                       Undetermined

   60.162 TRADEMARK SERIAL NO 87983841                                                       Undetermined

   60.163 TRADEMARK SERIAL NO 88191911                                                       Undetermined


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Schedule A/B: Assets — Real and Personal Property
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    60.164 TRADEMARK SERIAL NO 88364418                                                          Undetermined

    60.165 TRADEMARK SERIAL NO 88364421                                                          Undetermined

    60.166 TRADEMARK SERIAL NO 88364439                                                          Undetermined

    60.167 TRADEMARK SERIAL NO 88531490                                                          Undetermined

    60.168 TRADEMARK SERIAL NO 88613142                                                          Undetermined

    60.169 TRADEMARK SERIAL NO 88698829                                                          Undetermined

    60.170 TRADEMARK SERIAL NO 88698839                                                          Undetermined

    60.171 TRADEMARK SERIAL NO 88698846                                                          Undetermined

    60.172 TRADEMARK SERIAL NO 88749316                                                          Undetermined

    60.173 TRADEMARK SERIAL NO 88803051                                                          Undetermined

    60.174 TRADEMARK SERIAL NO 90558794                                                          Undetermined

    60.175 TRADEMARK SERIAL NO 90558799                                                          Undetermined

    60.176 TRADEMARK SERIAL NO 90590659                                                          Undetermined

    60.177 TRADEMARK SERIAL NO 90590673                                                          Undetermined

    60.178 TRADEMARK SERIAL NO 90778545                                                          Undetermined

    60.179 TRADEMARK SERIAL NO 97379971                                                          Undetermined

    60.180 TRADEMARK SERIAL NO 97379997                                                          Undetermined

    60.181 TRADEMARK SERIAL NO 97440128                                                          Undetermined

    60.182 TRADEMARK SERIAL NO 97440247                                                          Undetermined

    60.183 TRADEMARK SERIAL NO UK00003648548                                                     Undetermined

61. Internet domain names and websites

    61.1   ALLIANCETECH.IO                                                      UNKNOWN          Undetermined

    61.2   ALTERNATIVEMINERS.COM                                                UNKNOWN          Undetermined

    61.3   ALTMINERSUSA.COM                                                     UNKNOWN          Undetermined

    61.4   ASICMINERREPAIR.COM                                                  UNKNOWN          Undetermined

    61.5   ASICMINERSUSA.COM                                                    UNKNOWN          Undetermined

    61.6   ASICMININGUSA.COM                                                    UNKNOWN          Undetermined

    61.7   BASE2BLOCKCHAIN.COM                                                  UNKNOWN          Undetermined

    61.8   BASE2BLOCKCHAIN.IO                                                   UNKNOWN          Undetermined

    61.9   BASE2POWER.COM                                                       UNKNOWN          Undetermined

    61.10 BASE2POWER.IO                                                         UNKNOWN          Undetermined

    61.11 BASEPOWER.IO                                                          UNKNOWN          Undetermined

    61.12 BITCOINMINERSUSA.COM                                                  UNKNOWN          Undetermined

    61.13 BITINC.IO                                                             UNKNOWN          Undetermined


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Schedule A/B: Assets — Real and Personal Property
 Part 10:     Intangibles and intellectual property - detail

   61.14 BLOCK4.IO                                                            UNKNOWN          Undetermined

   61.15 BLOCKFOUR.IO                                                         UNKNOWN          Undetermined

   61.16 BLOCKWELL.IO                                                         UNKNOWN          Undetermined

   61.17 BRIGHTROCK.IO                                                        UNKNOWN          Undetermined

   61.18 COREPOWER.IO                                                         UNKNOWN          Undetermined

   61.19 CORESCEINTFIC.BIZ                                                    UNKNOWN          Undetermined

   61.20 CORESCEINTFIC.CO                                                     UNKNOWN          Undetermined

   61.21 CORESCEINTFIC.COM                                                    UNKNOWN          Undetermined

   61.22 CORESCEINTFIC.IO                                                     UNKNOWN          Undetermined

   61.23 CORESCEINTFIC.NET                                                    UNKNOWN          Undetermined

   61.24 CORESCEINTFIC.ORG                                                    UNKNOWN          Undetermined

   61.25 CORESCEINTFIC.US                                                     UNKNOWN          Undetermined

   61.26 CORESCEINTIFC.BIZ                                                    UNKNOWN          Undetermined

   61.27 CORESCEINTIFC.CO                                                     UNKNOWN          Undetermined

   61.28 CORESCEINTIFC.COM                                                    UNKNOWN          Undetermined

   61.29 CORESCEINTIFC.IO                                                     UNKNOWN          Undetermined

   61.30 CORESCEINTIFC.NET                                                    UNKNOWN          Undetermined

   61.31 CORESCEINTIFC.ORG                                                    UNKNOWN          Undetermined

   61.32 CORESCEINTIFC.US                                                     UNKNOWN          Undetermined

   61.33 CORESCEINTIFIC.BIZ                                                   UNKNOWN          Undetermined

   61.34 CORESCEINTIFIC.CO                                                    UNKNOWN          Undetermined

   61.35 CORESCEINTIFIC.INFO                                                  UNKNOWN          Undetermined

   61.36 CORESCEINTIFIC.IO                                                    UNKNOWN          Undetermined

   61.37 CORESCEINTIFIC.NET                                                   UNKNOWN          Undetermined

   61.38 CORESCEINTIFIC.ORG                                                   UNKNOWN          Undetermined

   61.39 CORESCEINTIFIC.US                                                    UNKNOWN          Undetermined

   61.40 CORE-SCI.COM                                                         UNKNOWN          Undetermined

   61.41 CORESCI.DEV                                                          UNKNOWN          Undetermined

   61.42 CORESCI.IO                                                           UNKNOWN          Undetermined

   61.43 CORESCI.TECH                                                         UNKNOWN          Undetermined

   61.44 CORESCIENTFIC.BIZ                                                    UNKNOWN          Undetermined

   61.45 CORESCIENTFIC.CO                                                     UNKNOWN          Undetermined

   61.46 CORESCIENTFIC.COM                                                    UNKNOWN          Undetermined

   61.47 CORESCIENTFIC.IO                                                     UNKNOWN          Undetermined


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Schedule A/B: Assets — Real and Personal Property
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   61.48 CORESCIENTFIC.NET                                                    UNKNOWN          Undetermined

   61.49 CORESCIENTFIC.ORG                                                    UNKNOWN          Undetermined

   61.50 CORESCIENTFIC.US                                                     UNKNOWN          Undetermined

   61.51 CORESCIENTIFC.BIZ                                                    UNKNOWN          Undetermined

   61.52 CORESCIENTIFC.CO                                                     UNKNOWN          Undetermined

   61.53 CORESCIENTIFC.COM                                                    UNKNOWN          Undetermined

   61.54 CORESCIENTIFC.IO                                                     UNKNOWN          Undetermined

   61.55 CORESCIENTIFC.NET                                                    UNKNOWN          Undetermined

   61.56 CORESCIENTIFC.ORG                                                    UNKNOWN          Undetermined

   61.57 CORESCIENTIFC.US                                                     UNKNOWN          Undetermined

   61.58 CORESCIENTIFIC.AI                                                    UNKNOWN          Undetermined

   61.59 CORESCIENTIFIC.BIZ                                                   UNKNOWN          Undetermined

   61.60 CORE-SCIENTIFIC.CO                                                   UNKNOWN          Undetermined

   61.61 CORESCIENTIFIC.COM                                                   UNKNOWN          Undetermined

   61.62 CORE-SCIENTIFIC.INFO                                                 UNKNOWN          Undetermined

   61.63 CORESCIENTIFIC.IO                                                    UNKNOWN          Undetermined

   61.64 CORESCIENTIFIC.ONLINE                                                UNKNOWN          Undetermined

   61.65 CORESCIENTIFIC.STORE                                                 UNKNOWN          Undetermined

   61.66 CORE-SCIENTIFIC.US                                                   UNKNOWN          Undetermined

   61.67 CORESCIENTIFICBLOCKCHAIN.COM                                         UNKNOWN          Undetermined

   61.68 CORESCIENTIFICBLOCKCHAIN.NET                                         UNKNOWN          Undetermined

   61.69 CORESCIENTIFICCALVERTCITY.COM                                        UNKNOWN          Undetermined

   61.70 CORESCIENTIFICDALTON.COM                                             UNKNOWN          Undetermined

   61.71 CORESCIENTIFICMARBLE.COM                                             UNKNOWN          Undetermined

   61.72 CORESCIENTIFICMINING.COM                                             UNKNOWN          Undetermined

   61.73 CORESCIENTIFICREPAIR.COM                                             UNKNOWN          Undetermined

   61.74 CORESCIENTIFICREPAIR.IO                                              UNKNOWN          Undetermined

   61.75 CORESCIENTIFICREPAIR.NET                                             UNKNOWN          Undetermined

   61.76 CORESCIENTIFICREPAIRCENTER.COM                                       UNKNOWN          Undetermined

   61.77 CORESCIENTIFICREPAIRCENTER.IO                                        UNKNOWN          Undetermined

   61.78 CORESCIENTIFICREPAIRCENTER.NET                                       UNKNOWN          Undetermined

   61.79 CORESCIENTIFICREPAIRCENTERS.COM                                      UNKNOWN          Undetermined

   61.80 CORESCIENTIFICREPAIRCENTERS.IO                                       UNKNOWN          Undetermined

   61.81 CORESCIENTIFICREPAIRCENTERS.NET                                      UNKNOWN          Undetermined


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Schedule A/B: Assets — Real and Personal Property
 Part 10:     Intangibles and intellectual property - detail

   61.82 CORESCIENTIFICREPAIRS.COM                                            UNKNOWN          Undetermined

   61.83 CORESCIENTIFICREPAIRS.IO                                             UNKNOWN          Undetermined

   61.84 CORESCIENTIFICREPAIRS.NET                                            UNKNOWN          Undetermined

   61.85 CORESCIENTIFICRESEARCH.COM                                           UNKNOWN          Undetermined

   61.86 CORESCIENTIFICSERVICES.COM                                           UNKNOWN          Undetermined

   61.87 CORESCIENTIFICSOLUTIONS.COM                                          UNKNOWN          Undetermined

   61.88 CORESCIENTIFICTECH.COM                                               UNKNOWN          Undetermined

   61.89 CORESCIENTIFICTECH.NET                                               UNKNOWN          Undetermined

   61.90 CORESCIENTIFICUSA.COM                                                UNKNOWN          Undetermined

   61.91 CORESCIENTIFICUSA.NET                                                UNKNOWN          Undetermined

   61.92 COREUNSCIENTIFIC.COM                                                 UNKNOWN          Undetermined

   61.93 CORE-X.IO                                                            UNKNOWN          Undetermined

   61.94 CORE-X.US                                                            UNKNOWN          Undetermined

   61.95 CORSCEINTIFIC.BIZ                                                    UNKNOWN          Undetermined

   61.96 CORSCEINTIFIC.CO                                                     UNKNOWN          Undetermined

   61.97 CORSCEINTIFIC.COM                                                    UNKNOWN          Undetermined

   61.98 CORSCEINTIFIC.IO                                                     UNKNOWN          Undetermined

   61.99 CORSCEINTIFIC.NET                                                    UNKNOWN          Undetermined

   61.100 CORSCEINTIFIC.ORG                                                   UNKNOWN          Undetermined

   61.101 CORSCEINTIFIC.US                                                    UNKNOWN          Undetermined

   61.102 CORSCIENTIFIC.BIZ                                                   UNKNOWN          Undetermined

   61.103 CORSCIENTIFIC.CO                                                    UNKNOWN          Undetermined

   61.104 CORSCIENTIFIC.COM                                                   UNKNOWN          Undetermined

   61.105 CORSCIENTIFIC.IO                                                    UNKNOWN          Undetermined

   61.106 CORSCIENTIFIC.NET                                                   UNKNOWN          Undetermined

   61.107 CORSCIENTIFIC.ORG                                                   UNKNOWN          Undetermined

   61.108 CORSCIENTIFIC.US                                                    UNKNOWN          Undetermined

   61.109 CSGLOBAL.IO                                                         UNKNOWN          Undetermined

   61.110 DASHMINERS.COM                                                      UNKNOWN          Undetermined

   61.111 FIXMYMINER.COM                                                      UNKNOWN          Undetermined

   61.112 FLUXHOST.COM                                                        UNKNOWN          Undetermined

   61.113 FLUXHOST.IO                                                         UNKNOWN          Undetermined

   61.114 FLUXPOOL.IO                                                         UNKNOWN          Undetermined

   61.115 FLUXPOOLS.COM                                                       UNKNOWN          Undetermined


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Core Scientific Operating Company                                                         Case Number:    22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 10:        Intangibles and intellectual property - detail

    61.116 FLUXPOOLS.IO                                                                 UNKNOWN          Undetermined

    61.117 GFDS.IO                                                                      UNKNOWN          Undetermined

    61.118 GPUMINERREPAIR.COM                                                           UNKNOWN          Undetermined

    61.119 HASHBLADE.IO                                                                 UNKNOWN          Undetermined

    61.120 INTELLIWATT.IO                                                               UNKNOWN          Undetermined

    61.121 JHGF.IO                                                                      UNKNOWN          Undetermined

    61.122 LKJH.IO                                                                      UNKNOWN          Undetermined

    61.123 MINDCO.IO                                                                    UNKNOWN          Undetermined

    61.124 MINDER.IO                                                                    UNKNOWN          Undetermined

    61.125 MINECO.IO                                                                    UNKNOWN          Undetermined

    61.126 MINECO.STORE                                                                 UNKNOWN          Undetermined

    61.127 MINETHEWORLD.IO                                                              UNKNOWN          Undetermined

    61.128 POIU.IO                                                                      UNKNOWN          Undetermined

    61.129 PURETECHNOLOGIES.IO                                                          UNKNOWN          Undetermined

    61.130 REPAIRMINER.COM                                                              UNKNOWN          Undetermined

    61.131 SCIENTIFIC.IO                                                                UNKNOWN          Undetermined

    61.132 TREW.IO                                                                      UNKNOWN          Undetermined

    61.133 VIRTUALCURRENCYMINERS.COM                                                    UNKNOWN          Undetermined

    61.134 WATTCORE.IO                                                                  UNKNOWN          Undetermined

    61.135 WATTSTREAM.IO                                                                UNKNOWN          Undetermined

    61.136 WATTTOWER.IO                                                                 UNKNOWN          Undetermined

    61.137 XN--48SRPX05E28Y.CN                                                          UNKNOWN          Undetermined

    61.138 XN--48SRPX05E28Y.COM                                                         UNKNOWN          Undetermined

62. Licenses, franchises, and royalties

    62.1

63. Customer lists, mailing lists, or other compilations

    63.1

64. Other intangibles, or intellectual property

    64.1

65. Goodwill

    65.1




                                                       Page 10 of 11 to Exhibit AB-10
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Core Scientific Operating Company                                                                      Case Number:              22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 10:        Intangibles and intellectual property - detail


66. Total of Part 10                                                                                                         Undetermined
    Add lines 60 through 65. Copy the total to line 89.


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?

           No
           Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

           No
           Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

           No
           Yes




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Core Scientific Operating Company                                                                       Case Number:             22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 11:          All other assets
70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes. Fill in the information below.


 General description                                                                                                   Current value of
                                                                                                                       debtor’s interest




71. Notes receivable
      Description (include name of obligor)

    71.1




72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)

    72.1   $137.9 million of cumulative Federal NOLs through 12/31/2021                                                      Undetermined




    72.2   Sales tax contingency assets                                                                                      Undetermined




73. Interests in insurance policies or annuities

    73.1




74. Causes of action against third parties (whether or not a lawsuit has been filed)

    74.1   CES Corporation: Undetermined disputes, including potential claims for breach of contract, among other            Undetermined
           causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

    74.2   GRYPHON DIGITAL MINING, INC.: Undetermined disputes, including potential claims for breach of                     Undetermined
           contract, among other causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

    74.3   Maddox Industrial Transformer LLC: Undetermined disputes, including potential claims for breach of                Undetermined
           contract, among other causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available




                                                         Page 1 of 3 to Schedule A/B Part 11
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Core Scientific Operating Company                                                                        Case Number:             22-90343

Schedule A/B: Assets — Real and Personal Property
  Part 11:         All other assets

 General description                                                                                                    Current value of
                                                                                                                        debtor’s interest




74. Causes of action against third parties (whether or not a lawsuit has been filed)

    74.4   Priority Power Management, LLC: Undetermined disputes, including potential claims for breach of contract,          Undetermined
           among other causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

    74.5   Shell Energy Solutions: Undetermined disputes, including potential claims for breach of contract, among            Undetermined
           other causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set
    off claims

    75.1




76. Trusts, equitable or future interests in property

    76.1




77. Other property of any kind not already listed Examples: Season tickets, country club membership
       Examples: Season tickets, country club membership

    77.1   Contract Asset - Long Term                                                                                         Undetermined




    77.2   Digital Asset Receivable                                                                                              $735,802




    77.3   Long Term Vendor Contract Asset                                                                                    Undetermined




    77.4   Operating Lease ROU Asset                                                                                          Undetermined




    77.5   Other Receivables                                                                                                     $163,476




                                                           Page 2 of 3 to Schedule A/B Part 11
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Core Scientific Operating Company                                                                      Case Number:   22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 11:        All other assets

78. Total of Part 11
                                                                                                                      $899,278
     Add lines 71 through 77. Copy the total to line
     90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

           No
           Yes




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Core Scientific Operating Company                                                                              Case Number:             22-90343

Schedule A/B: Assets — Real and Personal Property
   Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form.

  Type of property                                                                  Current value of          Current value of   Total of all property
                                                                                    personal property          real property


80.    Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                $4,368,726

81.    Deposits and prepayments. Copy line 9, Part 2.                                   $61,706,062

82.    Accounts receivable. Copy line 12, Part 3.                                          $234,179

83.    Investments. Copy line 17, Part 4.                                                  $651,064

84.    Inventory. Copy line 23, Part 5.                                                           $0

85.    Farming and fishing-related assets. Copy line 33, Part 6.                                  $0

86.    Office furniture, fixtures, and equipment; and collectibles. Copy                   $923,540
       line 43, Part 7.

87.    Machinery, equipment, and vehicles. Copy line 51, Part 8.                       $839,147,819

88.    Real property. Copy line 56, Part 9.                                                                      $241,691,855

89.    Intangibles and intellectual property. Copy line 66, Part 10.                              $0

90.    All other assets. Copy line 78, Part 11.                                            $899,278



91.    Total. Add lines 80 through 90 for each column.                                 $907,930,669              $241,691,855
                                                                               a.                       b..



92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                                    $1,149,622,525




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Core Scientific Operating Company                                                                                                                                Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

1.    Do any creditors have claims secured by debtor’s property?
             No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.


      Part 1:       List Creditors Who Have Secured Claims
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                   Co-      Insider     Co-      Date Claim was Incurred, Property Description,          C U     D    Amount of Claim   Value of Collateral
 Address & An Account Number                                 Interest              Debtor    Lien & Co-Interest Creditor

Convertible Notes

2.1     U.S. BANK NATIONAL ASSOCIATION, AS NOTE                                             DATE: 8/20/2021                                                         $322,918,757
        AGENT
        WEST SIDE FLATS, 60 LIVINGSTONE AVENUE                                              PROPERTY DESCRIPTION: 10% CONVERTIBLE
        EP-MN-WS3C                                                                          NOTE DUE APR 1, 2025
        ATTN: JOSHUA HAHN
        ST. PAUL, MN 55107




2.2     U.S. BANK NATIONAL ASSOCIATION, AS NOTE                                             DATE: 4/19/2021                                                         $237,969,176
        AGENT
        WEST SIDE FLATS, 60 LIVINGSTONE AVENUE                                              PROPERTY DESCRIPTION: 10% CONVERTIBLE
        EP-MN-WS3C                                                                          NOTE DUE APR 19, 2025
        ATTN: JOSHUA HAHN
        ST. PAUL, MN 55107




                                                                                                                               Convertible Notes Total:             $560,887,934




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Leases

2.3   36TH STREET CAPITAL #2                                                DATE: 12/1/2019                                                     $37,883
      15 MAPLE AVENUE
      MORRISTOWN, NJ 07960                                                  PROPERTY DESCRIPTION: 13.4% EQUIPMENT
                                                                            LEASE DUE DEC 1, 2022




2.4   36TH STREET CAPITAL #4                                                DATE: 12/1/2019                                                     $25,086
      15 MAPLE AVENUE
      MORRISTOWN, NJ 07960                                                  PROPERTY DESCRIPTION: 13.4% EQUIPMENT
                                                                            LEASE DUE DEC 1, 2022




2.9   FIDELITY CAPITAL PARTNERS LLC                                         DATE: 5/1/2021                                                      $78,540
      19600 FAIRCHILD RD
      SUITE 120                                                             PROPERTY DESCRIPTION: 13.2699% EQUIPMENT
      IRVINE, CA 92612                                                      LEASE DUE OCT 1, 2023




2.28 MARCO TECHNOLOGIES LLC                                                 DATE: 9/1/2021                                                      $13,818
     PO BOX 660831
     DALLAS, TX 75266-0831                                                  PROPERTY DESCRIPTION: 5.3954% EQUIPMENT
                                                                            LEASE DUE AUG 1, 2026




2.29 MASS MUTUAL SCH.1-5                                                    DATE: 12/1/2021                                                 $41,667,320
     2 HAMPSHIRE STREET
     SUITE 101                                                              PROPERTY DESCRIPTION: 13% EQUIPMENT
     FOXBOROUGH, MA 02035                                                   LEASE DUE DEC 1, 2024




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Leases

2.30 MERIDIAN EQUIPMENT FINANCE, LLC                                        DATE: 6/1/2021                                                      $96,018
     9 OLD LINCOLN HIGHWAY
     MALVERN, PA 19355                                                      PROPERTY DESCRIPTION: 9.33% EQUIPMENT
                                                                            LEASE DUE APR 1, 2025




2.31 TECHNOLOGY FINANCE CORPORATION - 2540-                                 DATE: 10/1/2021                                                    $335,626
     05
     7077 E MARILYN ROAD BLDG 3, SUITE 125                                  PROPERTY DESCRIPTION: 7.05% EQUIPMENT
     SCOTTSDALE, AZ 85254                                                   LEASE DUE OCT 1, 2024




2.32 TECHNOLOGY FINANCE CORPORATION 2540-                                   DATE: 5/1/2021                                                           $0
     06
     7077 E MARILYN ROAD BLDG 3, SUITE 125                                  PROPERTY DESCRIPTION: 7.4693% EQUIPMENT
     SCOTTSDALE, AZ 85254                                                   LEASE DUE APR 1, 2024




2.33 TOYOTA COMMERCIAL FINANCE SCHEDULES                                    DATE: 1/1/2020                                                     $229,966
     1-9
     PO BOX 660926                                                          PROPERTY DESCRIPTION: 5.25% EQUIPMENT
     DALLAS, TX 75266-0926                                                  LEASE DUE JUN 1, 2025




2.34 VFS, LLC #2                                                            DATE: 6/1/2021                                                     $260,883
     5480 CORPORATE DRIVE
     TROY, MI 48098                                                         PROPERTY DESCRIPTION: 7.7% EQUIPMENT
                                                                            LEASE DUE APR 1, 2024




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Core Scientific Operating Company                                                                                                        Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U    D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Leases

2.35 VFS, LLC #3                                                            DATE: 11/1/2021                                                     $632,049
     5480 CORPORATE DRIVE
     TROY, MI 48098                                                         PROPERTY DESCRIPTION: 7.7% EQUIPMENT
                                                                            LEASE DUE OCT 1, 2024




                                                                                                           Equipment Leases Total:           $43,377,190




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.44 BANK OF THE WEST                                                       DATE: 3/1/2021                                                      $45,873
     1625 W FOUNTAINHEAD PARKWAY
     TEMPE, AZ 85282                                                        PROPERTY DESCRIPTION: 10.69% EQUIPMENT
                                                                            FINANCING DUE JAN 1, 2024




2.47 BREMER LOAN A                                                          DATE: 10/1/2021                                                  $5,999,493
     372 ST PETER STREET
     ST PAUL, MN 55102                                                      PROPERTY DESCRIPTION: 5.5% EQUIPMENT
                                                                            FINANCING DUE APR 1, 2027




2.48 BREMER LOAN B                                                          DATE: 10/1/2021                                                  $4,933,256
     372 ST PETER STREET
     ST PAUL, MN 55102                                                      PROPERTY DESCRIPTION: 5.5% EQUIPMENT
                                                                            FINANCING DUE APR 1, 2027




2.49 BREMER LOAN C                                                          DATE: 12/1/2021                                                  $7,398,483
     372 ST PETER STREET
     ST PAUL, MN 55102                                                      PROPERTY DESCRIPTION: 5.5% EQUIPMENT
                                                                            FINANCING DUE JUN 1, 2027




2.50 DELL FINANCIAL SERVICES LLC                                            DATE: 3/1/2021                                                     $162,158
     PO BOX 6547
     CAROL STREAM, IL 60197-6547                                            PROPERTY DESCRIPTION: 8.34% EQUIPMENT
                                                                            FINANCING DUE MAR 1, 2026




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.50 DELL FINANCIAL SERVICES LLC                                            DATE: 3/1/2021                                                     $162,158
     PO BOX 6547
     CAROL STREAM, IL 60197-6547                                            PROPERTY DESCRIPTION: 8.34% EQUIPMENT
                                                                            FINANCING DUE MAR 1, 2026




2.51 NOVAK                                                                  DATE: 1/1/2021                                                  $10,000,000
     3301 BEVERLY DRIVE
     DALLAS, TX 75205                                                       PROPERTY DESCRIPTION: 10% EQUIPMENT
                                                                            FINANCING DUE JAN 1, 2023




2.52 TRINITY LOAN SCH. 1                                                    DATE: 9/1/2021                                                     $673,896
     1 N 1ST STREET SUITE 302
     PHOENIX, AZ 85004                                                      PROPERTY DESCRIPTION: 10.325% EQUIPMENT
                                                                            FINANCING DUE SEP 1, 2024




2.53 TRINITY LOAN SCH. 2                                                    DATE: 11/15/2021                                                $10,170,436
     1 N 1ST STREET SUITE 302
     PHOENIX, AZ 85004                                                      PROPERTY DESCRIPTION: 10.325% EQUIPMENT
                                                                            FINANCING DUE NOV 15, 2024




2.54 TRINITY LOAN SCH. 3                                                    DATE: 12/15/2021                                                 $3,762,029
     1 N 1ST STREET SUITE 302
     PHOENIX, AZ 85004                                                      PROPERTY DESCRIPTION: 10.325% EQUIPMENT
                                                                            FINANCING DUE DEC 15, 2024




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Core Scientific Operating Company                                                                                                         Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U     D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.55 TRINITY LOAN SCH. 4                                                    DATE: 2/1/2022                                                     $8,036,361
     1 N 1ST STREET SUITE 302
     PHOENIX, AZ 85004                                                      PROPERTY DESCRIPTION: 10.325% EQUIPMENT
                                                                            FINANCING DUE FEB 1, 2025




2.56 VFS, LLC #4                                                            DATE: 1/1/2022                                                       $614,783
     5480 CORPORATE DRIVE
     TROY, MI 48098                                                         PROPERTY DESCRIPTION: 7.7% EQUIPMENT
                                                                            FINANCING DUE JAN 1, 2025




2.57 VFS, LLC #5                                                            DATE: 5/1/2022                                                       $691,620
     5480 CORPORATE DRIVE
     TROY, MI 48098                                                         PROPERTY DESCRIPTION: 7.7% EQUIPMENT
                                                                            FINANCING DUE APR 30, 2025




                                                                                                        Equipment Financings Total:           $52,696,417




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.59 ABLE COMMUNICATIONS, INC                                               LIEN DESCRIPTION: MECHANICS LIEN
     1413 EAST AVENUE H
     GRAND PRAIRIE, TX 75050




2.65 BANK OF THE WEST                                                       LIEN DESCRIPTION: UCC LIEN - OTHER
     1625 W. FOUNTAINHEAD PKWY
     AZ-FTN-10C-A
     TEMPE, AZ 85282




2.67 BEAM CONCRETE CONSTRUCTION, INC.                                       LIEN DESCRIPTION: MECHANICS LIEN
     640 CENTRAL EXPRESSWAY
     MELISSA, TX 75454




2.72 COMNET COMMUNICATIONS LLC                                              LIEN DESCRIPTION: MECHANICS LIEN
     1420 LAKESIDE PARKWAY
     STE 110
     FLOWER MOUND, TX 75028




2.75 CONDAIR INC.                                                           LIEN DESCRIPTION: MECHANICS LIEN
     835 COMMERCE PARK DR.
     OGDENSBURG, NY 13669




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.77 CONTECH, INC.                                                          LIEN DESCRIPTION: MECHANICS LIEN
     P.O. BOX 982
     CLAREMORE, OK 74018




2.81 COONROD ELECTRIC CO., LLC                                              LIEN DESCRIPTION: MECHANICS LIEN
     213 N RACHAL AVENUE
     SINTON, TX 78387




2.85 DELL FINANCIAL SERVICES L.L.C.                                         LIEN DESCRIPTION: UCC LIEN - OTHER
     MAIL STOP-PS2DF-23, ONE DELL WAY
     ROUND ROCK, TX 78682




2.85 DELL FINANCIAL SERVICES L.L.C.                                         LIEN DESCRIPTION: UCC LIEN - OTHER
     MAIL STOP-PS2DF-23, ONE DELL WAY
     ROUND ROCK, TX 78682




2.87 GARIC, INC.                                                            LIEN DESCRIPTION: UCC LIEN - OTHER
     68 35TH STREET
     SUITE C653
     BROOKLYN, NY 11232




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.86 GARIC INC.                                                             LIEN DESCRIPTION: UCC LIEN - OTHER
     26 BROADWAY
     SUITE 961
     NEW YORK, NY 10004




2.89 GAYLOR ELECTRIC, INC. DBA GAYLOR, INC.                                 LIEN DESCRIPTION: MECHANICS LIEN
     5750 CASTLE CREEK PARKWAY
     INDIANAPOLIS, IN 46250




2.92 GRAYBAR ELECTRIC COMPANY, INC.                                         LIEN DESCRIPTION: MECHANICS LIEN
     4601 CAMBRIDGE RD.
     FORT WORTH, TX 76155




2.94 HARPER CONSTRUCTION COMPANY, INC.                                      LIEN DESCRIPTION: MECHANICS LIEN
     2241 KETTNER BLVD.
     SUITE 300
     SAN DIEGO, CA 92101




2.96 HOUSLEY COMMUNICATIONS                                                 LIEN DESCRIPTION: MECHANICS LIEN
     3550 S. BRYANT BLVD.
     SAN ANGELO, TX 76903




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.100 HUBAND-MANTOR CONSTRUCTION                                            LIEN DESCRIPTION: MECHANICS LIEN
      43000 IH-10 WEST
      BOERNE, TX 78006




2.102 HUMPHREY & ASSOCIATES, INC.                                           LIEN DESCRIPTION: MECHANICS LIEN
      1501 LUNA ROAD
      CARROLLTON, TX 75006




2.104 IMPERIAL FIRE PROTECTION, LLC                                         LIEN DESCRIPTION: MECHANICS LIEN
      116 CALVERLEY PL
      KELLER, TX 76248




2.107 J.W. DIDADO                                                           LIEN DESCRIPTION: MECHANICS LIEN
      1033 KELLY AVENUE
      AKRON, OH 44306




2.108 MADDOX INDUSTRIAL TRANSFORMER LLC                                     LIEN DESCRIPTION: MECHANICS LIEN
      ATTN: ACCOUNTS PAYABLE
      865 VICTOR HILL ROAD
      GREER, SC 29651




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.112 MCCARTHY BUILDING COMPANIES, INC.                                     LIEN DESCRIPTION: MECHANICS LIEN
      12001 NORTH CENTRAL EXPRESSWAY
      SUITE 400
      DALLAS, TX 75423




2.114 MCCORVEY SHEET METAL WORKS, LP                                        LIEN DESCRIPTION: MECHANICS LIEN
      8610 WALLISVILLE RD.
      HOUSTON, TX 77029




2.116 MK MARLOW COMPANY, LLC                                                LIEN DESCRIPTION: MECHANICS LIEN
      16116 COLLEGE OAK
      SAN ANTONIO, TX 78249




2.118 MORSCO SUPPLY LLC DBA MORRISON                                        LIEN DESCRIPTION: MECHANICS LIEN
      SUPPLY COMPANY
      15850 DALLAS PARKWAY
      DALLAS, TX 75248




2.122 PILLAR ELECTRIC GROUP, LP                                             LIEN DESCRIPTION: MECHANICS LIEN
      2703 TELECOM PARKWAY
      SUITE 120
      RICHARDSON, TX 75082




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Core Scientific Operating Company                                                                                                       Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.124 POWER ENGINEERING SERVICES, INC.                                      LIEN DESCRIPTION: MECHANICS LIEN
      9179 SHADOW CREEK LN.
      CONVERSE, TX 78109




2.128 PRIORITY POWER MANAGEMENT, LLC                                        LIEN DESCRIPTION: MECHANICS LIEN
      2201 E. LAMAR BLVD.
      SUITE 275
      ARLINGTON, TX 76006




2.134 SUMMIT ELECTRIC SUPPLY CO.                                            LIEN DESCRIPTION: MECHANICS LIEN
      2900 STANFORD NE
      ALBUQUERQUE, NM 87107




2.136 SURE STEEL – TEXAS, L.P.                                              LIEN DESCRIPTION: MECHANICS LIEN
      7528 CORNIA DR.
      SOUTH WEBER, UT 84405




2.137 T&D MORAVITS & CO., LLC                                               LIEN DESCRIPTION: MECHANICS LIEN
      10511 SHAENFIELD RD.
      SAN ANTONIO, TX 78254




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Core Scientific Operating Company                                                                                                         Case Number:            22-90343

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U     D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

UCC Liens

2.141 TRILOGY                                                               LIEN DESCRIPTION: MECHANICS LIEN
      6255 SADDLE TREE DR
      LAS VEGAS, NV 89118




2.148 WAY MECHANICAL                                                        LIEN DESCRIPTION: MECHANICS LIEN
      8610 WALLISVILLE RD.
      HOUSTON, TX 77029




2.149 WESSELY-THOMPSON HARDWARE, INC.                                       LIEN DESCRIPTION: MECHANICS LIEN
      102 INTERLOOP
      SAN ANTONIO, TX 78216




                                                                                                                   UCC Liens Total:




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Core Scientific Operating Company                                                                               Case Number:      22-90343

Schedule D: Creditors Who Have Claims Secured by Property

                                                                                                                Amount of Claim


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.      $656,961,541




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Core Scientific Operating Company                                                                     Case Number:                22-90343

Schedule D: Creditors Who Have Claims Secured by Property
  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 Name and Mailing Address                                               Part 1 Line on which the Related         Last 4 Digits of Account
                                                                               Creditor was Listed                Number for this Entity


NONE




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Core Scientific Operating Company                                                                          Case Number:                22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
     Part 1:        List All Creditors with PRIORITY Unsecured Claims

1.   Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.
             Yes. Go to line 2.
2.   List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
     has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address Including         Date Claim Was Incurred And       C U     D      Offset      Total Claim      Priority Amount
 Zip Code                                                 Account Number



2.    NONE


                                                                                                  Total:       UNDETERMINED UNDETERMINED




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Core Scientific Operating Company                                                     Case Number:       22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:       List All Creditors with PRIORITY Unsecured Claims

   Total: All Creditors with PRIORITY Unsecured Claims                                   UNDETERMINED UNDETERMINED




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Core Scientific Operating Company                                                                        Case Number:                   22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
      nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


 Creditor's Name, Mailing Address                Date Claim Was Incurred And        C U      D     Basis For       Offset      Amount of Claim
 Including Zip Code                                    Account Number                                Claim

Trade Payables

3.2     837JUNK.COM                                       UNKNOWN                                Trade Payable                   UNDETERMINED
        PO BOX 1029
        MURPHY, NC 28906                       ACCOUNT NO.: NOT AVAILABLE


3.3     AAF INTERNATIONAL                                 UNKNOWN                                Trade Payable                           $266,468
        24828 NETWORK PLACE
        CHICAGO, IL 60673                      ACCOUNT NO.: NOT AVAILABLE


3.4     ACME TOOLS                                        UNKNOWN                                Trade Payable                   UNDETERMINED
        PO BOX 13720
        GRAND FORKS, ND 58208-3720             ACCOUNT NO.: NOT AVAILABLE


3.5     ALPHA WASTE DISPOSAL INC                          UNKNOWN                                Trade Payable                               $56
        PO BOX 313
        ROCKY FACE, GA 30740                   ACCOUNT NO.: NOT AVAILABLE


3.6     ALTRU HEALTH SYSTEM                               UNKNOWN                                Trade Payable                              $195
        PO BOX 13780
        GRAND FORKS, ND 58208-3780             ACCOUNT NO.: NOT AVAILABLE


3.7     AMAZON BUSINESS                                   UNKNOWN                                Trade Payable                             $6,950
        PO BOX 84023
        SEATTLE                                ACCOUNT NO.: NOT AVAILABLE
        WA, 98124


3.8     AMAZON WEB SERVICES INC                           UNKNOWN                                Trade Payable                            $58,833
        PO BOX 84023
        SEATTLE, WA 98124                      ACCOUNT NO.: NOT AVAILABLE


3.9     AMERICAN PAPER AND TWINE CO                       UNKNOWN                                Trade Payable                   UNDETERMINED
        7400 COCKRILL BEND BOULEVARD
        PO BOX 90348                           ACCOUNT NO.: NOT AVAILABLE
        NASHVILLE, TN 37209


3.10 AMERICAN SECURITY AND                                UNKNOWN                                Trade Payable                             $8,071
     PROTECTION SERVICE LLC
     375 LITTLE RANGER RD                      ACCOUNT NO.: NOT AVAILABLE
     MURPHY, NC 28906


3.11 APEX LOGISTICS INTERNATIONAL                         UNKNOWN                                Trade Payable                            $12,010
     INC.
     18554 SOUTH SUSANNA ROAD                  ACCOUNT NO.: NOT AVAILABLE
     RANCHO DOMINGUEZ, CA 90221




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Core Scientific Operating Company                                                           Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                         Account Number                               Claim

Trade Payables

3.12 AT&T                                    UNKNOWN                                Trade Payable                     $1,139
     1025 LENOX PARK BLVD NE
     ATLANTA, GA 30319              ACCOUNT NO.: NOT AVAILABLE


3.13 AUSTIN PROFESSIONAL                     UNKNOWN                                Trade Payable                       $261
     CLEANING SERVICES, LLC
     9300 JOLLYVILLE ROAD           ACCOUNT NO.: NOT AVAILABLE
     SUITE 106
     AUSTIN, TX 78759


3.14 AVERITT EXPRESS INC                     UNKNOWN                                Trade Payable                    $10,462
     PO BOX 102197
     ATLANTA, GA 30368-2197         ACCOUNT NO.: NOT AVAILABLE


3.15 BALSAMWEST                              UNKNOWN                                Trade Payable                     $4,679
     PO BOX 625
     SYLVA, NC 28779                ACCOUNT NO.: NOT AVAILABLE


3.16 BEARDEN INDUSTRIAL SUPPLY               UNKNOWN                                Trade Payable                       $354
     PO BOX 3188
     DALTON, GA 30719               ACCOUNT NO.: NOT AVAILABLE


3.17 BERGSTROM ELECTRIC                      UNKNOWN                                Trade Payable                    $89,929
     3100 NORTH WASHINGTON
     STREET                         ACCOUNT NO.: NOT AVAILABLE
     PO BOX 13152
     GRAND FORKS, ND 58208


3.18 BITWAVE                                 UNKNOWN                                Trade Payable                     $3,500
     60 RUSSELL ST
     SAN FRANCISCO, CA 94109        ACCOUNT NO.: NOT AVAILABLE


3.19 C.H. ROBINSON COMPANY, INC.             UNKNOWN                                Trade Payable                       $398
     14701 CHARLSON ROAD
     EDEN PRARIE, MN 55347          ACCOUNT NO.: NOT AVAILABLE


3.20 CALLAHAN MECHANICAL                     UNKNOWN                                Trade Payable             UNDETERMINED
     CONTRACTORS INC
     2811 8TH AVENUE                ACCOUNT NO.: NOT AVAILABLE
     CHATTANOOGA, TN 37407


3.21 CALVERT CITY MUNICIPAL WATER            UNKNOWN                                Trade Payable                       $580
     AND SEWER
     PO BOX 36                      ACCOUNT NO.: NOT AVAILABLE
     CALVERT CITY, KY 42029




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Core Scientific Operating Company                                                          Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.22 CAREY OLSEN CAYMAN LIMITED             UNKNOWN                                Trade Payable                    $32,638
     WILLOW HOUSE
     CRICKET SQUARE                ACCOUNT NO.: NOT AVAILABLE
     GRAND CAYMAN, CAYMAN
     ISLANDS KY1-1001


3.23 CAROLINA RECYCLING &                   UNKNOWN                                Trade Payable             UNDETERMINED
     CONSULTING LLC
     PO BOX 1461                   ACCOUNT NO.: NOT AVAILABLE
     MATTHEWS, NC 28106


3.24 CARPET CAPITAL FIRE                    UNKNOWN                                Trade Payable                       $200
     PROTECTION INC
     PO BOX 3325                   ACCOUNT NO.: NOT AVAILABLE
     DALTON, GA 30720


3.25 CARPET CAPITAL MULTI-SYSTEM            UNKNOWN                                Trade Payable                       $395
     INC
     464 CALLAHAN RD SOUTH EAST    ACCOUNT NO.: NOT AVAILABLE
     DALTON, GA 30721


3.26 CES CORPORATION                        UNKNOWN                                Trade Payable             UNDETERMINED
     28029-108 AVENUE
     ACHESON, AB T7Z 6P7           ACCOUNT NO.: NOT AVAILABLE


3.27 CHARTER COMMUNICATIONS                 UNKNOWN                                Trade Payable                       $340
     PO BOX 94188
     PALATINE, IL 60094-4188       ACCOUNT NO.: NOT AVAILABLE


3.28 CLOUDFLARE INC                         UNKNOWN                                Trade Payable                     $3,552
     101 TOWNSEND STREET
     SAN FRANCISCO, CA 95054       ACCOUNT NO.: NOT AVAILABLE


3.29 COLLIER ELECTRICAL SERVICE             UNKNOWN                                Trade Payable             UNDETERMINED
     INC
     PO BOX 499                    ACCOUNT NO.: NOT AVAILABLE
     CALVERT CITY, KY 42029


3.30 COLO PROPERTIES ATLANTA LLC            UNKNOWN                                Trade Payable                       $118
     PO BOX 419729
     BOSTON, MA 02241-9729         ACCOUNT NO.: NOT AVAILABLE


3.31 COMMERCIAL PLUMBERS SUPPLY             UNKNOWN                                Trade Payable                       $203
     5228 GILBERTSVILLE ROAD
     P.O. BOX 157                  ACCOUNT NO.: NOT AVAILABLE
     CALVERT CITY, KY 42029




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Core Scientific Operating Company                                                             Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                               Claim

Trade Payables

3.32 CONSILIO LLC                              UNKNOWN                                Trade Payable                     $4,922
     1828 L STREET NW
     SUITE 1070                       ACCOUNT NO.: NOT AVAILABLE
     WASHINGTON, DC 20036


3.33 CONSTELLATION NEW ENERGY,                 UNKNOWN                                Trade Payable                  $3,379,867
     INC
     1310 POINT STREET                ACCOUNT NO.: NOT AVAILABLE
     8TH FLOOR
     BALTIMORE, MD 21231


3.34 CONVERGINT TECHNOLOGIES LLC               UNKNOWN                                Trade Payable                   $278,678
     35257 EAGLE WAY
     CHICAGO, IL 60678-1352           ACCOUNT NO.: NOT AVAILABLE


3.35 COOLEY LLP                                UNKNOWN                                Trade Payable                  $2,858,242
     3 EMBARCADERO CENTER, 20TH
     FLOOR                            ACCOUNT NO.: NOT AVAILABLE
     SAN FRANCISCO, CA 94111-4004


3.36 COUNTRYWIDE SANITATION CO                 UNKNOWN                                Trade Payable                       $577
     PO BOX 5551
     GRAND FORKS, ND 58206-5551       ACCOUNT NO.: NOT AVAILABLE


3.37 DAKOTA CARRIER NETWORK                    UNKNOWN                                Trade Payable                     $1,620
     PO BOX 2484
     FARGO, ND 58108-2484             ACCOUNT NO.: NOT AVAILABLE


3.38 DALTON UTILITIES                          UNKNOWN                                Trade Payable                  $9,006,628
     PO BOX 869
     DALTON, GA 30722-0869            ACCOUNT NO.: NOT AVAILABLE


3.39 DATA SALES CO INC                         UNKNOWN                                Trade Payable                     $3,064
     3450 W BURNSVILLE PARKWAY
     BURNSVILLE, MN 55337             ACCOUNT NO.: NOT AVAILABLE


3.40 DATASITE LLC                              UNKNOWN                                Trade Payable                     $3,047
     PO BOX 74007252
     CHICAGO, IL 60677252             ACCOUNT NO.: NOT AVAILABLE


3.41 DELCOM, INC.                              UNKNOWN                                Trade Payable                    $81,630
     P.O. BOX 67
     DELL CITY, TX 79837              ACCOUNT NO.: NOT AVAILABLE


3.42 DIALOG TELECOMMUNICATIONS                 UNKNOWN                                Trade Payable                       $400
     5550 77 CENTER DRIVE SUITE 220
     CHARLOTTE, NC 28217-0738         ACCOUNT NO.: NOT AVAILABLE



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Core Scientific Operating Company                                                          Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.43 DK CONSTRUCTION COMPANY                UNKNOWN                                Trade Payable             UNDETERMINED
     PO BOX 388
     CALVERT CITY, KY 42029-0388   ACCOUNT NO.: NOT AVAILABLE


3.44 DOCKERY AUTO PARTS                     UNKNOWN                                Trade Payable                       $758
     PO BOX 1188, 85 MAIN ST
     ANDREWS, NC 28901             ACCOUNT NO.: NOT AVAILABLE


3.45 DONNELLEY FINANCIAL                    UNKNOWN                                Trade Payable                     $4,894
     SOLUTIONS
     PO BOX 842282                 ACCOUNT NO.: NOT AVAILABLE
     BOSTON, MA 02284-2282


3.46 EAGLE PROMOTIONS                       UNKNOWN                                Trade Payable                       $295
     4575 W POST ROAD
     LAS VEGAS, NV 89118           ACCOUNT NO.: NOT AVAILABLE


3.47 EPB OF CHATTANOOGA                     UNKNOWN                                Trade Payable                        $92
     10 WEST M.L. KING BLVD
     CHATTANOOGA, TN 37402         ACCOUNT NO.: NOT AVAILABLE


3.48 EQUINIX INC                            UNKNOWN                                Trade Payable             UNDETERMINED
     ONE LAGOON DRIVE
     REDWOOD CITY, CA 94065        ACCOUNT NO.: NOT AVAILABLE


3.49 EQUIPMENT DEPOT OF KENTUCKY            UNKNOWN                                Trade Payable             UNDETERMINED
     INC
     922 E DIVISION ST             ACCOUNT NO.: NOT AVAILABLE
     EVANSVILLE, IN 47711-5667


3.50 EVOTEK                                 UNKNOWN                                Trade Payable                     $7,969
     6150 LUSK BLVD, SUITE B204
     SAN DIEGO, CA 92121           ACCOUNT NO.: NOT AVAILABLE


3.51 FEDEX                                  UNKNOWN                                Trade Payable                       $797
     PO BOX 94515
     PALATINE, IL 60094-45151      ACCOUNT NO.: NOT AVAILABLE


3.52 FELKER CONSTRUCTION                    UNKNOWN                                Trade Payable             UNDETERMINED
     COMPANY INC
     PO BOX 1647                   ACCOUNT NO.: NOT AVAILABLE
     DALTON, GA 30722


3.53 FINANCIAL ACCOUNTING                   UNKNOWN                                Trade Payable                         $9
     STANDARDS
     BOARD/GOVERNMENTAL            ACCOUNT NO.: NOT AVAILABLE
     ACCOUNTING STANDARDS BOARD
     PO BOX 418272
     BOSTON, MA 02241-8272

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Core Scientific Operating Company                                                           Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                         Account Number                               Claim

Trade Payables

3.54 FLOWTX                                  UNKNOWN                                Trade Payable             UNDETERMINED
     PO BOX 90504
     SAN ANTONIO, TX 78209          ACCOUNT NO.: NOT AVAILABLE


3.55 FRONTIER COMMUNICATIONS                 UNKNOWN                                Trade Payable                     $3,196
     AMERICA INC
     PO BOX 740407                  ACCOUNT NO.: NOT AVAILABLE
     CINCINNATI, OH 45274-0407


3.56 GENSLER                                 UNKNOWN                                Trade Payable             UNDETERMINED
     PO BOX 848279
     DALLAS, TX 78284-8279          ACCOUNT NO.: NOT AVAILABLE


3.57 GLOBALGIG                               UNKNOWN                                Trade Payable                     $4,303
     PO BOX 227372
     DALLAS, TX 75222-7372          ACCOUNT NO.: NOT AVAILABLE


3.58 GRAND FORKS UTILITY BILLING             UNKNOWN                                Trade Payable                     $1,530
     PO BOX 5518
     GRAND FORKS, ND 58206-5518     ACCOUNT NO.: NOT AVAILABLE


3.59 GREATAMERICA FINANCIAL                  UNKNOWN                                Trade Payable                     $4,954
     SERVICES
     PO BOX 660831                  ACCOUNT NO.: NOT AVAILABLE
     DALLAS, TX 75266


3.60 GRUBHUB HOLDINGS INC                    UNKNOWN                                Trade Payable                     $1,591
     111 W WASHINGTON ST
     STE 2100                       ACCOUNT NO.: NOT AVAILABLE
     CHICAGO, IL 60602


3.61 HANNAN SUPPLY COMPANY INC               UNKNOWN                                Trade Payable             UNDETERMINED
     1565 N 8TH STREET
     PADUCAH, KY 42001              ACCOUNT NO.: NOT AVAILABLE


3.62 HERC RENTALS                            UNKNOWN                                Trade Payable                    $58,774
     PO BOX 936257
     ATLANTA, GA 31193              ACCOUNT NO.: NOT AVAILABLE


3.63 INTERSTATE WELDING AND STEEL            UNKNOWN                                Trade Payable                        $57
     SUPPLY
     PO BOX 1112                    ACCOUNT NO.: NOT AVAILABLE
     MURPHY, NC 28906


3.64 JACKSON PURCHASE ENERGY                 UNKNOWN                                Trade Payable                     $2,437
     CORPORATION
     PO BOX 3000                    ACCOUNT NO.: NOT AVAILABLE
     HOPKINSVILLE, KY 42241-3000


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Core Scientific Operating Company                                                             Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                               Claim

Trade Payables

3.65 JBM OFFICE SOLUTIONS                      UNKNOWN                                Trade Payable                        $78
     510 MCGHEE DRIVE
     DALTON, GA 30721                 ACCOUNT NO.: NOT AVAILABLE


3.66 KESCO AIR INC                             UNKNOWN                                Trade Payable                       $680
     20 EAST SUNRISE HIGHWAY
     SUITE 308                        ACCOUNT NO.: NOT AVAILABLE
     VALLEY STREAM, NY 11581


3.67 KLDISCOVERY ONTRACK LLC                   UNKNOWN                                Trade Payable                   $180,453
     9023 COLUMBINE ROAD
     EDEN PRAIRIE, MN 55347           ACCOUNT NO.: NOT AVAILABLE


3.68 LAKE EFFECT TRAFFIC LLC                   UNKNOWN                                Trade Payable                    $12,090
     5824 LAUDER CT
     GRANGER, IN 46350                ACCOUNT NO.: NOT AVAILABLE


3.69 LATTICE                                   UNKNOWN                                Trade Payable                    $16,053
     360 SPEAR ST, FLOOR 4
     SAN FRANCISCO, CA 94105          ACCOUNT NO.: NOT AVAILABLE


3.70 LEVEL 3 COMMUNICATIONS LLC                UNKNOWN                                Trade Payable                       $701
     1025 ELDORADO BLVD
     BROOMFIELD, CO 80021             ACCOUNT NO.: NOT AVAILABLE


3.71 LISA RAGAN CUSTOMS                        UNKNOWN                                Trade Payable                        $90
     BROKERAGE
     327 WEST TAYLOR STREET, STE. A   ACCOUNT NO.: NOT AVAILABLE
     GRIFFIN, GA 30223


3.72 LONE STAR CORPORATION                     UNKNOWN                                Trade Payable                     $1,416
     2222 WEST 42ND STREET
     ODESSA, TX 79764                 ACCOUNT NO.: NOT AVAILABLE


3.73 M & S PATTERSON, INC                      UNKNOWN                                Trade Payable                     $4,610
     2560 KING ARTHUR BOULEVARD
     SUITE 124-127                    ACCOUNT NO.: NOT AVAILABLE
     LEWISVILLE, TX 75056


3.74 MARBLE COMMUNITY WATER                    UNKNOWN                                Trade Payable                        $63
     SYSTEM
     P.O. BOX 274                     ACCOUNT NO.: NOT AVAILABLE
     MARBLE, NC 28905


3.75 MICROSOFT AZURE                           UNKNOWN                                Trade Payable                     $1,232
     PO BOX 842103
     DALLAS, TX 75284-2103            ACCOUNT NO.: NOT AVAILABLE



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Core Scientific Operating Company                                                          Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.76 MINNKOTA POWER                         UNKNOWN                                Trade Payable                     $9,332
     COOPERATATIVE INC
     5301 32ND AVE S               ACCOUNT NO.: NOT AVAILABLE
     GRAND FORKS, ND 58201


3.77 MJDII ARCHITECTS INC                   UNKNOWN                                Trade Payable                    $11,714
     16775 ADDISON RD
     SUITE 310                     ACCOUNT NO.: NOT AVAILABLE
     ADDISON, TX 75001


3.78 MOBILE MODULAR PORTABLE                UNKNOWN                                Trade Payable                       $135
     STORAGE
     PO BOX 45043                  ACCOUNT NO.: NOT AVAILABLE
     SAN FRANCISCO, CA 94145


3.79 MOSS ADAMS LLP                         UNKNOWN                                Trade Payable                   $456,434
     999 THIRD AVE, SUITE 2800
     SEATTLE, WA 98104             ACCOUNT NO.: NOT AVAILABLE


3.80 MOUNTAIN TOP ICE                       UNKNOWN                                Trade Payable                       $184
     PO BOX 365
     DEMING, NM 88031              ACCOUNT NO.: NOT AVAILABLE


3.81 MSC INDUSTRIAL SUPPLY CO               UNKNOWN                                Trade Payable             UNDETERMINED
     525 HARBOUR PLACE DRIVE
     DAVIDSON, NC 28036            ACCOUNT NO.: NOT AVAILABLE


3.82 NODAK ELECTRIC COOPERATIVE             UNKNOWN                                Trade Payable                       $200
     INC
     4000 32ND AVE S               ACCOUNT NO.: NOT AVAILABLE
     PO BOX 13000
     GRAND FORKS, ND 58208


3.83 NOVO CONSTRUCTION                      UNKNOWN                                Trade Payable             UNDETERMINED
     608 FOLSOM STREET
     SAN FRANCISCO, CA 94107       ACCOUNT NO.: NOT AVAILABLE


3.84 ONYX CONTRACTORS                       UNKNOWN                                Trade Payable                     $4,906
     OPERATIONS, LP
     PO BOX 60547                  ACCOUNT NO.: NOT AVAILABLE
     MIDLAND, TX 79711-0547


3.85 OP                                     UNKNOWN                                Trade Payable             UNDETERMINED
     10030 BENT OAK DR
     HOUSTON, TX 77040             ACCOUNT NO.: NOT AVAILABLE


3.86 OPTILINK                               UNKNOWN                                Trade Payable                     $1,058
     PO BOX 745091
     ATLANTA, GA 30374             ACCOUNT NO.: NOT AVAILABLE

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Core Scientific Operating Company                                                          Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.87 ORACLE AMERICA INC                     UNKNOWN                                Trade Payable                    $12,971
     15612 COLLECTIONS CENTER
     DRIVE                         ACCOUNT NO.: NOT AVAILABLE
     CHICAGO, IL 60693


3.88 PRIME MOWING AND PROPERTY              UNKNOWN                                Trade Payable                       $750
     MANAGEMENT LLC
     103 HAMILTON DR               ACCOUNT NO.: NOT AVAILABLE
     BENTON, KY 42025


3.89 PROCTOR MANAGEMENT                     UNKNOWN                                Trade Payable             UNDETERMINED
     2314 BAHAMA RD
     AUSTIN, TX 78733              ACCOUNT NO.: NOT AVAILABLE


3.90 PYE-BARKER FIRE AND SAFETY             UNKNOWN                                Trade Payable                       $118
     LLC
     PO BOX 735358                 ACCOUNT NO.: NOT AVAILABLE
     DALLAS, TX 75373-5358


3.91 REED WELLS BENSON AND                  UNKNOWN                                Trade Payable                    $34,400
     COMPANY
     120010 N CENTRAL EXPRESSWAY   ACCOUNT NO.: NOT AVAILABLE
     STE 1100
     DALLAS, TX 75243


3.92 RICKS RENTAL EQUIPMENT                 UNKNOWN                                Trade Payable             UNDETERMINED
     1363 MURPHY HWY
     BLAIRSVILLE, GA 30512         ACCOUNT NO.: NOT AVAILABLE


3.93 SALARY.COM LLC                         UNKNOWN                                Trade Payable                       $631
     610 LINCOLN ST.
     NORTH BUILDING, SUITE 200     ACCOUNT NO.: NOT AVAILABLE
     WALTHAM, MA 02451


3.94 SHELL ENERGY SOLUTIONS                 UNKNOWN                                Trade Payable                  $9,705,491
     21 WATERWAY AVENUE
     SUITE 450                     ACCOUNT NO.: NOT AVAILABLE
     THE WOODLANDS, TX 77380


3.95 SHERMCO INDUSTRIES, INC                UNKNOWN                                Trade Payable                     $8,154
     PO BOX 540545
     DALLAS, TX 75354              ACCOUNT NO.: NOT AVAILABLE


3.96 SIDLEY AUSTIN LLP                      UNKNOWN                                Trade Payable                   $231,085
     2021 MCKINNEY AVENUE
     SUITE 2000                    ACCOUNT NO.: NOT AVAILABLE
     DALLAS, TX 75201




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Core Scientific Operating Company                                                               Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                            Account Number                                Claim

Trade Payables

3.97 SPECTRUM                                   UNKNOWN                                 Trade Payable                     $5,743
     PO BOX 60074
     CITY OF INDUSTRY, CA 91716-0074   ACCOUNT NO.: NOT AVAILABLE


3.98 STATE OF TENNESSEE                         UNKNOWN                                 Trade Payable                        $22
     DEPARTMENT OF REVENUE
     500 DEADERICK STREET              ACCOUNT NO.: NOT AVAILABLE
     NASHVILLE, TN 37242


3.99 SUMMIT FIRE PROTECTION CO                  UNKNOWN                                 Trade Payable             UNDETERMINED
     575 MINNEHAHA AVE W
     ST PAUL, MN 55103                 ACCOUNT NO.: NOT AVAILABLE


3.100 SUPREME FIBER LLC                         UNKNOWN                                 Trade Payable             UNDETERMINED
      6104 OLD FREDERICKSBURG RD
      #91114                           ACCOUNT NO.: NOT AVAILABLE
      AUSTIN, TX 78749


3.101 TANGENT ENERGY SOLUTIONS INC        UNKNOWN                                       Trade Payable                     $2,000
      204 GALE LANE
      KENNETT SQUARE, PA 19348     ACCOUNT NO.: NOT AVAILABLE


3.102 TANMAR RENTALS, LLC                       UNKNOWN                                 Trade Payable             UNDETERMINED
      P.O. BOX 1376
      LAFAYETTE, LA 70508              ACCOUNT NO.: NOT AVAILABLE


3.103 TENASKA POWER SERVICES CO                 UNKNOWN                                 Trade Payable                   $113,951
      14302 FNB PARKWAY
      OMAHA, NE 68154                  ACCOUNT NO.: NOT AVAILABLE


3.104 TOYOTA INDUSTRIES                         UNKNOWN                                 Trade Payable                    $10,784
      COMMERCIAL FINANCE INC
      PO BOX 660926                    ACCOUNT NO.: NOT AVAILABLE
      DALLAS, TX 75266-0926


3.105 TRUCKLOAD CONNECTIONS, LLC                UNKNOWN                                 Trade Payable             UNDETERMINED
      3270 HAMPTON AVE
      ST. LOUIS, MO 63139              ACCOUNT NO.: NOT AVAILABLE


3.106 TY PROPERTIES                             UNKNOWN                                 Trade Payable                    $15,610
      929 108TH AVE NE
      SUITE 1510                       ACCOUNT NO.: NOT AVAILABLE
      BELLEVUE, WA 98004


3.107 UNITED RENTALS NORTH                      UNKNOWN                                 Trade Payable             UNDETERMINED
      AMERICA INC
      PO BOX 100711                    ACCOUNT NO.: NOT AVAILABLE
      ATLANTA, GA 30384-0711


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Core Scientific Operating Company                                                           Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                                Claim

Trade Payables

3.108 WASTE PATH SERVICES LLC               UNKNOWN                                 Trade Payable             UNDETERMINED
      1637 SHAR CAL RD
      CALVERT CITY, KY 42029       ACCOUNT NO.: NOT AVAILABLE


3.109 WATER WORKS C&R, LLC                  UNKNOWN                                 Trade Payable                       $592
      2425 STAFFORD BLVD
      PECOS, TX 79722              ACCOUNT NO.: NOT AVAILABLE


3.110 WATERLOGIC AMERICAS LLC               UNKNOWN                                 Trade Payable                       $210
      PO BOX 677867
      DALLAS, TX 75267             ACCOUNT NO.: NOT AVAILABLE


3.111 WINDSTREAM                            UNKNOWN                                 Trade Payable                     $1,988
      PO BOX 9001908
      LOUISVILLE, KY 40290-1908    ACCOUNT NO.: NOT AVAILABLE


3.112 XC CONTAINER LLC                      UNKNOWN                                 Trade Payable             UNDETERMINED
      PO BOX 650212
      DALLAS, TX 75265             ACCOUNT NO.: NOT AVAILABLE


3.113 ZETAMINUSONE LLC                      UNKNOWN                                 Trade Payable                     $5,806
      1250 AVE PONCE DE LEONE
      STE 301                      ACCOUNT NO.: NOT AVAILABLE
      SAN JUAN, PR 00907


                                                                                     Trade Payables Total:        $27,063,394




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Core Scientific Operating Company                                                             Case Number:             22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D   Basis For       Offset    Amount of Claim
Including Zip Code                           Account Number                              Claim

Litigation

3.114 MEI PANG                                 UNKNOWN                                 Litigation                 UNDETERMINED
      C/O STECKLER WAYNE CHERRY &
      LOVE PLLC                       ACCOUNT NO.: NOT AVAILABLE
      ATTN: BRUCE W. STECKLER

     12720 HILLCREST ROAD, STE 1045
     DALLAS, TX 75230


                                                                                             Litigation Total:    UNDETERMINED




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Core Scientific Operating Company                                                          Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And       C U       D    Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Intercompany Payables

3.115 RADAR RELAY, INC.                     UNKNOWN                                 Intercompany                   $557,450
      2407 S. CONGRESS AVE
      STE. E-101                   ACCOUNT NO.: NOT AVAILABLE
      AUSTIN, TX 78704


                                                                            Intercompany Payables Total:           $557,450




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Core Scientific Operating Company                                                             Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                          Account Number                                Claim

Deferred Revenue Claims

3.116 BIT DIGITAL USA, INC.                   UNKNOWN                                   Deferred                UNDETERMINED
      3500 SOUTH DUPONT HIGHWAY                                                        Revenue -
      DOVER, DE 19901                ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                      Hosting - Non
                                                                                      Related Party


3.117 BITMAIN TECHNOLOGIES                    UNKNOWN                                   Deferred                UNDETERMINED
      GEORGIA LIMITED                                                                  Revenue -
      900 OLD ROSWELL LAKES PKWY     ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      SUITE 310                                                                       Hosting - Non
      ROSWELL, GA 30076                                                               Related Party


3.118 CELSIUS MINING LLC                      UNKNOWN                                   Deferred                UNDETERMINED
      221 RIVER STREET, 9TH FLOOR                                                      Revenue -
      C/O PATRICK HOLERT             ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      HOBOKEN, NJ 07030                                                               Hosting - Non
                                                                                      Related Party


3.119 CHARLES ARAM                            UNKNOWN                                   Deferred                UNDETERMINED
      FLAT 11 25 EGERTON GARDENS                                                       Revenue -
      SW3 2DE                        ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                      Hosting - Non
                                                                                      Related Party


3.120 FOUNDRY DIGITAL LLC                     UNKNOWN                                   Deferred                UNDETERMINED
      1100 PITTSFORD VICTOR ROAD                                                       Revenue -
      PITTSFORD, NY 14534            ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                      Hosting - Non
                                                                                      Related Party


3.121 GEM MINING 1 LLC                        UNKNOWN                                   Deferred                UNDETERMINED
      205 MAGNOLIA LAKE RD.                                                            Revenue -
      AIKEN, SC 29803                ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                        Hosting -
                                                                                      Related Party


3.122 GEM MINING 4 LLC                        UNKNOWN                                   Deferred                UNDETERMINED
      205 MAGNOLIA LAKE RD.                                                            Revenue -
      AIKEN, SC 29803                ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                        Hosting -
                                                                                      Related Party


3.123 GRYPHON DIGITAL MINING, INC.            UNKNOWN                                   Deferred                UNDETERMINED
      5953 MABEL RD UNIT 138                                                           Revenue -
      LAS VEGAS, NV 89110            ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                      Hosting - Non
                                                                                      Related Party




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Core Scientific Operating Company                                                              Case Number:           22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Deferred Revenue Claims

3.124 HOCKOMOCK MINING COMPANY                 UNKNOWN                                   Deferred                UNDETERMINED
      545 BOYLSTON STREET 8TH                                                           Revenue -
      FLOOR                           ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      BOSTON, MA 02116                                                                 Hosting - Non
                                                                                       Related Party


3.125 HORIZON KINETICS                         UNKNOWN                                   Deferred                UNDETERMINED
      470 PARK AVENUE SOUTH, 3RD                                                        Revenue -
      FLOOR                           ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      NEW YORK , NY 10016                                                              Hosting - Non
                                                                                       Related Party


3.126 NFN8 MEDIA, LLC                          UNKNOWN                                   Deferred                UNDETERMINED
      11615 ANGUS RD., SUITE 104C                                                       Revenue -
      AUSTIN, TX 78759                ACCOUNT NO.: NOT AVAILABLE                        Blockchain
                                                                                       Hosting - Non
                                                                                       Related Party


3.127 QUANDEFI OPPORTUNITIES LLC               UNKNOWN                                   Deferred                UNDETERMINED
      1177 AVENUE OF THE AMERICAS,                                                      Revenue -
      FL 5                            ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      NEW YORK , NY 10036                                                              Hosting - Non
                                                                                       Related Party


3.128 US DIGITAL MINING AND HOSTING            UNKNOWN                                   Deferred                UNDETERMINED
      CO., LLC                                                                          Revenue -
      1200 W. PLATT ST.               ACCOUNT NO.: NOT AVAILABLE                        Blockchain
      TAMPA, FL 33606                                                                  Hosting - Non
                                                                                       Related Party


                                                                             Deferred Revenue Claims Total:      UNDETERMINED




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Core Scientific Operating Company                                                 Case Number:    22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

                                      Total: All Creditors with NONPRIORITY Unsecured Claims     $27,620,844




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Core Scientific Operating Company                                                                       Case Number:                 22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
     Part 3:       List Others to Be Notified About Unsecured Claims

4.     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
       are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 Creditor's Name, Mailing Address Including Zip Code                      On which line in Part 1 did you enter        Last 4 digits of account
                                                                                 the related creditor?                   number for this entity


4. 1    NONE




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Core Scientific Operating Company                                                               Case Number:          22-90343

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.


                                                                                                       Total of claim amounts


5a.     Total claims from Part 1                                                          5a.                              $0



5b.     Total claims from Part 2                                                          5b.    +                $27,620,844




5c.     Total of Parts 1 and 2                                                            5c.                     $27,620,844

        Lines 5a + 5b = 5c.




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Core Scientific Operating Company                                                                                                                                Case Number:            22-90343

Schedule G: Executory Contracts and Unexpired Leases
1.     Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2.     List all contracts and unexpired leases

 Nature of the Debtor's Interest                                 Expiration Date        Contract ID      Co-Debtor Name                                             Address



Construction Services

2. 1           2021-06-03 CONSTRUCTION                                                CONSTR1322                     BERGSTROM ELECTRIC INC                        3100 N WASHINGTON ST, GRAND
               SERVICES - AIA DOCUMENT A101-1997,                                                                                                                  FORKS, ND 58203
               PURCHASE ORDER PO21607

2. 2           2021-12-13 CONSTRUCTION                                                CONSTR1308                     FELKER CONSTRUCTION CO., INC.                 PO BOX 1647, DALTON, GA 30722
               SERVICES - LETTER AGREEMENT RE
               ROOF TOP EXHAUST AIR DEFLECTORS

2. 3           2021-12-29 CONSTRUCTION                                                CONSTR1298                     FRANK X SPENCER & ASSOCIATES                  1130 MONTANA AVEEL PASO, TX
               SERVICES - AIA DOCUMENT A201-2017                                                                                                                   79902

2. 4           2021-10-18 CONSTRUCTION                                                CONSTR1302                     FRANK X SPENCER AND ASSOCIATES,               1130 MONTANA AVEEL PASO, TX
               SERVICES - SOW NO. 1                                                                                  INC.                                          79902

2. 5           2021-10-27 CONSTRUCTION                                                CONSTR1300                     FRANK X SPENCER AND ASSOCIATES,               1130 MONTANA AVEEL PASO, TX
               SERVICES - SOW NO. 3                                                                                  INC.                                          79902

2. 6           2021-11-24 CONSTRUCTION                                                CONSTR1301                     FRANK X SPENCER AND ASSOCIATES,               1130 MONTANA AVEEL PASO, TX
               SERVICES - SOW NO. 5                                                                                  INC.                                          79902

2. 7           2021-12-03 PROFESSIONAL SERVICES -                                     CONSTR1299                     FRANK X SPENCER AND ASSOCIATES,               1130 MONTANA AVEEL PASO, TX
               SOW NO. 6                                                                                             INC.                                          79902

2. 8           2021-11-22 CONSTRUCTION                                                CONSTR1326                     HOLLOWAY, UPDIKE AND BELLEN, INC.             818 EAST SIDE BOULEVARD,
               SERVICES - AGREEMENT FOR                                                                                                                            MUSKOGEE, OK 74403
               ENGINEERING SERVICES FOR SITE
               IMPROVEMENTS

2. 9           2021-12-13 CONSTRUCTION                                                CONSTR1297                     HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WESTBOERNE, TX
               SERVICES - AIA DOCUMENT A201-2017                                                                                                      78006



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Core Scientific Operating Company                                                                                              Case Number:          22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date    Contract ID    Co-Debtor Name                                Address



Construction Services

2. 10       2021-12-22 CONSTRUCTION                                CONSTR1287                 HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WEST, BOERNE, TX
            SERVICES - AIA DOCUMENT A102-2017                                                                                  78006

2. 11       2022-03-14 CONSTRUCTION                                CONSTR1288                 HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WESTBOERNE, TX
            SERVICES - CHANGE ORDER 01                                                                                         78006

2. 12       2022-01-05 CONSTRUCTION                                CONSTR1328                 J.W. DIDADO ELECTRIC              1033 KELLY AVENUE, AKRON OH
            SERVICES - EXHIBIT A - SOW (BID                                                                                     44306
            LETTER REV 3, SUBSTATION AND
            DISTRIBUTION)

2. 13       2022-01-05 CONSTRUCTION                                CONSTR1327                 J.W. DIDADO ELECTRIC              1033 KELLY AVE AKRON, OH 44306
            SERVICES - EXHIBIT B - DBIA
            DOCUMENT NO 525 (SUBSTATION)
            DATED 01.5.22

2. 14       2022-01-05 CONSTRUCTION                                CONSTR1329                 J.W. DIDADO ELECTRIC, LLC         1033 KELLY AVENUE, AKRON, OH
            SERVICES - SUBCONTRACT SERVICES                                                                                     44306
            AGREEMENT

2. 15       2021-11-23 CONSTRUCTION                                CONSTR1294                 LML SERVICES LLC DBA FLOWTX       PO BOX 90504, SAN ANTONIO, TX
            SERVICES - PROPOSAL (COT1, MASS                                                                                     78209
            GRADING AND WATER WELL)

2. 16       2021-11-29 CONSTRUCTION                                CONSTR1295                 LML SERVICES LLC DBA FLOWTX       8610 BROADWAY, STE 211, SAN
            SERVICES - PROPOSAL (COT - MASS                                                                                     ANTONIO, TX 78217
            GRADING & WATER WELL)

2. 17       2021-12-20 CONSTRUCTION                                CONSTR1292                 LML SERVICES LLC DBA FLOWTX       PO BOX 90504, SAN ANTONIO, TX
            SERVICES - AIA DOCUMENT A101-2017                                                                                   78209

2. 18       2021-12-21 CONSTRUCTION                                CONSTR1293                 LML SERVICES LLC DBA FLOWTX       8610 BROADWAY, STE 211, SAN
            SERVICES - PROPOSAL (COT SITE,                                                                                      ANTONIO, TX 78217
            ROADS AND FENCING)

2. 19       2022-03-14 CONSTRUCTION                                CONSTR1296                 LML SERVICES LLC DBA FLOWTX       PO BOX 90504, SAN ANTONIO, TX
            SERVICES - AIA DOCUMENT G701-2017,                                                                                  78209
            CHANGE ORDER


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Core Scientific Operating Company                                                                                               Case Number:           22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date    Contract ID    Co-Debtor Name                                Address



Construction Services

2. 20       2022-04-20 CONSTRUCTION                                CONSTR1282                 M ARTHUR GENSLER JR &              1011 S CONGRESS AVE, BLDG 1,
            SERVICES - AMENDMENT NO. 01 - AIA                                                 ASSOCIATES, INC.                   STE 200AUSTIN, TX 78704
            DOCUMENT G802-2017

2. 21       2021-11-19 CONSTRUCTION                                CONSTR1283                 M. ARTHUR GENSLER JR. &            1011 S CONGRESS
            SERVICES - AIA DOCUMENT B152-2019                                                 ASSOCIATES, INC.                   AVENUE,BUILDING 1, SUITE
                                                                                                                                 200AUSTIN, TX 78704

2. 22       2022-05-17 CONSTRUCTION                                CONSTR1284                 M. ARTHUR GENSLER JR. &            1011 S CONGRESS AVE, BLDG 1,
            SERVICES - WORK AUTHORIZATION                                                     ASSOCIATES, INC.                   STE 200, AUSTIN, TX 7870
            FOR ADDITIONAL SERVICES

2. 23       2021-10-15 PROFESSIONAL SERVICES -                     CONSTR1285                 M. ARTHUR GENSLER, JR. &           1011 S CONGRESS
            INTERIM AGREEMENT FOR DESIGN                                                      ASSOCIATES, INC.                   AVENUE,BUILDING 1, SUITE
            SERVICES                                                                                                             200AUSTIN, TX 78704

2. 24       2022-01-07 CONSTRUCTION                                CONSTR1309                 MCCARTHY BUILDING COMPANIES INC    12851 MANCHESTER RD, SAINT
            SERVICES - GMP AMENDMENT 2                                                                                           LOUIS, MISSOURI 63131-1802

2. 25       2022-03-07 CONSTRUCTION                                CONSTR1310                 MCCARTHY BUILDING COMPANIES INC    12851 MANCHESTER RD, SAINT
            SERVICES - GMP AMENDMENT 3                                                                                           LOUIS, MISSOURI 63131-1802

2. 26       2021-11-17 CONSTRUCTION                                CONSTR1312                 MCCARTHY BUILDING COMPANIES, INC. 12001 N. CENTRAL EXPWY, SUITE
            SERVICES - AIA DOCUMENT A102-2017                                                                                   400, DALLAS, TX 75243

2. 27       2021-12-17 CONSTRUCTION                                CONSTR1311                 MCCARTHY BUILDING COMPANIES, INC. 12851 MANCHESTER RD, SAINT
            SERVICES - GMP AMENDMENT 01                                                                                         LOUIS, MISSOURI 63131-1802

2. 28       CONSTRUCTION SERVICES - AIA                            CONSTR1315                 MJDII ARCHITECTS, INC.             16775 ADDISON ROAD, SUITE
            DOCUMENT A201-2017                                                                                                   310ADDISON, TX 75001

2. 29       2022-01-07 CONSTRUCTION                                CONSTR1313                 MJDII ARCHITECTS, INC.             16775 ADDISON ROAD, SUITE 310,
            SERVICES - AIA DOCUMENT B105-2017                                                                                    ADDISON, TX 75001

2. 30       2022-01-18 PROFESSIONAL SERVICES -                     CONSTR1286                 PROCTOR MANAGEMENT                 2314 BAHAMA ROAD, AUSTIN, TX
            PROJECT/CONSTRUCTION                                                                                                 78733
            MANAGEMENT CONSULTING
            SERVICES AGREEMENT

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Core Scientific Operating Company                                                                                                Case Number:            22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date    Contract ID    Co-Debtor Name                                  Address



Construction Services

2. 31       CONSTRUCTION SERVICES                                  CONSTR1703                 REED, WELLS, BENSON AND COMPANY     120010 N CENTRAL EXPRESSWAY
            AGREEMENT                                                                         (RWB)                               STE 1100
                                                                                                                                  DALLAS, TX 75243

2. 32       2021-02-11 PROFESSIONAL SERVICES -                     CONSTR1316                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AMENDMENT 4 TO SERVICES                                                                                               1129DENTON, TX 76210
            AGREEMENT

2. 33       2021-07-22 PROFESSIONAL SERVICES -                     CONSTR1318                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AUTHORIZATION FOR PROFESSIONAL                                                                                        1129DENTON, TX 76210
            SERVICES

2. 34       2021-08-13 PROFESSIONAL SERVICES -                     CONSTR1319                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AMENDMENT 1 TO PROFESSIONAL                                                                                           1129DENTON, TX 76210
            SERVICES AGREEMENT

2. 35       2021-11-22 PROFESSIONAL SERVICES -                     CONSTR1321                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AMENDMENT 2 TO PROFESSIONAL                                                                                           1129DENTON, TX 76210
            SERVICES AGREEMENT

2. 36       2021-12-28 PROFESSIONAL SERVICES -                     CONSTR1320                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AMENDMENT NO. 3 TO PROFESSIONAL                                                                                       1129DENTON, TX 76210
            SERVICES AGREEMENT

2. 37       2022-04-22 CONSTRUCTION                                CONSTR1317                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES - AMENDMENT 5 TO                                                                                             1129DENTON, TX 76210
            PROFESSIONAL SERVICES
            AGREEMENT

2. 38       2018-07-15 CONSTRUCTION                                CONSTR1323                 VISION BUILDING SYSTEMS, LLC        3150 WEST WIGWAM AVENUE, LAS
            SERVICES - PROPOSAL                                                                                                   VEGAS, NV 8913




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Core Scientific Operating Company                                                                                            Case Number:           22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                 Expiration Date    Contract ID    Co-Debtor Name                               Address



Consulting Agreements

2. 39       2021-02-01 - STATEMENT OF WORK                        CONSULT1429                AGRICULTURAL SCIENTIFIC LLC      205 MAGNOLIA LAKE RD, AIKEN,
                                                                                                                              SC 29803

2. 40       2021-02-04 - CONSULTING AGREEMENT                     CONSULT1425                AGRICULTURAL SCIENTIFIC LLC      205 MAGNOLIA LAKE RD, AIKEN,
                                                                                                                              SC 29803

2. 41       2022-01-19 - CONSULTING AGREEMENT                     CONSULT1424                CADE MCNOWN                      24121 SW NEWLAND ROAD,
                                                                                                                              WILSONVILLE, OR 97070

2. 42       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1418                DAVID ELIA                       94 FORRESTER ESSENDON 3040,
                                                                                                                              VICTORIA, AUSTRALIA

2. 43       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1416                ERIC KURTZMAN                    11035 LAVENDAR HILL DR STE 160,
                                                                                                                              LAS VEGAS, NV 89135

2. 44       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1422                JOHN QUINN                       1165 MADIA STREET, PASADENA,
                                                                                                                              CA 91103

2. 45       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1423                NIC CARTER                       495 BRICKELL AVE APT 1007,
                                                                                                                              MIAMI, FL 33131

2. 46       2022-01-19 - CONSULTING AGREEMENT                     CONSULT1412                PETER NOVAK                      98 TETON PINES DR.,
                                                                                                                              HENDERSON, NV 89074

2. 47       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1430                ROSS BERMAN                      3985 NW 53RD STREET, BOCA
                                                                                                                              RATON, FL 33496

2. 48       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1413                SAIFEDEAN AMMOUS                 16 MEKIAL ST DEIR GHBAR,
                                                                                                                              AMMAN JORDAN, JORDAN

2. 49       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1420                SUSAN SCHNABEL                   3303 FAR VIEW DR, AUSTIN, TX
                                                                                                                              78730

2. 50       2022-01-05 - CONSULTING AGREEMENT                     CONSULT1427                ZUCKERMAN GORE BRANDEIS &         ELEVEN TIME SQUARE, NEW
                                                                                             CROSSMAN, LLP (CLIFFORD BRANDEIS) YORK, NY 10036




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Schedule G: Executory Contracts and Unexpired Leases
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Customer Contracts

2. 51       2021-08-18 - MASTER SERVICES       12/19/2023       CUST1341                  ATLAS TECHNOLOGY GROUP LLC      1013 CENTRE ROAD, SUITE 403S
            AGREEMENT AND ORDER 1                                                                                         WILMINGTON, DE 19805

2. 52       2021-02-22 - MASTER SERVICES                        CUST1342                  BIT DIGITAL USA, INC.           3500 SOUTH DUPONT HIGHWAY
            AGREEMENT AND ORDER 1                                                                                         DOVER, DE 19901

2. 53       2021-06-15 - ORDER 1                                CUST1343                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 54       2021-07-21 - ORDER 2                                CUST1350                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 55       2021-08-05 - ORDER 3                                CUST1347                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 56       2021-09-07 - MASTER SERVICES                        CUST1345                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
            AGREEMENT                                                                     LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 57       2021-10-02 - AMENDED AND                            CUST1351                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
            RESTATED ORDER 4                                                              LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 58       2021-11-01 - ORDER 5                                CUST1344                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 59       2022-02-21 - ORDER 6                                CUST1346                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 60       2022-07-27 - ORDER 7                                CUST1349                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076



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2. 61       2022-08-01 - ORDER 1                                CUST1348                  BITMAIN TECHNOLOGIES GEORGIA    900 OLD ROSWELL LAKES
                                                                                          LIMITED                         PARKWAY, SUITE 310
                                                                                                                          ROSWELL, GA 30076

2. 62       2019-11-23 - MASTER SERVICES                        CUST1358                  FOUNDRY DIGITAL LLC FKA DCG     250 PARK AVENUE SOUTH, 5TH
            AGREEMENT                                                                     FOUNDRY LLC                     FLOOR
                                                                                                                          NEW YORK, NY 10003

2. 63       2021-08-24 - ORDER 5                                CUST1357                  FOUNDRY DIGITAL LLC FKA DCG     250 PARK AVENUE SOUTH, 5TH
                                                                                          FOUNDRY LLC                     FLOOR
                                                                                                                          NEW YORK, NY 10003

2. 64       2022-02-02 - ORDER 7                                CUST1356                  FOUNDRY DIGITAL LLC FKA DCG     250 PARK AVENUE SOUTH, 5TH
                                                                                          FOUNDRY LLC                     FLOOR
                                                                                                                          NEW YORK, NY 10003

2. 65       2021-02-05 - MASTER SERVICES                        CUST1362                  GEM MINING 1 LLC                205 MAGNOLIA LAKE RD.
            AGREEMENT                                                                                                     AIKEN, SC 29803

2. 66       2021-02-11 - ORDER 3                                CUST1360                  GEM MINING 1 LLC                205 MAGNOLIA LAKE RD.
                                                                                                                          AIKEN, SC 29803

2. 67       2021-02-24 - ORDER 5                                CUST1359                  GEM MINING 1 LLC                205 MAGNOLIA LAKE RD.
                                                                                                                          AIKEN, SC 29803

2. 68       2021-11-15 - AMENDED AND                            CUST1361                  GEM MINING 1 LLC                205 MAGNOLIA LAKE RD.
            RESTATED ORDER 8                                                                                              AIKEN, SC 29803

2. 69       2021-07-09 - MASTER SERVICES                        CUST1364                  GEM MINING 4 LLC                205 MAGNOLIA LAKE RD.
            AGREEMENT                                                                                                     AIKEN, SC 29803

2. 70       2021-11-15 - ORDER 1                                CUST1363                  GEM MINING 4 LLC                205 MAGNOLIA LAKE RD.
                                                                                                                          AIKEN, SC 29803

2. 71       2021-08-31 - ORDER 1                                CUST1367                  GRYPHON DIGITAL MINING, INC.    5953 MABEL RD, UNIT 138
                                                                                                                          LAS VEGAS, NV 89110



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2. 72       2021-09-21 - MASTER SERVICES                         CUST1369                  GRYPHON DIGITAL MINING, INC.    5953 MABEL RD, UNIT 138
            AGREEMENT                                                                                                      LAS VEGAS, NV 89110

2. 73       2021-10-15 - ORDER 2                                 CUST1368                  GRYPHON DIGITAL MINING, INC.    5953 MABEL RD, UNIT 138
                                                                                                                           LAS VEGAS, NV 89110

2. 74       2021-01-15 -                                         CUST1376                  NFN8 MEDIA                      11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 75       2021-04-15 - ORDER 15                                CUST1375                  NFN8 MEDIA                      11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 76       2021-06-15 - ORDER 16                                CUST1378                  NFN8 MEDIA LLC                  11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 77       2021-09-15 - ORDER 18                                CUST1377                  NFN8 MEDIA LLC                  11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 78       2020-01-15 - AMENDED AND                             CUST1391                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
            RESTATED ORDER 9                                                                                               AUSTIN, TX 78759

2. 79       2020-06-30 - AMENDED AND                             CUST1389                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
            RESTATED MASTER SERVICES                                                                                       AUSTIN, TX 78759
            AGREEMENT

2. 80       2020-08-15 - ORDER 2                                 CUST1394                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 81       2020-08-15 - ORDER 3                                 CUST1379                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 82       2020-08-15 - ORDER 4                                 CUST1392                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759

2. 83       2020-08-20 - ORDER 1                                 CUST1380                  NFN8 MEDIA, LLC                 11615 ANGUS RD, SUITE 104C
                                                                                                                           AUSTIN, TX 78759



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Customer Contracts

2. 84       2020-09-15 - ORDER 5                                 CUST1387                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 85       2020-09-15 - ORDER 6                                 CUST1388                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 86       2020-09-30 - ORDER 7                                 CUST1386                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 87       2021-01-15 - AMENDED AND                             CUST1385                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
            RESTATED ORDER 11                                                                                 AUSTIN, TX 78759

2. 88       2021-01-15 - ORDER 8                                 CUST1395                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 89       2021-02-15 - ORDER 12                                CUST1390                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 90       2021-02-15 - ORDER FORM 13 WITH                      CUST1383                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
            FIRST AMENDMENT                                                                                   AUSTIN, TX 78759

2. 91       2021-04-15 - ORDER 14 WITH FIRST                     CUST1384                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
            AMENDMENT                                                                                         AUSTIN, TX 78759

2. 92       2021-07-15 - ORDER 17                                CUST1382                  NFN8 MEDIA, LLC    11615 ANGUS RD, SUITE 104C
                                                                                                              AUSTIN, TX 78759

2. 93       2021-04-15 - ORDER FORM #7                           CUST1403                  UNION JACK LLC     2800 NORTHUP WAY
                                                                                                              SUITE 100
                                                                                                              BELLEVUE, WA 98004

2. 94       2021-09-15 - ORDER 8                                 CUST1400                  UNION JACK LLC     2800 NORTHUP WAY
                                                                                                              SUITE 100
                                                                                                              BELLEVUE, WA 98004

2. 95       2021-09-15 - ORDER 9                                 CUST1399                  UNION JACK LLC     2800 NORTHUP WAY
                                                                                                              SUITE 100
                                                                                                              BELLEVUE, WA 98004

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Customer Contracts

2. 96       2021-01-15 - ORDER FORM #6                         CUST1404                 UNION JACK, LLC    2800 NORTHUP WAY
                                                                                                           SUITE 100
                                                                                                           BELLEVUE, WA 98004

2. 97       2019-10-09 - MASTER SERVICES                       CUST1405                 UNIONJACK LLC      2800 NORTHUP WAY
            AGREEMENT                                                                                      SUITE 100
                                                                                                           BELLEVUE, WA 98004




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Equipment Leases & Sales

2. 98       2019-07-18 EQUIPMENT LEASE - 1ST                     EQUIP1001                36TH STREET CAPITAL PARTNERS, LLC    15 MAPLE AVENUE
            AMENDMENT TO SCHEDULE NO. 4                                                                                        MORRISTOWN, NJ 07960

2. 99       2019-07-18 EQUIPMENT LEASE -                         EQUIP1002                36TH STREET CAPITAL PARTNERS, LLC    15 MAPLE AVENUE
            MASTER LEASE AGREEMENT WITH                                                                                        MORRISTOWN, NJ 07960
            SCHEDULE NO 1

2. 100      2019-07-18 EQUIPMENT LEASE -                         EQUIP1000                36TH STREET CAPITAL PARTNERS, LLC    15 MAPLE AVENUE
            SCHEDULE NO 003                                                                                                    MORRISTOWN, NJ 07960

2. 101      2019-07-18 EQUIPMENT LEASE -                         EQUIP1003                36TH STREETCAPITAL PARTNERS, LLC     15 MAPLE AVENUE
            SCHEDULE NO. 002                                                                                                   MORRISTOWN, NJ 07960

2. 102      2021-03-02 EQUIPMENT LEASE -                         EQUIP1004                FIDELITY FUNDING SERVICES, LLC       19600 FAIRCHILD ROAD, SUITE
            EQUIPMENT LEASE AGREEMENT                                                                                          120IRVINE, CA 92612

2. 103      2018-12-26 EQUIPMENT LEASE -                         EQUIP1005                GARIC INC                            PO BOX 6967
            MASTER LEASE AGREEMENT #2540                                                                                       CAROL STREAM, IL 60197-6967
            WITH TECHNOLOGY FINANCE CORP
            ASSIGNED TO GARIC

2. 104      2019-08-09 EQUIPMENT LEASE -                         EQUIP1008                GARIC, INC.                          PO BOX 6967
            MASTER LEASE AGREEMENT #2152                                                                                       CAROL STREAM, IL 60197-6967

2. 105      2019-09-09 EQUIPMENT LEASE -                         EQUIP1009                GARIC, INC.                          PO BOX 6967
            EQUIPMENT SCHEDULE NO 1 TO                                                                                         CAROL STREAM, IL 60197-6967
            MASTER LEASE AGREEMENT NO. 2152

2. 106      2019-09-26 EQUIPMENT LEASE -                         EQUIP1007                GARIC, INC.                          PO BOX 6967
            EQUIPMENT SCHEDULE NO. 2                                                                                           CAROL STREAM, IL 60197-6967

2. 107      2021-01-27 EQUIPMENT LEASE -                         EQUIP1006                GARIC, INC.                          PO BOX 6967
            EQUIPMENT SCHEDULE NO. 3                                                                                           CAROL STREAM, IL 60197-6967

2. 108      2021-07-16 EQUIPMENT LEASE -                         EQUIP1013                LIBERTY COMMERCIAL FINANCE LLC       18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 06                                                                                          TUSTIN, CA 92780



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Equipment Leases & Sales

2. 109      2021-07-16 EQUIPMENT LEASE -                       EQUIP1010                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 07                                                                                     TUSTIN, CA 92780

2. 110      2021-11-16 EQUIPMENT LEASE -                       EQUIP1014                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            ADDENDUM TO EQUIPMENT                                                                                         TUSTIN, CA 92780
            SCHEDULE NO. 06

2. 111      2021-11-16 EQUIPMENT LEASE -                       EQUIP1019                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            ADDENDUM TO EQUIPMENT                                                                                         TUSTIN, CA 92780
            SCHEDULE NO. 07

2. 112      2021-12-10 EQUIPMENT LEASE -                       EQUIP1017                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO 09                                                                                      TUSTIN, CA 92780

2. 113      2021-12-10 EQUIPMENT LEASE -                       EQUIP1021                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 08                                                                                     TUSTIN, CA 92780

2. 114      2021-12-13 EQUIPMENT RENTAL -                      EQUIP1022                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 10                                                                                     TUSTIN, CA 92780

2. 115      2021-12-17 EQUIPMENT LEASE -                       EQUIP1016                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 11                                                                                     TUSTIN, CA 92780

2. 116      2021-12-17 EQUIPMENT LEASE -                       EQUIP1020                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 13                                                                                     TUSTIN, CA 92780

2. 117      2021-12-17 EQUIPMENT LEASE -                       EQUIP1012                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            SCHEDULE NO. 12                                                                                               TUSTIN, CA 92780

2. 118      2021-12-22 EQUIPMENT LEASE -                       EQUIP1018                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 16                                                                                     TUSTIN, CA 92780

2. 119      2021-12-29 EQUIPMENT LEASE -                       EQUIP1015                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 14                                                                                     TUSTIN, CA 92780

2. 120      2021-12-29 EQUIPMENT LEASE -                       EQUIP1011                LIBERTY COMMERCIAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 15                                                                                     TUSTIN, CA 92780


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Equipment Leases & Sales

2. 121      2021-06-03 EQUIPMENT LEASE -                        EQUIP1028                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            MASTER EQUIPMENT LEASE                                                                                         TUSTIN, CA 92780
            AGREEMENT #32109

2. 122      2021-07-16 EQUIPMENT LEASE -                        EQUIP1025                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            AMENDED AND RESTATED EQUIPMENT                                                                                 TUSTIN, CA 92780
            SCHEDULE NO. 4

2. 123      2021-11-16 EQUIPMENT LEASE -                        EQUIP1024                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 2                                                                                       TUSTIN, CA 92780

2. 124      2021-11-16 EQUIPMENT LEASE -                        EQUIP1026                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 3                                                                                       TUSTIN, CA 92780

2. 125      2021-11-16 EQUIPMENT LEASE -                        EQUIP1027                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 5                                                                                       TUSTIN, CA 92780

2. 126      2021-12-10 EQUIPMENT LEASE -                        EQUIP1023                LIBERTY COMMERICAL FINANCE LLC    18302 IRVINE BLVE, SUITE 300
            EQUIPMENT SCHEDULE NO. 1                                                                                       TUSTIN, CA 92780

2. 127      2021-08-27 EQUIPMENT LEASE;                         EQUIP1029                MARCO TECHNOLOGIES LLC            PO BOX 660831
            COPIERS - AGREEMENT NO. 1696436                                                                                DALLAS, TX 75266-0831

2. 128      2021-12-03 EQUIPMENT LEASE -                        EQUIP1033                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            MASTER LEASE AGREEMENT                                                                                         SUITE 101
                                                                                                                           FOXBOROUGH, MA 02035

2. 129      2021-12-15 EQUIPMENT LEASE -                        EQUIP1030                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            SCHEDULE NO. 001                                                                                               SUITE 101
                                                                                                                           FOXBOROUGH, MA 02035

2. 130      2021-12-15 EQUIPMENT LEASE -                        EQUIP1031                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            SCHEDULE NO. 002                                                                                               SUITE 101
                                                                                                                           FOXBOROUGH, MA 02035

2. 131      2021-12-15 EQUIPMENT LEASE -                        EQUIP1034                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            SCHEDULE NO. 003                                                                                               SUITE 101
                                                                                                                           FOXBOROUGH, MA 02035

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Equipment Leases & Sales

2. 132      2021-12-15 EQUIPMENT LEASE -                       EQUIP1032                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            SCHEDULE NO. 004                                                                                              SUITE 101
                                                                                                                          FOXBOROUGH, MA 02035

2. 133      2021-12-15 EQUIPMENT LEASE -                       EQUIP1035                MASSMUTUAL ASSET FINANCE LLC      2 HAMPSHIRE STREET
            SCHEDULE NO. 005                                                                                              SUITE 101
                                                                                                                          FOXBOROUGH, MA 02035

2. 134      2021-06-08 EQUIPMENT LEASE -                       EQUIP1036                MERIDIAN EQUIPMENT FINANCE LLC    9 OLD LINCOLN HIGHWAY
            EQUIPMENT LEASE AGREEMENT                                                                                     MALVERN, PA 19355
            DATED 06/8/2021

2. 135      2018-07-19 EQUIPMENT LEASE;                        EQUIP1037                NEC FINANCIAL SERVICES, LLC       250 PEHLE AVENUE, SUITE 704,
            BELLEVUE PHONES - LEASE                                                                                       SADDLE BROOK, NJ 07663-5806
            AGREEMENT DATED JULY 24, 2018

2. 136      2019-04-02 EQUIPMENT LEASE -                       EQUIP1039                TECH. FINANCE. CO., LLC DBA    7077 E. MARILYN RD. BLDG. 3,
            MASTER LEASE AGREEMENT #2540                                                TECHNOLOGY FINANCE CORPORATION SUITE 125SCOTTSDALE, AZ 85254

2. 137      2021-03-26 EQUIPMENT LEASE -                       EQUIP1038                TECH. FINANCE. CO., LLC DBA    7077 E. MARILYN RD. BLDG. 3,
            SCHEDULE NO. 006                                                            TECHNOLOGY FINANCE CORPORATION SUITE 125SCOTTSDALE, AZ 85254

2. 138      2020-03-26 EQUIPMENT LEASE -                       EQUIP1040                VESCO INDUSTRIAL TRUCKS OF        525 17TH ST NW HICKORY, NC
            FORKLIFTS - MASTER LEASE                                                    HICKORY, INC. DBA TOYOTA          28601
            AGREEMENT - FORKLIFTS                                                       COMMERCIAL FINANCE

2. 139      2021-03-17 EQUIPMENT LEASE -                       EQUIP1041                VFS LLC                           5480 CORPORATE DRIVE
            SCHEDULE NO. 005                                                                                              TROY, MI 48098

2. 140      2021-11-01 EQUIPMENT LEASE -                       EQUIP1042                VFS LLC                           5480 CORPORATE DRIVE
            SCHEDULE NO. 003                                                                                              TROY, MI 48098

2. 141      2019-06-27 EQUIPMENT LEASE -                       EQUIP1043                VFS, L.L.C.                       5480 CORPORATE DRIVE
            MASTER EQUIPMENT LEASE                                                                                        TROY, MI 48098
            AGREEMENT

2. 142      2019-07-02 EQUIPMENT LEASE -                       EQUIP1044                VFS, L.L.C.                       5480 CORPORATE DRIVE
            SCHEDULE NO. 001                                                                                              TROY, MI 48098

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Equipment Leases & Sales

2. 143      2021-07-01 EQUIPMENT LEASE -                       EQUIP1046                VFS, LLC     5480 CORPORATE DRIVE
            SCHEDULE NO. 002                                                                         TROY, MI 48098

2. 144      2022-01-01 EQUIPMENT LEASE -                       EQUIP1045                VFS, LLC     5480 CORPORATE DRIVE
            SCHEDULE NO. 004                                                                         TROY, MI 48098




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IT & License Agreements

2. 145      2019-04-30 NETWORK SERVICES -         2022-04-30       ITSERV1048                BALSAMWEST FIBER NET              35 BONNIE LANESYLVA, NC 28779
            SERVICE ORDER (QUOTE #43585-42746)

2. 146      2019-01-17 NETWORK SERVICES -         2026-02-01       ITSERV1050                CENTURYLINK COMMUNICATIONS LLC    CENTURY LINK931 14TH STR
            QUOTE NUMBER 11385682                                                            DBA LUMEN                         #900, DENVER, CO 80202

2. 147      2019-12-16 NETWORK SERVICES -                          ITSERV1051                CENTURYLINK COMMUNICATIONS LLC    CENTURY LINK931 14TH STR
            MASTER SERVICE AGREEMENT                                                         DBA LUMEN                         #900, DENVER, CO 80202

2. 148      2020-07-28 NETWORK SERVICES -                          ITSERV1049                CENTURYLINK COMMUNICATIONS LLC    CENTURY LINK931 14TH STR
            ORDER NO. 12039929                                                               DBA LUMEN                         #900, DENVER, CO 80202

2. 149      2021-03-23 NETWORK SERVICES -         2024-03-23       ITSERV1052                CENTURYLINK COMMUNICATIONS LLC    CENTURY LINK931 14TH STR
            SERVICE ORDER (GRAND FORKS)                                                      DBA LUMEN                         #900, DENVER, CO 80202

2. 150      2020-01-10 NETWORK SERVICES -                          ITSERV1053                CHARTER COMMUNICATIONS            12405 POWERSCOURT DRIVEST.
            ENTERPRISE ETHERNET SERVICE                                                      OPERATING LLC DBA SPECTRUM        LOUIS, MO 63131
            LEVEL AGREEMENT AND ORDER
            #11568570

2. 151      2022-02-08 NETWORK SERVICES -                          ITSERV1054                CHARTER COMMUNICATIONS            12405 POWERSCOURT DRIVEST.
            ENTERPRISE SERVICE AGREEMENT                                                     OPERATING, LLC DBA SPECTRUM       LOUIS, MO 63131

2. 152      2021-02-10 OTHER PROFESSIONAL                          ITSERV1055                CIEMAT                            C/JACINTO BENAVENTE 108-1C,
            SERVICES - CONTRACT FOR THE                                                                                        10004 CACERE SPAIN
            PROVISION OF INVESTIGATION
            SERVICES

2. 153      2021-12-03 SOFTWARE/SUBSCRIPTION      2023-12-03       ITSERV1056                CLOUDFLARE, INC.                  101 TOWNSEND STREET, SAN
            SERVICES - ENTERPRISE SERVICE                                                                                      FRANCISCO, CA 94107
            ORDER FORM

2. 154      2019-06-27 NETWORK SERVICES -         2023-06-27       ITSERV1057                COGENT COMMUNICATIONS, INC.       2450 N STREET, NW,
            NETWORK SERVICES T&C NORTH                                                                                         WASHINGTON, DC 20037
            AMERICA AND ORDER NO 1-300314962




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Schedule G: Executory Contracts and Unexpired Leases
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IT & License Agreements

2. 155      2019-04-01 NETWORK SERVICES AND                     ITSERV1058                COLOCATION PROPERTIES ATLANTA    56 MARIETTA STREET, ATLANTA,
            COLOCATION - MASTER TERMS AND                                                 LLC (DBA DIGITAL REALTY)         GA 30303
            CONDITIONS AGREEMENT

2. 156      2021-07-08 NETWORK SERVICES -      2031-07-08       ITSERV1060                DCN, LLC                         PO BOX 2484FARGO, ND 58108
            MASTER SERVICE AGREEMENT

2. 157      2021-11-03 NETWORK SERVICES -      2023-11-03       ITSERV1061                DELCOM PARTNERS                  610 S MAIN ST, DELL CITY, TX
            PROPOSAL                                                                                                       79837

2. 158      2019-05-23 NETWORK SERVICES -                       ITSERV1062                DIALOG TELECOMMUNICATIONS        601 BROADWAY
            AGREEMENT FOR SERVICE                                                                                          STREETPADUCAH, KY 42001

2. 159      2021-11-05 NETWORK SERVICES -      2026-11-05       ITSERV1063                DOBSON FIBER                     14101 WIRELESS WAY, SUITE
            QUOTE NO. Q-06703                                                                                              300OKLAHOMA CITY, OK 73134

2. 160      2019-12-15 NETWORK SERVICES AND                     ITSERV1065                EQUINIX LLC                      ONE LAGOON DRIVE, 4TH
            COLOCATION - MASTER COUNTRY                                                                                    FLOORREDWOOD CITY,
            AGREEMENT (NO. 130303)                                                                                         CALIFORNIA 94065

2. 161      2022-02-25 NETWORK SERVICES -                       ITSERV1067                FRONTIER COMMUNICATION OF        111 FIELD STREET, ROCHESTER,
            SCHEDULE NUMBER S-5550049010                                                  AMERICA, INC.                    NY 14620
            (EVPL ACCESS)

2. 162      2021-06-14 NETWORK SERVICES -      2024-06-14       ITSERV1068                FRONTIER COMMUNICATIONS OF       111 FIELD STREET, ROCHESTER,
            SCHEDULE NUMBER S-5550020406                                                  AMERICA, INC.                    NY 14620

2. 163      2021-06-14 NETWORK SERVICES -                       ITSERV1066                FRONTIER COMMUNICATIONS OF       111 FIELD STREET, ROCHESTER,
            SERVICES AGREEMENT                                                            AMERICA, INC.                    NY 14620

2. 164      IT SERVICES - GOOGLE CLOUD                          ITSERV1069                GOOGLE, LLC                      1600 AMPHITHEATRE PARKWAY,
            MASTER AGREEMENT                                                                                               MOUNTAIN VIEW, CA 94043

2. 165      2021-12-07 NETWORK SERVICES -                       ITSERV1071                IGEM COMMUNICATIONS LLC DBA      1870 W BITTERS ROAD SUITE
            MASTER SERVICES AGREEMENT                                                     GLOBALGIG                        103SAN ANTONIO, TX 78248




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IT & License Agreements

2. 166      2022-01-13 NETWORK SERVICES -       2023-01-13       ITSERV1073                IGEM COMMUNICATIONS LLC DBA    1870 W BITTERS ROAD SUITE
            SERVICE ORDER (ATT UNLIMITED                                                   GLOBALGIG                      103SAN ANTONIO, TX 78248
            PLAN)

2. 167      2021-07-09 SOFTWARE/SUBSCRIPTION    2023-07-08       ITSERV1074                OKTA, INC.                     100 1ST STREETSAN
            SERVICES - ORDER FORM (Q-415322)                                                                              FRANCISCO, CA 94105

2. 168      2021-12-30 NETWORK SERVICES -                        ITSERV1076                RESOUND NETWORKS LLC           PO BOX 1741 PAMPA, TX 79066
            BUSINESS SERVICE PROVIDER
            AGREEMENT

2. 169      2020-01-13 NETWORK SERVICES -                        ITSERV1084                WINDSTREAM COMMUNICATIONS      4001 RODNEY PARHAM
            SERVICE AGREEMENT AND                                                                                         ROADMAIL STOP: 1170 B1F212-
            AMENDMENT, QUOTE #1930683 &                                                                                   12ALITTLE ROCK, ARKANSAS
            #2053277                                                                                                      72212

2. 170      2021-09-10 NETWORK SERVICES -       2026-09-10       ITSERV1085                WINDSTREAM COMMUNICATIONS      4001 RODNEY PARHAM
            AMENDMENT TO SERVICE                                                                                          ROADMAIL STOP: 1170 B1F212-
            AGREEMENT AND QUOTE #2337055                                                                                  12ALITTLE ROCK, ARKANSAS
                                                                                                                          72212

2. 171      2021-11-04 NETWORK SERVICES -       2026-11-04       ITSERV1083                WINDSTREAM COMMUNICATIONS      4001 RODNEY PARHAM
            AMENDMENT TO SERVICE                                                                                          ROADMAIL STOP: 1170 B1F212-
            AGREEMENT AND QUOTE #2371433                                                                                  12ALITTLE ROCK, ARKANSAS
                                                                                                                          72212

2. 172      2021-11-04 NETWORK SERVICES -       2026-11-03       ITSERV1082                WINDSTREAM COMMUNICATIONS      4001 RODNEY PARHAM
            AMENDMENT TO WINDSTREAM                                                                                       ROADMAIL STOP: 1170 B1F212-
            AGREEMENT AND QUOTE NO. 2344468                                                                               12ALITTLE ROCK, ARKANSAS
                                                                                                                          72212

2. 173      2021-11-16 NETWORK SERVICES -       2026-11-12       ITSERV1081                WINDSTREAM COMMUNICATIONS      4001 RODNEY PARHAM
            ORDER (Q2373308)                                                                                              ROADMAIL STOP: 1170 B1F212-
                                                                                                                          12ALITTLE ROCK, ARKANSAS
                                                                                                                          72212

2. 174      2021-04-26 SOFTWARE/SUBSCRIPTION    2023-04-26       ITSERV1086                ZOOMINFO TECHNOLOGIES, LLC     14005 LIVE OAK AVEIRWINDALE,
            SERVICES - ORDER FORM (Q403824)                                                                               CA 91706-1300


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Real Property

2. 175      2021-09-08 REAL PROPERTY - DENTON,      2028-07-31       REAL1087                 CITY OF DENTON                   GENERAL MANAGER, CITY OF
            TX - LEASE AGREEMENT                                                                                               DENTON1659 SPENCER ROAD,
                                                                                                                               DENTON, TX 76205

2. 176      2021-11-15 REAL PROPERTY -              2031-11-14       REAL1089                 JOBE RANCH FAMILY LIMITED        1150 SOUTHVIEW DRIVE, EL
            COTTONWOOD 1 DATASITE                                                             PARTNERSHIP                      PASO,TEXAS 79928
            LOCATION - TERM SURFACE LEASE
            AGREEMENT

2. 177      2021-09-30 REAL PROPERTY - 3.25         2026-10-31       REAL1091                 MINNKOTA POWER COOPERATIVE, INC. 5301 32NDAVE S., GRAND
            ACRES IN NORTH DAKOTA TO                                                                                           FORKS, NORTH DAKOTA 58201
            CONSTRUCT 25 SQ FT BUILDING AND
            IMPROVEMENTS - PRAIRIE SITE
            GROUND LEASE AGREEMENT

2. 178      2021-09-30 REAL PROPERTY - ND           2026-10-31       REAL1092                 MINNKOTA POWER COOPERATIVE, INC. 5301 32NDAVE S., GRAND
            LEASE - PRAIRIE SITE COMMERCIAL                                                                                    FORKS, NORTH DAKOTA 58201
            LEASE AGREEMENT

2. 179      2018-10-09 REAL PROPERTY - OFFICE                        REAL1093                 NCRDIBLE PROPERTIES              13751 LUNA DRIVE, NAPLES, FL
            SPACE FOR JIM CLEVELAND AND                                                                                        34109
            CAROL HAINES - RENTAL AGREEMENT

2. 180      2021-12-13 REAL PROPERTY - AUSTIN       2023-09-30       REAL1094                 PEERLESS EVENTS & TENTS LLC      4101 SMITH SCHOOL ROAD, SUITE
            WAREHOUSE SUBLEASE (4201 SUPPLY                                                                                    200, AUSTIN, TX 78744
            COURT, SUITE 200, AUSTIN - 10,266 SQ
            FT) - CONSENT TO SUBLEASE AND
            SUBLEASE AGREEMENT

2. 181      2019-06-19 REAL PROPERTY - TEMP         2022-12-31       REAL1096                 WORKSMITH, INC.                  210 BARTON SPRINGS ROAD
            HQ - SUBLEASE WITH CONTINUING                                                                                      SUITE 275, AUSTIN TX 78704
            LIABILITY OF LESSEE AND
            ASSUMPTION AND INDEMNITY BY
            SUBLESSEE DATED 01.26.2022

2. 182      2022-08-01 REAL PROPERTY - TEMP         2023-12-31       REAL1097                 WORKSMITH, INC.                  210 BARTON SPRINGS RD AUSTIN,
            HQ - 1ST AMENDMENT TO SUBLEASE                                                                                     TRAVIS COUNTY, TEXAS 78704
            AGREEMENT DATED 01.26.22



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Suppliers

2. 183      2021-10-19 PURCHASE OF MINERS -                      SUPPLY1098                ATLAS TECHNOLOGY MANAGEMENT     9 RAFFLES PLACE, #26-01,
            SALES AND PURCHASE AGREEMENT                                                   PTE. LTD.                       REPUBLICPLAZA, SINGAPORE
                                                                                                                           048619

2. 184      2021-03-17 PURCHASE OF MINERS -                      SUPPLY1103                BITMAIN TECHNOLOGIES LIMITED    UNIT A1 OF UNIT A, 11TH FLOOR,
            FUTURES SALES AND PURCHASE                                                                                     SUCCESS
            AGREEMENT                                                                                                      COMMERCIALBUILDING, 245-251
                                                                                                                           HENNESSY ROAD, HONG KONG

2. 185      2021-04-22 PURCHASE OF MINERS -                      SUPPLY1100                BITMAIN TECHNOLOGIES LIMITED    UNIT A1 OF UNIT A, 11TH FLOOR,
            NON-FISED PRICE SALES AND                                                                                      SUCCESS
            PURCHASE AGREEMENT                                                                                             COMMERCIALBUILDING, 245-251
                                                                                                                           HENNESSY ROAD, HONG KONG

2. 186      2021-04-22 PURCHASE OF MINERS -                      SUPPLY1102                BITMAIN TECHNOLOGIES LIMITED    UNIT A1 OF UNIT A, 11TH FLOOR,
            NON-FIXED PRICE SALES AND                                                                                      SUCCESS
            PURCHASE AGREEMENT                                                                                             COMMERCIALBUILDING, 245-251
                                                                                                                           HENNESSY ROAD, HONG KONG

2. 187      2021-10-14 PURCHASE OF MINERS -                      SUPPLY1101                BITMAIN TECHNOLOGIES LIMITED    UNIT A1 OF UNIT A, 11TH FLOOR,
            NON-FIXED PRICE SALES AND                                                                                      SUCCESS
            PURCHASE AGREEMENT                                                                                             COMMERCIALBUILDING, 245-251
                                                                                                                           HENNESSY ROAD, HONG KONG

2. 188      2021-12-29 PURCHASE OF MINERS -                      SUPPLY1104                BITMAIN TECHNOLOGIES LIMITED    UNIT A1 OF UNIT A, 11TH FLOOR,
            NON-FIXED PRICE SALES AND                                                                                      SUCCESS
            PURCHASE AGREEMENT                                                                                             COMMERCIALBUILDING, 245-251
                                                                                                                           HENNESSY ROAD, HONG KONG

2. 189      2021-09-03 POWER RELATED - POWER                     SUPPLY1105                CITY OF DENTON DBA DENTON       1659 SPENCER RD, DENTON, TX
            PURCHASE AGREEMENT                                                             MUNICIPAL ELECTRIC              76205

2. 190      2018-10-01 POWER RELATED -                           SUPPLY1107                DUKE ENERGY CAROLINAS, LLC      6551 DERBY LANE NW, CONCORD,
            ELECTRIC SERVICE AGREEMENT                                                                                     NC 28027

2. 191      2019-06-10 POWER RELATED -                           SUPPLY1106                DUKE ENERGY CAROLINAS, LLC      6551 DERBY LANE NW, CONCORD,
            ELECTRIC SERVICE AGREEMENT NO.                                                                                 NC 28027
            7315-B


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Core Scientific Operating Company                                                                                             Case Number:           22-90343

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Suppliers

2. 192      2017-12-15 POWER RELATED -                           SUPPLY1109                MURPHY ELECTRIC POWER BOARD         107 PEACHTREE STREET,
            INDUSTRIAL POWER CONTRACT                                                                                          MURPHY NC 28906

2. 193      2018-01-01 POWER RELATED -                           SUPPLY1108                MURPHY ELECTRIC POWER BOARD         PO BOX 1009MURPHY, NC 28906
            INVESTMENT CREDIT AGREEMENT NO.
            75208708

2. 194      2021-09-30 POWER RELATED -                           SUPPLY1111                NODAK ELECTRIC COOPERATIVE, INC.    4000 32ND AVE S, GRAND FORKS,
            ELECTRIC SERVICE AGREEMENT                                                                                         ND 58201
            MINING SITE

2. 195      2022-03-01 POWER RELATED -                           SUPPLY1112                OKLAHOMA GAS AND ELECTRIC           PO BOX 321, OKLAHOMA CITY, OK
            ELECTRIC SERVICE AGREEMENT                                                     COMPANY (OG&E)                      73101-0321
            (MINIMUM BILL)

2. 196      2018-09-01 POWER RELATED -                           SUPPLY1115                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            INTERRUPITVE POWER PRODUCT                                                                                         DRIVEKNOXVILLE, TN 37902
            AGREEMENT #71610706 IP30

2. 197      2019-03-12 POWER RELATED - FIRM                      SUPPLY1119                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            POWER CONTRACT (NO. 80198933)                                                                                      DRIVEKNOXVILLE, TN 37902

2. 198      2019-03-14 POWER RELATED -                           SUPPLY1128                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            SUPPLEMENT NO. 1 (STARTUP AND                                                                                      DRIVEKNOXVILLE, TN 37902-1401
            TESTING POWER AGREEMENT)

2. 199      2019-05-01 POWER RELATED -                           SUPPLY1123                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 2                                                                                   DRIVEKNOXVILLE, TN 37902-1401

2. 200      2019-10-31 POWER RELATED -                           SUPPLY1127                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 3                                                                                   DRIVEKNOXVILLE, TN 37902-1401

2. 201      2019-10-31 POWER RELATED -                           SUPPLY1121                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 4                                                                                   DRIVEKNOXVILLE, TN 37902-1401

2. 202      2019-12-31 POWER RELATED -                           SUPPLY1118                TENNESSEE VALLEY AUTHORITY (TVA)    400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 5                                                                                   DRIVEKNOXVILLE, TN 37902


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Suppliers

2. 203      2020-01-31 POWER RELATED -                            SUPPLY1120                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            CONTRACT NO. 80198933,                                                                                               DRIVEKNOXVILLE, TN 37902
            SUPPLEMENT 6

2. 204      2020-01-31 POWER RELATED -                            SUPPLY1117                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            STARTUP TESTING POWER AGT,                                                                                           DRIVEKNOXVILLE, TN 37902
            CONTRACT NO. 80198933,
            SUPPLEMENT NO 7

2. 205      2020-02-14 POWER RELATED -                            SUPPLY1116                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 8                                                                                     DRIVEKNOXVILLE, TN 37902
            (INVESTMENT CREDIT AGT)

2. 206      2020-04-28 POWER RELATED -                            SUPPLY1126                TENNESSEE VALLEY AUTHORITY (TVA)     26 CENTURY BLVD, SUITE
            CURTAILMENT PROGRAM -                                                                                                100NASHVILLE, TN 34214
            INTERRUPTIBLE POWER PRODUCT
            (IP5) AGT #98829859

2. 207      2020-04-28 POWER RELATED - SUPP                       SUPPLY1114                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            NO 09 (IP TERM AND TERMINATION                                                                                       DRIVEKNOXVILLE, TN 37902
            AMENDMENT)

2. 208      2020-04-30 POWER RELATED -                            SUPPLY1124                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 10                                                                                    DRIVEKNOXVILLE, TN 37902-1401

2. 209      2020-12-09 POWER RELATED -                            SUPPLY1113                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            CONTRACT NO. 8019893, SUPP NO 11                                                                                     DRIVEKNOXVILLE, TN 37902-1401
            (PERFORMANCE ASSURANCE
            AMENDMENT)

2. 210      2021-02-17 POWER RELATED -                            SUPPLY1122                TENNESSEE VALLEY AUTHORITY (TVA)     400 WEST SUMMIT HILL
            CONTRACT NO. 80198933, SUPP NO 12                                                                                    DRIVEKNOXVILLE, TN 37902-1401

2. 211      2021-09-21 POWER RELATED -                            SUPPLY1129                THE BOARD OF WATER, LIGHT AND        1200 VD PARROTT, JR.
            ELECTRIC SERVICE AGREEMENT                                                      SINKING FUND COMMISSIONERS OF        PARKWAY,PO BOX 869DALTON,
                                                                                            THE CITY OF DALTON, GA DBA DALTON    GA 30722
                                                                                            UTILITIES




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All Other Agreements

2. 212      2021-01-25 PROFESSIONAL SERVICES -    2024-01-25       AOVS1133                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
            PEST CONTROL AGREEMENT                                                                                              30721
            (MARBLE, NC)

2. 213      2021-04-01 PROFESSIONAL SERVICES -    2024-04-01       AOVS1132                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DR, DALTON, GA
            LAWN CARE SERVICE AGREEMENT                                                                                         30721
            (DALTON, GA)

2. 214      LAWN CARE SERVICE AGREEMENT                            AOVS1463                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DR, DALTON, GA
            (DALTON, GA)                                                                                                        30721

2. 215      PEST CONTROL AGREEMENT                                 AOVS1464                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
            (MARBLE, NC)                                                                                                        30721

2. 216      2021-08-25 PROFESSIONAL SERVICES -                     AOVS1135                 ACCUFORCE HR SOLUTIONS, LLC         1567 N EASTMAN ROAD, SUITE
            STAFFING AGREEMENT                                                                                                  2KINGSPORT, TN 37664

2. 217      STAFFING AGREEMENT                                     AOVS1466                 ACCUFORCE HR SOLUTIONS, LLC         1567 N EASTMAN ROAD, SUITE
                                                                                                                                2KINGSPORT, TN 37664

2. 218      EQUIPMENT PROCUREMENT                                  OTHER1436                ADQ FINANCIAL SERVICES LLC          FLOOR 10, CAPITAL GATE
            AGREEMENT                                                                                                           BUILDING, ABU DHABI, UNITED
                                                                                                                                ARAB EMIRATES

2. 219      2021-11-30 HUMAN RESOURCE                              AOVS1138                 ALTRU EMPLOYER HEALTH SOLUTIONS 860 S COLUMBIA RD GRAND
            SERVICES - STATEMENT OF WORK                                                                                    FORKS ND 58201 US

2. 220      STATEMENT OF WORK                                      AOVS1471                 ALTRU EMPLOYER HEALTH SOLUTIONS 860 S COLUMBIA RD GRAND
                                                                                                                            FORKS ND 58201 US

2. 221      AWS CUSTOMER AGREEMENT                                 AOVS1472                 AMAZON WEB SERVICES, INC.           410 TERRY AVENUE
                                                                                                                                NORTH,SEATTLE, WA 98109-5210

2. 222      2021-11-17 PROFESSIONAL SERVICES -    2022-11-17       AOVS1139                 AMERICAN SECURITY AND               375 LITTLE RANGER
            SECURITY GUARD SERVICES                                                         PROTECTION SERVICE                  ROADMURPHY NC 28906
            CONTRACT



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All Other Agreements

2. 223      SECURITY GUARD SERVICES                              AOVS1473                 AMERICAN SECURITY AND            375 LITTLE RANGER
            CONTRACT                                                                      PROTECTION SERVICE               ROADMURPHY NC 28906

2. 224      2021-03-02 TAX AND ACCOUNTING                        AOVS1142                 ANDERSEN TAX LLC                 1200 FIFTH AVENUE, SUITE 1600,
            SERVICES - ENGAGEMENT LETTER                                                                                   SEATTLE, WA 98101

2. 225      ENGAGEMENT LETTER                                    AOVS1476                 ANDERSEN TAX LLC                 1200 FIFTH AVENUE, SUITE 1600,
                                                                                                                           SEATTLE, WA 98101

2. 226      DATA SERVICES DISTRIBUTION                           OTHER1437                ARROW ENTERPRISE COMPUTING       7459 S LIMA ST #1ENGLEWOOD,
            AGREEMENT                                                                     SOLUTIONS, INC.                  CO 80112

2. 227      AIA DOCUMENT A101-1997, PURCHASE                     AOVS1477                 BERGSTROM ELECTRIC INC           3100 N WASHINGTON ST, GRAND
            ORDER PO21607                                                                                                  FORKS, ND 58203

2. 228      CO-LOCATION HOSTING SERVICES                         OTHER1438                BITMAIN SALES (USA) INC.         850 NEW BURTON ROAD, SUITE
            AGREEMENT                                                                                                      201,DOVER, COUNTY OF
                                                                                                                           KENT,DE, USA 19904

2. 229      COOPERATION AGREEMENT                                OTHER1439                BITMAIN TECHNOLOGIES GEORGIA     900 OLD ROSWELL LAKES
                                                                                          LIMITED                          PARKWAY SUITE 310 ROSWELL
                                                                                                                           GA 30076

2. 230      HOST ACCOMMODATION AGREEMENT                         OTHER1441                BLOCKFI LENDING LLC              201 MONTGOMERY ST, SUITE 263,
            (HAA)                                                                                                          JERSEY CITY NJ 07302

2. 231      2022-01-10 LEGAL SERVICES -                          AOVS1147                 BLUE RIDGE LAW & POLICY, P.C.    888 17TH STREET, NW, SUITE 810,
            ENGAGEMENT LETTER                                                                                              WASHINGTON DC 20006

2. 232      ENGAGEMENT LETTER                                    AOVS1482                 BLUE RIDGE LAW & POLICY, P.C.    888 17TH STREET, NW, SUITE 810,
                                                                                                                           WASHINGTON DC 20006

2. 233      MASTER SERVICES AGREEMENT &                          AOVS1483                 BRING LIGHT & SOUND, LLC         1603 SHOAL CREEK BLVD
            WORK ORDER
                                                                                                                           AUSTIN, TX 78701

2. 234      PROPOSAL FOR IMMERSION MODULAR                       AOVS1487                 CES CORPORATION                  28029-108 AVENUEACHESON AB
            DATA CENTERS                                                                                                   T7Z 6P7CANADA

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All Other Agreements

2. 235      2021-02-10 OTHER PROFESSIONAL                          AOVS1151                 CIEMAT                          C/JACINTO BENAVENTE 108-1C,
            SERVICES - CONTRACT FOR THE                                                                                     10004 CACERE SPAIN
            PROVISION OF INVESTIGATION
            SERVICES

2. 236      2021-11-16 PROFESSIONAL SERVICES -    2022-11-17       AOVS1152                 CITADEL SECURITIES CORPORATE    131 S. DEARBORN, CHICAGO IL
            MASTER SERVICES AGREEMENT &                                                     SOLUTIONS LLC                   60603
            SOW

2. 237      MASTER SERVICES AGREEMENT &                            AOVS1488                 CITADEL SECURITIES CORPORATE    131 S. DEARBORN, CHICAGO IL
            SOW                                                                             SOLUTIONS LLC                   60603

2. 238      2021-12-03 SOFTWARE/SUBSCRIPTION      2023-12-03       AOVS1153                 CLOUDFLARE, INC.                101 TOWNSEND STREET, SAN
            SERVICES - ENTERPRISE SERVICE                                                                                   FRANCISCO, CA 94107
            ORDER FORM

2. 239      ENTERPRISE SERVICE ORDER FORM                          AOVS1489                 CLOUDFLARE, INC.                101 TOWNSEND STREET, SAN
                                                                                                                            FRANCISCO, CA 94107

2. 240      2019-01-29 OTHER PROFESSIONAL         2022-01-31       AOVS1157                 COMPUTERSHARE TRUST COMPANY,    250 ROYALL STREET, CANTON,
            SERVICES - AGENCY SERVICES                                                      N.A.                            MASSACHUSETTS 02021
            AGREEMENT

2. 241      AGENCY SERVICES AGREEMENT                              AOVS1493                 COMPUTERSHARE TRUST COMPANY,    250 ROYALL STREET, CANTON,
                                                                                            N.A.                            MASSACHUSETTS 02021

2. 242      2019-04-25 LEGAL SERVICES -                            AOVS1161                 COOLEY LLP                      1299 PENNSYLVANIA AVENUE NW,
            ENGAGEMENT LETTER                                                                                               SUITE 700WASHINGTON DC
                                                                                                                            20004-2400

2. 243      ENGAGEMENT LETTER                                      AOVS1498                 COOLEY LLP                      1299 PENNSYLVANIA AVENUE NW,
                                                                                                                            SUITE 700WASHINGTON DC
                                                                                                                            20004-2400

2. 244      2021-01-22 PROFESSIONAL SERVICES -                     AOVS1163                 CROSSCOUNTRY CONSULTING LLC     1600 TYSONS BLVD, STE 1100,
            MASTER SERVICES AGREEMENT                                                                                       MCLEAN, VA 22102




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Schedule G: Executory Contracts and Unexpired Leases
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All Other Agreements

2. 245      2021-01-22 PROFESSIONAL SERVICES -                     AOVS1165                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 1                                                                                                           MCLEAN, VA 22102

2. 246      2021-01-22 PROFESSIONAL SERVICES -    2021-04-02       AOVS1166                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 2                                                                                                           MCLEAN, VA 22102

2. 247      2021-01-22 PROFESSIONAL SERVICES -                     AOVS1162                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 4                                                                                                           MCLEAN, VA 22102

2. 248      2021-01-22 PROFESSIONAL SERVICES -    2022-11-30       AOVS1167                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 6                                                                                                           MCLEAN, VA 22102

2. 249      2022-01-01 PROFESSIONAL SERVICES -                     AOVS1168                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 3                                                                                                           MCLEAN, VA 22102

2. 250      2022-06-01 PROFESSIONAL SERVICES -    2022-08-31       AOVS1164                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
            PO 5                                                                                                           MCLEAN, VA 22102

2. 251      MASTER SERVICES AGREEMENT                              AOVS1501                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102

2. 252      PO 1                                                   AOVS1503                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102

2. 253      PO 2                                                   AOVS1504                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102

2. 254      PO 3                                                   AOVS1506                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102

2. 255      PO 4                                                   AOVS1500                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102

2. 256      PO 5                                                   AOVS1502                 CROSSCOUNTRY CONSULTING LLC    1600 TYSONS BLVD, STE 1100,
                                                                                                                           MCLEAN, VA 22102




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2. 257      PO 6                                                   AOVS1505                 CROSSCOUNTRY CONSULTING LLC        1600 TYSONS BLVD, STE 1100,
                                                                                                                               MCLEAN, VA 22102

2. 258      2022-01-10 PROFESSIONAL SERVICES -    2002-01-10       AOVS1170                 CYPRESS ADVOCACY, LLC DBA          655 NEW YORK AVE, NW, SUITE
            AGREEMENT                                                                       MINDSET                            820, WASHINGTON, DC 20001

2. 259      AGREEMENT                                              AOVS1508                 CYPRESS ADVOCACY, LLC DBA          655 NEW YORK AVE, NW, SUITE
                                                                                            MINDSET                            820, WASHINGTON, DC 20001

2. 260      ORDER FORM                                             AOVS1518                 DOCUSIGN,INC.                      221 MAIN STREET, SUITE
                                                                                                                               1000SAN FRANCISCO, CA 94105

2. 261      2018-06-25 CONSTRUCTION                                AOVS1180                 DUKE ENERGY CAROLINAS, LLC         6551 DERBY LANE NW, CONCORD,
            SERVICES - MASTER SERVICES                                                                                         NC 28027
            AGREEMENT

2. 262      MASTER SERVICES AGREEMENT                              AOVS1519                 DUKE ENERGY CAROLINAS, LLC         6551 DERBY LANE NW, CONCORD,
                                                                                                                               NC 28027

2. 263      2021-08-14 PROFESSIONAL SERVICES -                     AOVS1182                 EMPLOYER SOLUTIONS RESOURCES,      PO BOX 92960CLEVELAND, OH
            STATEMENT OF WORK                                                               LLC                                44194

2. 264      STATEMENT OF WORK                                      AOVS1522                 EMPLOYER SOLUTIONS RESOURCES,      PO BOX 92960CLEVELAND, OH
                                                                                            LLC                                44194

2. 265      2021-05-25 TAX AND ACCOUNTING                          AOVS1183                 ERNST & YOUNG LLP                  920 FIFTH AVENUE, SUITE 900,
            SERVICES - STATEMENT OF WORK -                                                                                     SEATTLE WA 98104
            SECTION 382 STUDY

2. 266      STATEMENT OF WORK - SECTION 382                        AOVS1523                 ERNST & YOUNG LLP                  920 FIFTH AVENUE, SUITE 900,
            STUDY                                                                                                              SEATTLE WA 98104

2. 267      LETTER AGREEMENT RE ROOF TOP                           AOVS1527                 FELKER CONSTRUCTION CO., INC.      PO BOX 1647, DALTON, GA 30722
            EXHAUST AIR DEFLECTORS

2. 268      2021-10-07 SOFTWARE/SUBSCRIPTION      2026-10-07       AOVS1186                 FIDELITY WORKPLACE SERVICES LLC    245 SUMMER STREET, V7A,
            SERVICES - MAIN SERVICES                                                                                           BOSTON, MA 02210
            AGREEMENT

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2. 269      MAIN SERVICES AGREEMENT                              AOVS1528                 FIDELITY WORKPLACE SERVICES LLC    245 SUMMER STREET, V7A,
                                                                                                                             BOSTON, MA 02210

2. 270      2021-10-07 PROFESSIONAL SERVICES                     AOVS1187                 FIDELITY WORKSPACE SERVICES LLC    245 SUMMER STREET, V7A,
            AND SOFTWARE SERVICES - FIRST                                                                                    BOSTON, MA 02210
            AMENDMENT TO MASTER SERVICES
            AGREEMENT

2. 271      FIRST AMENDMENT TO MASTER                            AOVS1529                 FIDELITY WORKSPACE SERVICES LLC    245 SUMMER STREET, V7A,
            SERVICES AGREEMENT                                                                                               BOSTON, MA 02210

2. 272      SIDE LETTER AGREEMENT                                OTHER1446                FOUNDRY DIGITAL LLC FKA DGC        250 PARK AVENUE SOUTH, 5TH
                                                                                          FOUNDRY LLC                        FLOOR, NEW YORK, NY 10003

2. 273      AIA DOCUMENT A201-2017                               AOVS1532                 FRANK X SPENCER & ASSOCIATES       1130 MONTANA AVEEL PASO, TX
                                                                                                                             79902

2. 274      SOW NO. 1                                            AOVS1536                 FRANK X SPENCER AND ASSOCIATES,    1130 MONTANA AVEEL PASO, TX
                                                                                          INC.                               79902

2. 275      SOW NO. 3                                            AOVS1534                 FRANK X SPENCER AND ASSOCIATES,    1130 MONTANA AVEEL PASO, TX
                                                                                          INC.                               79902

2. 276      SOW NO. 5                                            AOVS1535                 FRANK X SPENCER AND ASSOCIATES,    1130 MONTANA AVEEL PASO, TX
                                                                                          INC.                               79902

2. 277      SOW NO. 6                                            AOVS1533                 FRANK X SPENCER AND ASSOCIATES,    1130 MONTANA AVEEL PASO, TX
                                                                                          INC.                               79902

2. 278      2021-06-14 INTERNET SERVICES -                       AOVS1190                 FRONTIER COMMUNICATIONS OF         111 FIELD STREET, ROCHESTER,
            SERVICES AGREEMENT                                                            AMERICA, INC.                      NY 14620

2. 279      SERVICES AGREEMENT                                   AOVS1537                 FRONTIER COMMUNICATIONS OF         111 FIELD STREET, ROCHESTER,
                                                                                          AMERICA, INC.                      NY 14620

2. 280      2022-01-11 DIGITAL ASSET STORAGE                     AOVS1191                 GENESIS CUSTODY LIMITED            10 QUEEN STREET
            SERVICES - DIGITAL ASSET STORAGE                                                                                 PLACE,LONDON, UNITED
            SERVICES AGREEMENT                                                                                               KINGDOM, EC4R 1AG

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All Other Agreements

2. 281      DIGITAL ASSET STORAGE SERVICES                     AOVS1538                 GENESIS CUSTODY LIMITED              10 QUEEN STREET
            AGREEMENT                                                                                                        PLACE,LONDON, UNITED
                                                                                                                             KINGDOM, EC4R 1AG

2. 282      IT SERVICES - GOOGLE CLOUD                         AOVS1193                 GOOGLE, LLC                          1600 AMPHITHEATRE PARKWAY,
            MASTER AGREEMENT                                                                                                 MOUNTAIN VIEW, CA 94043

2. 283      GOOGLE CLOUD MASTER AGREEMENT                      AOVS1540                 GOOGLE, LLC                          1600 AMPHITHEATRE PARKWAY,
                                                                                                                             MOUNTAIN VIEW, CA 94043

2. 284      SUB-LICENSE AND DELEGATION                         OTHER1447                GRYPHON DIGITAL MINING, INC.         5953 MABEL RD UNIT 138 LAS
            AGREEMENT                                                                                                        VEGAS NV 89110

2. 285      DBIA AGREEMENT NO. 530                             AOVS1545                 HILL & WILKINSON CONSTRUCTION        2730 TELECOM PARKWAY, SUITE
                                                                                        GROUP, LTD DBA HILL & WILKINSON      120, RICHARDSON, TX 75082
                                                                                        GENERAL CONTRACTORS

2. 286      DESIGN-BUILD CHANGE ORDER 1                        AOVS1546                 HILL & WILKINSON CONSTRUCTION        2730 TELECOM PARKWAY, SUITE
                                                                                        GROUP, LTD. DBA HILL & WILKINSON     120, RICHARDSON, TX 75082
                                                                                        GENERAL CONTRACTORS

2. 287      AGREEMENT FOR ENGINEERING                          AOVS1548                 HOLLOWAY, UPDIKE AND BELLEN, INC.    818 EAST SIDE BOULEVARD,
            SERVICES FOR SITE IMPROVEMENTS                                                                                   MUSKOGEE, OK 74403

2. 288      AIA DOCUMENT A102-2017                             AOVS1550                 HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WEST, BOERNE, TX
                                                                                                                         78006

2. 289      AIA DOCUMENT A201-2017                             AOVS1552                 HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WESTBOERNE, TX
                                                                                                                         78006

2. 290      CHANGE ORDER 01                                    AOVS1551                 HUBAND-MANTOR CONSTRUCTION, INC. 43000 IH-10 WESTBOERNE, TX
                                                                                                                         78006

2. 291      2021-10-01 BENEFITS - CUSTOMER                     AOVS1199                 INFORARMOR, INC (KNOWN AS            PO BOX 650514DALLAS, TX 75265-
            AGREEMENT                                                                   ALLSTATE IDENTITY PROTECTION)        0514

2. 292      CUSTOMER AGREEMENT                                 AOVS1555                 INFORARMOR, INC (KNOWN AS            PO BOX 650514DALLAS, TX 75265-
                                                                                        ALLSTATE IDENTITY PROTECTION)        0514

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2. 293      2021-11-22 PROFESSIONAL SERVICES -                     AOVS1200                 INTRADO DIGITAL MEDIA, LLC     11808 MIRACLE HILLS DRIVE,
            MASTER SERVICES AGREEMENT                                                                                      OMAHA, NE 68154

2. 294      MASTER SERVICES AGREEMENT                              AOVS1556                 INTRADO DIGITAL MEDIA, LLC     11808 MIRACLE HILLS DRIVE,
                                                                                                                           OMAHA, NE 68154

2. 295      EXHIBIT A - SOW (BID LETTER REV 3,                     AOVS1559                 J.W. DIDADO ELECTRIC           1033 KELLY AVENUE, AKRON OH
            SUBSTATION AND DISTRIBUTION)                                                                                   44306

2. 296      EXHIBIT B - DBIA DOCUMENT NO 525                       AOVS1558                 J.W. DIDADO ELECTRIC           1033 KELLY AVE AKRON, OH 44306
            (SUBSTATION) DATED 01.5.22

2. 297      SUBCONTRACT SERVICES                                   AOVS1560                 J.W. DIDADO ELECTRIC, LLC      1033 KELLY AVENUE, AKRON, OH
            AGREEMENT                                                                                                      44306

2. 298      VENDOR AGREEMENT                                       AOVS1567                 LIVEPERSON, INC.               530 7TH AVE, FLOOR M1, NEW
                                                                                                                           YORK, NY 10018

2. 299      AIA DOCUMENT A101-2017                                 AOVS1568                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
                                                                                                                           78209

2. 300      AIA DOCUMENT G701-2017, CHANGE                         AOVS1577                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
            ORDER                                                                                                          78209

2. 301      PROPOSAL (COT - MASS GRADING &                         AOVS1576                 LML SERVICES LLC DBA FLOWTX    8610 BROADWAY, STE 211, SAN
            WATER WELL)                                                                                                    ANTONIO, TX 78217

2. 302      PROPOSAL (COT SITE, ROADS AND                          AOVS1569                 LML SERVICES LLC DBA FLOWTX    8610 BROADWAY, STE 211, SAN
            FENCING)                                                                                                       ANTONIO, TX 78217

2. 303      PROPOSAL (COT1, MASS GRADING                           AOVS1572                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
            AND WATER WELL)                                                                                                78209

2. 304      AMENDMENT NO. 01 - AIA DOCUMENT                        AOVS1580                 M ARTHUR GENSLER JR &          1011 S CONGRESS AVE, BLDG 1,
            G802-2017                                                                       ASSOCIATES, INC.               STE 200AUSTIN, TX 78704




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2. 305      AIA DOCUMENT B152-2019                             AOVS1581                 M. ARTHUR GENSLER JR. &            1011 S CONGRESS
                                                                                        ASSOCIATES, INC.                   AVENUE,BUILDING 1, SUITE
                                                                                                                           200AUSTIN, TX 78704

2. 306      WORK AUTHORIZATION FOR                             AOVS1582                 M. ARTHUR GENSLER JR. &            1011 S CONGRESS AVE, BLDG 1,
            ADDITIONAL SERVICES                                                         ASSOCIATES, INC.                   STE 200, AUSTIN, TX 7870

2. 307      INTERIM AGREEMENT FOR DESIGN                       AOVS1583                 M. ARTHUR GENSLER, JR. &           1011 S CONGRESS
            SERVICES                                                                    ASSOCIATES, INC.                   AVENUE,BUILDING 1, SUITE
                                                                                                                           200AUSTIN, TX 78704

2. 308      GMP AMENDMENT 2                                    AOVS1586                 MCCARTHY BUILDING COMPANIES INC    12851 MANCHESTER RD, SAINT
                                                                                                                           LOUIS, MISSOURI 63131-1802

2. 309      GMP AMENDMENT 3                                    AOVS1587                 MCCARTHY BUILDING COMPANIES INC    12851 MANCHESTER RD, SAINT
                                                                                                                           LOUIS, MISSOURI 63131-1802

2. 310      AIA DOCUMENT A102-2017                             AOVS1589                 MCCARTHY BUILDING COMPANIES, INC. 12001 N. CENTRAL EXPWY, SUITE
                                                                                                                          400, DALLAS, TX 75243

2. 311      ESCROW AGREEMENT                                   OTHER1449                MCCARTHY BUILDING COMPANIES, INC. 12851 MANCHESTER ROAD
                                                                                                                          ST LOUIS, MO 63131

2. 312      GMP AMENDMENT 01                                   AOVS1588                 MCCARTHY BUILDING COMPANIES, INC. 12851 MANCHESTER RD, SAINT
                                                                                                                          LOUIS, MISSOURI 63131-1802

2. 313      RENEWABLE ENERGY CERTIFICATE                       OTHER1450                MINNKOTA POWER COOPERATIVE, INC. 5301 32ND AVE S, GRAND FORKS,
            PURCHASE AND SALE AGREEMENT                                                                                  ND 58201

2. 314      AIA DOCUMENT A201-2017                             AOVS1593                 MJDII ARCHITECTS, INC.             16775 ADDISON ROAD, SUITE
                                                                                                                           310ADDISON, TX 75001

2. 315      AIA DOCUMENT B105-2017                             AOVS1591                 MJDII ARCHITECTS, INC.             16775 ADDISON ROAD, SUITE 310,
                                                                                                                           ADDISON, TX 75001

2. 316      2021-10-25 LEGAL SERVICES -                        AOVS1211                 MORGAN, LEWIS & BOCKIUS LLP        1000 LOUSIANA STREET, SUITE
            ENGAGEMENT LETTER                                                                                              4000HOUSTON, TX 77002


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2. 317      ENGAGEMENT LETTER                                      AOVS1594                 MORGAN, LEWIS & BOCKIUS LLP        1000 LOUSIANA STREET, SUITE
                                                                                                                               4000HOUSTON, TX 77002

2. 318      2021-05-12 PROFESSIONAL SERVICES -                     AOVS1213                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
            SOW - CONSULTING SERVICES                                                                                          SEATTLE, WA 98104

2. 319      2021-10-13 PROFESSIONAL SERVICES -                     AOVS1212                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
            SOW - CONSULTING SERVICES                                                                                          SEATTLE, WA 98104

2. 320      SOW - CONSULTING SERVICES                              AOVS1595                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
                                                                                                                               SEATTLE, WA 98104

2. 321      SOW - CONSULTING SERVICES                              AOVS1596                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
                                                                                                                               SEATTLE, WA 98104

2. 322      2021-06-15 LEGAL SERVICES -                            AOVS1216                 MURPHY & GRANTLAND, P.A.           4406-B FOREST DRIVE, PO BOX
            ENGAGEMENT LETTER                                                                                                  6648COLUMBIA SC 59206

2. 323      ENGAGEMENT LETTER                                      AOVS1599                 MURPHY & GRANTLAND, P.A.           4406-B FOREST DRIVE, PO BOX
                                                                                                                               6648COLUMBIA SC 59206

2. 324      REAL ESTATE DEVELOPMENT                                OTHER1453                MUSKOGEE CITY-COUNTY PORT          ATTN: KIMBRA SCOTTPO BOX
            AGREEMENT                                                                       AUTHORITY                          2819, MUSKOGEE, OK 74402

2. 325      2021-10-27 SOFTWARE SERVICES -                         AOVS1218                 NASDAQ CORPORATE SOLUTIONS, LLC    151 W 42ND, ST.,NEW YORK, NY
            MASTER SERVICES AGREEMENT                                                                                          10036UNITED STATES OF
                                                                                                                               AMERICA

2. 326      2021-10-27 SOFTWARE SERVICES -        2024-10-26       AOVS1217                 NASDAQ CORPORATE SOLUTIONS, LLC    151 WEST 42ND STREETNEW
            SERVICE ORDER                                                                                                      YORK, NEW YORK 10036UNITED
                                                                                                                               STATES

2. 327      MASTER SERVICES AGREEMENT                              AOVS1601                 NASDAQ CORPORATE SOLUTIONS, LLC    151 W 42ND, ST.,NEW YORK, NY
                                                                                                                               10036UNITED STATES OF
                                                                                                                               AMERICA




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2. 328      SERVICE ORDER                                          AOVS1600                 NASDAQ CORPORATE SOLUTIONS, LLC    151 WEST 42ND STREETNEW
                                                                                                                               YORK, NEW YORK 10036UNITED
                                                                                                                               STATES

2. 329      2021-10-22 SOFTWARE/SUBSCRIPTION      2024-10-22       AOVS1219                 NAVEX GLOBAL, INC.                 5500 MEADOWS ROAD, SUITE 500,
            SERVICES - ORDER FORM                                                                                              LAKE OSWEGO, OR 97035

2. 330      ORDER FORM                                             AOVS1602                 NAVEX GLOBAL, INC.                 5500 MEADOWS ROAD, SUITE 500,
                                                                                                                               LAKE OSWEGO, OR 97035

2. 331      2021-07-09 SOFTWARE/SUBSCRIPTION      2023-07-08       AOVS1221                 OKTA, INC.                         100 1ST STREETSAN
            SERVICES - ORDER FORM (Q-415322)                                                                                   FRANCISCO, CA 94105

2. 332      ORDER FORM (Q-415322)                                  AOVS1604                 OKTA, INC.                         100 1ST STREETSAN
                                                                                                                               FRANCISCO, CA 94105

2. 333      2022-01-01 PROFESSIONAL SERVICES -    2023-01-01       AOVS1224                 ORGDEV LLC                         20564 GERALD CLIFF DR. NE,
            SOW A-6                                                                                                            INDIANOLA, WA 98342

2. 334      SOW A-6                                                AOVS1607                 ORGDEV LLC                         20564 GERALD CLIFF DR. NE,
                                                                                                                               INDIANOLA, WA 98342

2. 335      2021-06-29 ENERGY MANAGEMENT                           AOVS1228                 PRIORITY POWER MANAGEMENT, LLC     2201 E. LAMAR BLVD, SUITE
            AND CONSULTING SERVICES -                                                                                          275ARLINGTON, TX 76006
            ENERGY MANAGEMENT AND
            CONSULTING SERVICES AGREEMENT

2. 336      2021-08-06 CONSTRUCTION                                AOVS1227                 PRIORITY POWER MANAGEMENT, LLC     2201 E. LAMAR BLVD, SUITE
            SERVICES - ENERGY SERVICES                                                                                         275ARLINGTON, TX 76006
            AGREEMENT

2. 337      2021-08-24 CONSTRUCTION                                AOVS1229                 PRIORITY POWER MANAGEMENT, LLC     2201 E. LAMAR BLVD, SUITE
            SERVICES - FIRST AMENDMENT TO                                                                                      275ARLINGTON, TX 76006
            ENERGY SERVICES AGREEMENT

2. 338      ENERGY MANAGEMENT AND                                  AOVS1611                 PRIORITY POWER MANAGEMENT, LLC     2201 E. LAMAR BLVD, SUITE
            CONSULTING SERVICES AGREEMENT                                                                                      275ARLINGTON, TX 76006


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2. 339      ENERGY SERVICES AGREEMENT                            AOVS1610                 PRIORITY POWER MANAGEMENT, LLC    2201 E. LAMAR BLVD, SUITE
                                                                                                                            275ARLINGTON, TX 76006

2. 340      FIRST AMENDMENT TO ENERGY                            AOVS1612                 PRIORITY POWER MANAGEMENT, LLC    2201 E. LAMAR BLVD, SUITE
            SERVICES AGREEMENT                                                                                              275ARLINGTON, TX 76006

2. 341      PROJECT/CONSTRUCTION                                 AOVS1613                 PROCTOR MANAGEMENT                2314 BAHAMA ROAD, AUSTIN, TX
            MANAGEMENT CONSULTING                                                                                           78733
            SERVICES AGREEMENT

2. 342      2021-05-10 SOFTWARE/SUBSCRIPTION                     AOVS1230                 Q4 INC                            469 A KING STREET
            SERVICES - ORDER FORM                                                                                           WESTTORONTO, ONTARIO M5V
                                                                                                                            1K4

2. 343      ORDER FORM                                           AOVS1614                 Q4 INC                            469 A KING STREET
                                                                                                                            WESTTORONTO, ONTARIO M5V
                                                                                                                            1K4

2. 344      2021-05-10 SOFTWARE/SUBSCRIPTION    2023-05-09       AOVS1231                 Q4 INC.                           469 A KING STREET
            SERVICES - ORDER FORM (Q-65098)                                                                                 WESTTORONTO, ONTARIO
                                                                                                                            M5V1K4CANADA

2. 345      ORDER FORM (Q-65098)                                 AOVS1615                 Q4 INC.                           469 A KING STREET
                                                                                                                            WESTTORONTO, ONTARIO
                                                                                                                            M5V1K4CANADA

2. 346      2021-02-03 TAX AND ACCOUNTING                        AOVS1238                 RESOURCES CONNECTION LLC DBA      PO BOX 740909
            SERVICES - ENGAGEMENT LETTER                                                  RESOURCES GLOBAL                  LOS ANGELES, CA 90074-0909

2. 347      ENGAGEMENT LETTER                                    AOVS1624                 RESOURCES CONNECTION LLC DBA      PO BOX 740909
                                                                                          RESOURCES GLOBAL                  LOS ANGELES, CA 90074-0909

2. 348      2021-03-30 TAX AND ACCOUNTING                        AOVS1239                 RESOURCES CONNECTION LLC DBA      PO BOX 740909LOS ANGELES CA
            SERVICES - ENGAGEMENT LETTER                                                  RESOURCES GLOBAL                  90074-0909

                                                                                          PROFESSIONALS




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Core Scientific Operating Company                                                                                              Case Number:            22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                                 Address



All Other Agreements

2. 349      ENGAGEMENT LETTER                                      AOVS1625                 RESOURCES CONNECTION LLC DBA        PO BOX 740909LOS ANGELES CA
                                                                                            RESOURCES GLOBAL                    90074-0909

                                                                                            PROFESSIONALS

2. 350      ENGAGEMENT LETTER                                      AOVS1627                 ROBERT HALF ACCOUNTEMPS             13920 EASTGATE WAY, SUITE 420,
                                                                                            SALARIED PROFESSIONAL SERVICE       BELLEVUE, WA 98005

2. 351      2021-09-23 PROFESSIONAL SERVICES -                     AOVS1242                 SECURITAS SECURITY SERVICES USA,    1823 MCINTOSH ST. BLDG VIII, STE
            SECURITY SERVICES AGREEMENT                                                     INC.                                111BOWLING GREEN, KY 42104

2. 352      2021-11-29 PROFESSIONAL SERVICES -                     AOVS1246                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            AMENDMENT TO SSA (ND)                                                           INC.                                ROSEVILLE, MN 55113

2. 353      2021-11-29 PROFESSIONAL SERVICES -                     AOVS1247                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            SECURITY SERVICES AGREEMENT                                                     INC.                                ROSEVILLE, MN 55113

2. 354      2021-12-03 PROFESSIONAL SERVICES -                     AOVS1244                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            ADDITIONAL SITE ADDENDUM TO SSA                                                 INC.                                ROSEVILLE, MN 55113

2. 355      ADDITIONAL SITE ADDENDUM TO SSA                        AOVS1632                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
                                                                                            INC.                                ROSEVILLE, MN 55113

2. 356      AMENDMENT TO SSA (ND)                                  AOVS1634                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
                                                                                            INC.                                ROSEVILLE, MN 55113

2. 357      SECURITY SERVICES AGREEMENT                            AOVS1630                 SECURITAS SECURITY SERVICES USA,    1823 MCINTOSH ST. BLDG VIII, STE
                                                                                            INC.                                111BOWLING GREEN, KY 42104

2. 358      SECURITY SERVICES AGREEMENT                            AOVS1635                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
                                                                                            INC.                                ROSEVILLE, MN 55113

2. 359      2021-11-22 PROFESSIONAL SERVICES -    2024-11-22       AOVS1255                 SUMMIT ENERGY SERVICES, INC.        10350 ORMSBY PARK PLACE,
            HOSTED SERVICES AND CONSULTING                                                                                      SUITE 400, LOUISVILLE, KY 40223
            AGREEMENT

2. 360      HOSTED SERVICES AND CONSULTING                         AOVS1644                 SUMMIT ENERGY SERVICES, INC.        10350 ORMSBY PARK PLACE,
            AGREEMENT                                                                                                           SUITE 400, LOUISVILLE, KY 40223

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Core Scientific Operating Company                                                                                            Case Number:            22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                Expiration Date   Contract ID   Co-Debtor Name                                  Address



All Other Agreements

2. 361      AMENDMENT 1 TO PROFESSIONAL                          AOVS1648                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES AGREEMENT                                                                                                1129DENTON, TX 76210

2. 362      AMENDMENT 2 TO PROFESSIONAL                          AOVS1650                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES AGREEMENT                                                                                                1129DENTON, TX 76210

2. 363      AMENDMENT 4 TO SERVICES                              AOVS1645                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            AGREEMENT                                                                                                         1129DENTON, TX 76210

2. 364      AMENDMENT 5 TO PROFESSIONAL                          AOVS1646                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES AGREEMENT                                                                                                1129DENTON, TX 76210

2. 365      AMENDMENT NO. 3 TO PROFESSIONAL                      AOVS1649                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES AGREEMENT                                                                                                1129DENTON, TX 76210

2. 366      AUTHORIZATION FOR PROFESSIONAL                       AOVS1647                 TEAGUE NALL AND PERKINS, INC. (TNP) 3200 S. INTERSTATE 35E, SUITE
            SERVICES                                                                                                          1129DENTON, TX 76210

2. 367      ASSIGNMENTS AND BILL OF SALE                         OTHER1459                TENASKA COLOCATION SERVICES, LLC    300 E JOHN W CARPENTER
                                                                                                                              FWYSUITE 1100IRVING, TEXAS
                                                                                                                              75062UNITED STATES

2. 368      DEVELOPMENT AGREEMENT                                OTHER1458                TENASKA COLOCATION SERVICES, LLC    14302 FNB PARKWAY OMAHA NE
                                                                                                                              68154

2. 369      2021-08-20 POWER SERVICES -         2024-08-20       AOVS1259                 TEXAS NEW MEXICO POWER COMPANY 1126 STAFFORD BLVDPO BOX
            TRANSMISSION/SUBSTATION FACILITY                                                                             DRAWER 1960PECOS, TEXAS
            EXTENSION AGREEMENT                                                                                          79772

2. 370      TRANSMISSION/SUBSTATION FACILITY                     AOVS1654                 TEXAS NEW MEXICO POWER COMPANY 1126 STAFFORD BLVDPO BOX
            EXTENSION AGREEMENT                                                                                          DRAWER 1960PECOS, TEXAS
                                                                                                                         79772

2. 371      2021-08-20 POWER SERVICES -         2024-08-20       AOVS1260                 TEXAS- NEW MEXICO POWER             1126 STAFFORD BLVDPO BOX
            ELECTRIC FACILITIES EXTENSION                                                 COMPANY                             DRAWER 1960PECOS, TEXAS
            AGREEMENT                                                                                                         79772



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Core Scientific Operating Company                                                                                              Case Number:          22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                 Expiration Date   Contract ID   Co-Debtor Name                                  Address



All Other Agreements

2. 372      ELECTRIC FACILITIES EXTENSION                         AOVS1655                 TEXAS- NEW MEXICO POWER              1126 STAFFORD BLVDPO BOX
            AGREEMENT                                                                      COMPANY                              DRAWER 1960PECOS, TEXAS
                                                                                                                                79772

2. 373      ESCROW AGREEMENT                                      OTHER1461                THE BOARD OF WATER, LIGHT AND        1200 VD PARROTT, JR.
                                                                                           SINKING FUND COMMISSIONERS OF        PARKWAY,PO BOX 869DALTON,
                                                                                           THE CITY OF DALTON, GA DBA DALTON    GA 30722
                                                                                           UTILITIES

2. 374      2022-07-01 SOFTWARE/SUBSCRIPTION      2023-06-30      AOVS1263                 THOMASON REUTERS TAX &               BAY ADELAIDE CENTRE - WEST
            SERVICES - INVOICE DATED 04/19/22                                              ACCOUNTING                           TOWER333 BAY
                                                                                                                                STREETTORONTO, ONTARIO
                                                                                                                                M5H 2R2CANADA

2. 375      INVOICE DATED 04/19/22                                AOVS1658                 THOMASON REUTERS TAX &               BAY ADELAIDE CENTRE - WEST
                                                                                           ACCOUNTING                           TOWER333 BAY
                                                                                                                                STREETTORONTO, ONTARIO
                                                                                                                                M5H 2R2CANADA

2. 376      2021-03-23 HUMAN RESOURCE                             AOVS1270                 TWODEGREES DIVISION OF SLALOM,       PO BOX 101416PASADENA, CA
            SERVICES - MASTER SERVICES                                                     LLC                                  91189-1416
            AGREEMENT

2. 377      MASTER SERVICES AGREEMENT                             AOVS1666                 TWODEGREES DIVISION OF SLALOM,       PO BOX 101416PASADENA, CA
                                                                                           LLC                                  91189-1416

2. 378      STATEMENT OF WORK                                     AOVS1665                 TWODEGREES DIVISION OF SLALOM,       PO BOX 101416PASADENA, CA
                                                                                           LLC                                  91189-1416

2. 379      PROPOSAL                                              AOVS1670                 VISION BUILDING SYSTEMS, LLC         3150 WEST WIGWAM AVENUE, LAS
                                                                                                                                VEGAS, NV 8913

2. 380      2021-09-09 SOFTWARE SERVICES -                        AOVS1277                 WORKIVA, INC                         2900 UNIVERSITY BLVD, AMES,
            SOW 070821-11510                                                                                                    IOWA 50010

2. 381      SOW 070821-11510                                      AOVS1677                 WORKIVA, INC                         2900 UNIVERSITY BLVD, AMES,
                                                                                                                                IOWA 50010



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Core Scientific Operating Company                                                                                      Case Number:            22-90343

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                Expiration Date   Contract ID   Co-Debtor Name                           Address



All Other Agreements

2. 382      2021-09-15 SOFTWARE SERVICES -      2024-09-14       AOVS1278                 WORKIVA, INC.                 2900 UNIVERSITY BLVD, AMES,
            ORDER 070821-11510                                                                                          IOWA 50010

2. 383      ORDER 070821-11510                                   AOVS1678                 WORKIVA, INC.                 2900 UNIVERSITY BLVD, AMES,
                                                                                                                        IOWA 50010

2. 384      LETTER AGREEMENT                                     AOVS1679                 XMS CAPITAL PARTNERS, LLC     321 N CLARK ST, SUITE 2440,
                                                                                                                        CHICAGO, IL 60654

2. 385      2021-04-26 - PURCHASE ORDER (Q-                      AOVS1280                 ZOOMINFO                      5318 E. 2ND STREET, BOX
            403824) AND T&CS                                                                                            502LONG BEACH, CA 90803

2. 386      PURCHASE ORDER (Q-403824) AND                        AOVS1681                 ZOOMINFO                      5318 E. 2ND STREET, BOX
            T&CS                                                                                                        502LONG BEACH, CA 90803

2. 387      2021-04-26 SOFTWARE/SUBSCRIPTION    2023-04-26       AOVS1281                 ZOOMINFO TECHNOLOGIES, LLC    14005 LIVE OAK AVEIRWINDALE,
            SERVICES - ORDER FORM (Q403824)                                                                             CA 91706-1300




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Core Scientific Operating Company                                                              Case Number:         22-90343

Schedule G: Executory Contracts and Unexpired Leases

                                                                                               TOTAL NUMBER OF CONTRACTS: 387




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                                                                                                                                              DPHQGHGILOLQJ
2IILFLDO)RUP+
Schedule H: Codebtors                                                                                                                                     

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        FUHGLWRUVSchedules D-G,QFOXGHDOOJXDUDQWRUVDQGFRREOLJRUV,Q&ROXPQLGHQWLI\WKHFUHGLWRUWRZKRPWKHGHEWLVRZHGDQGHDFK
        VFKHGXOHRQZKLFKWKHFUHGLWRULVOLVWHG,IWKHFRGHEWRULVOLDEOHRQDGHEWWRPRUHWKDQRQHFUHGLWRUOLVWHDFKFUHGLWRUVHSDUDWHO\LQ&ROXPQ

         Column 1:&RGHEWRU                                                                               Column 2:&UHGLWRU

                                                                                                                                              Check all schedules
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                                                                                                                                              that apply:


        See Attachment H            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBB             '
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                                                                           Case 22-90341 Document 463 Filed in TXSB on 02/03/23 Page 130 of 132
                                                                                                         In re Core Scientific, Inc., et al.
                                                                                                        Case Number: 22-90341 (SDTX)
                                                                                                              Schedule H: Codebtors
              Debtor Name                 Debtor's Role                  Address                 City   State    Zip                      Claim Description                  Name of Creditor           Schedule
Core Scientific Acquired Mining LLC (Acquirer of Blockcap, Inc.)                                                                       Convertible notes                                                   D
Core Scientific Acquired Mining LLC     Guarantor      2407 S. Congress Avenue, Ste. E-101      Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Acquired Mining LLC     Guarantor      2407 S. Congress Avenue, Ste. E-101      Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

Core Scientific Operating Company (fka Core Scientific, Inc.)                                                                          Convertible notes                                                   D
Core Scientific Operating Company        Guarantor       2407 S. Congress Avenue, Ste. E-101    Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Operating Company        Guarantor       2407 S. Congress Avenue, Ste. E-101    Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisition, LLC                                                                                                     Convertible notes                                                   D
American Property Acquisition, LLC        Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisition, LLC        Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisitions I, LLC                                                                                                  Convertible notes                                                   D
American Property Acquisitions I, LLC     Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisitions I, LLC     Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisitions VII, LLC                                                                                                Convertible notes                                                   D
American Property Acquisitions VII, LLC Guarantor         2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisitions VII, LLC Guarantor         2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

Core Scientific Mining LLC                                                                                                             Convertible notes                                                   D
Core Scientific Mining LLC                Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Mining LLC                Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D




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Fill in this information to identify the case:
Debtor Name:              Core Scientific Operating Company

United States Bankruptcy Court for the:                        Southern District of Texas                                                                                                 Check if this is an
                                                                                                                                                                                          amended filing
Case Number (if known):                      22-90343



Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15


  Part 1:             Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


      1a. Real property:
                                                                                                                                                                                                    $241,691,855
           Copy line 88 from Schedule A/B                        ..................................................................................................................



      1b. Total personal property:
                                                                                                                                                                                                    $907,930,669
           Copy line 91A from Schedule A/B                           ..............................................................................................................

                                                                                                                                                                                      +
      1c. Total of all property:
                                                                                                                                                                                                  $1,149,622,525
           Copy line 92 from Schedule A/B                           ...............................................................................................................




  Part 2:             Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                    $656,961,541
  Copy the total dollar amount listed in Column
                                              ..................................................................................................................
                                                  A, Amount of claim, from line 3 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                 $0
           Copy the total claims from Part 1 from
                                                ..................................................................................................................
                                                    line 6a of Schedule E/F



      3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                     $27,620,844
           Copy the total of the amount of claims from
                                                  ..............................................................................................................
                                                          Part 2 from line 6b of Schedule E/F

                                                                                                                                                                                      +
4. Total liabilities
                                                                                                                                                                                                    $684,582,384
  Lines 2 + 3a + 3b             ...................................................................................................................................................




                                                                      Page 1 of 1 to Summary of Assets and Liabilities
                    Case 22-90341 Document 463 Filed in TXSB on 02/03/23 Page 132 of 132

 Fill in this information to identify the case and this filing:


             Core Scientific Operating Company
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):     22-90343
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         x
             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         x
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         x
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         x
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         x
             Schedule H: Codebtors (Official Form 206H)
         x
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    02/03/2023
        Executed on ______________                             /s/ Michael Bros
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Michael Bros
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Senior Vice President of Capital Markets & Acquisitions
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
